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                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

DRUMMOND COMPANY, INC.,                          )
                                                 )
        Plaintiff,                               )
                                                 )
                                                 )
vs.                                              )        Case No. 2:11-cv-3695-RDP-TMP
                                                 )
TERRENCE P. COLLINGSWORTH,                       )    FILED UNDER SEAL PURSUANT TO
individually and as agent of Conrad & Scherer,   )            COURT ORDER
LLP; and CONRAD & SCHERER, LLP,                  )
                                                 )
                                                 )
        Defendants.                              )




      DEFENDANTS’ RESPONSE TO DRUMMOND COMPANY, INC.’S PROPOSED
       FINDINGS OF FACT AND CONCLUSIONS OF LAW, AND DEFENDANTS’
           PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW


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       Conrad & Scherer, LLP and Terrence P. Collingsworth hereby respond to Drummond’s

Proposed Findings of Fact and Conclusions of Law, and submit their own Proposed Findings of

Fact and Conclusions of Law, pursuant to the Court’s May 21, 2015 Order, Doc. 233, and the

Court’s May 22, 2015 Text Order. This document, and its exhibits, are being filed under seal in

accordance with the Court’s July 15, 2015 Order, Doc. 277. These are preliminary and subject to

further opportunity to respond to Drummond’s reply to this preliminary document.

  DEFENDANTS’ RESPONSE TO DRUMMOND’S PROPOSED FINDINGS OF FACT

       Mr. Collingsworth and Conrad & Scherer lodge a standing objection to Drummond’ use

of the word “Defendants” throughout its proposed findings of fact and conclusions of law.

Ivan Otero Mendoza

        1.    Ivan Otero is a “key member” of Defendants’ litigation team. Doc. 69 (Nov. 7,

2013 Collingsworth Decl.) at ¶ 51. UNDISPUTED that Otero was co-counsel with Conrad

& Scherer in the Balcero case. DISPUTED as phrased because “key member” and

“litigation team” are ambiguous.

       2.     Ivan Otero joined Defendants’ litigation team in December 2008. Doc. 69 (Nov.

7, 2013 Collingsworth Decl.) at ¶ 51. UNDISPUTED that Otero became co-counsel with

Conrad & Scherer in the Balcero case in or around December 2008. DISPUTED because

the phrase “litigation team” is ambiguous.

       3.     Ivan Otero has a contingency fee agreement with Mr. Collingsworth in both

Baloco and Balcero entitling him to 17% of any recovery against Drummond. Doc. 69 (Nov. 7,

2013 Collingsworth Decl.) at ¶ 51. UNDISPUTED that Otero had a contingency fee

agreement with Mr. Collingsworth in both Baloco and Balcero. DISPUTED because

Otero’s contingency fee percentage in Balcero was 16%. See Doc. 69-38.




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         4.       Ivan Otero represented Jhon Jairo Esquivel Cuadrado (“El Tigre”) at the time El

Tigre signed a declaration against Drummond in 2009. Doc. 69-29 (Balcero Pls’ July 16, 2012

Resp. to Drum. 5th Irogs) at p. 11; Doc. 69-39 (Nov. 5, 2013 Otero Decl.) ¶ 4. DISPUTED. As

explained in his declaration submitted in opposition to Drummond’s sanctions motion,

Otero did not represent El Tigre as of 2009. See Doc. 187-2, ¶¶ 21-22, 27.1 Further, as

explained in the attached declaration of Christian Levesque, a senior associate with Conrad

& Scherer who drafted this interrogatory response, the reference to Otero in Doc. 69-29, at

p.11, as being “his [El Tigre’s] counsel” was simply a mistake and was made based on Ms.

Levesque’s confusion as to Otero’s role at that time. See Exhibit A (Decl. of Christian

Levesque), ¶¶ 5-7.2

         5.       Ivan Otero represented Alcides Manuel Mattos Tabares (“Samario”) at the time

Samario signed a declaration against Drummond in 2009. Doc. 69-29 (Balcero Pls’ July 16,

2012 Resp. to Drum. 5th Irogs) at p. 11; Doc. 69-39 (Nov. 5, 2013 Otero Decl.) ¶ 4. DISPUTED.

As explained in his declaration submitted in opposition to Drummond’s sanctions motion,

Otero did not represent Samario as of 2009. See Doc. 187-2, ¶¶ 21-22, 27. Further, as

explained in the attached declaration of Christian Levesque, a senior associate with Conrad

& Scherer who drafted this interrogatory response, the reference to Otero in Doc. 69-29, at

p.11, as being “his [Samario’s] counsel” was simply a mistake and was made based on Ms.




         1
          Drummond has cited to the publically-filed, redacted document numbers. For consistency, Defendants do
the same. Defendants note, however, that Doc. 174, and its redacted exhibits, are located in un-redacted form (and
under seal) at Doc. 180. Document 187, and its redacted exhibits, are located in un-redacted form (and under seal) at
Doc. 189.
         2
           New exhibits submitted by defendants with this filing are identified by letter. Exhibits identified by
number are exhibits attached to Drummond’s proposed findings of fact. Citations to documents and evidence
already in the record in this or other federal court cases will be referred by to “Doc.” number and, for cases other
than this one, case number.



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Levesque’s confusion as to Otero’s role at that time. See Exhibit A (Decl. of Christin

Levesque), ¶¶ 5-7.

       6.     Ivan Otero represented Jaime Blanco as his criminal lawyer. Balcero Doc. 396-

15 (Blanco Dep.) at 2, 187-188; Ex. 2 (Sept. 11, 2014 B. Scherer Affidavit) at ¶ 5; Doc. 69-39

(Nov. 5, 2013 Otero Decl.) ¶ 4. UNDISPUTED that Otero represented Blanco in matters

unrelated to Drummond. Otherwise, DISPUTED. See Doc. 187-2 (Otero Decl.) ¶ 52 (“I did

not represent Blanco as an attorney in relation to the charges that he had a role in the

murder of the Drummond union leaders.); id. ¶ 73 (“Again, I was not Blanco’s attorney on

the Drummond matter, and did not provide any privileged attorney advice to him on the

matter. Blanco had retained other attorneys to represent him in his criminal case involving

Drummond.”).

       7.     Ivan Otero appeared as counsel on behalf of Jairo Jesus Charris Castro (“Charris”)

during Charris’s deposition in Balcero. Balcero Doc. 411-55 (Charris Dep.) at 129, 164-166.

DISPUTED.

       8.     In or around April 2009, Defendants provided Ivan Otero with an $80,000

payment. Doc. 174-7 (Defs’ 1st Am. Resp. to Drummond’s 3rd Irogs, No. 2) at 9-10.

UNDISPUTED that Otero received an $80,000 payment as a retainer fee in April 2009. See

Doc. 174-7 (Defs.’ Am. and Supp. Resps. to Drummond’s Third ROGS Nos. 2 & 8), at 9-10

(explaining that Otero received an $80,000 retainer in April 2009).

       9.     Otero provided some or all of this $80,000 to one or more witnesses who

provided testimony against Drummond in Balcero. Id. DISPUTED as there is no evidence to

defendants’ knowledge that Otero used any of this money, which was a retainer fee, for

witness security assistance.




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       10.    To date, Defendants have not produced any documents or disclosed any

information showing what witness(es) received any part of this $80,000 payment.

UNDISPUTED because, to the best of their knowledge, defendants do not possess any such

documents.

       11.    To date, Defendants have not produced any documents which reflect how this

$80,000 was spent. UNDISPUTED because, to the best of their knowledge, defendants do

not possess any such documents.

       12.    On or about April 19, 2012, Defendants provided Ivan Otero with a $10,000 cash

payment. Ex. 3 (CS_TC 000423). UNDISPUTED.

       13.    Otero provided some or all of this $10,000 to one or more witnesses who

provided testimony against Drummond in Balcero.        Ex. 3 (CS_TC 000423). DISPUTED.

Drummond has not produced any evidence that Otero provided all or part of this cash

payment to any witness who provided testimony against Drummond in Balcero.

       14.    To date, Defendants have not produced any documents or disclosed any

information showing what witness(es) received any part of this $10,000 payment.

UNDISPUTED, as there is no evidence that any of this money was paid to witnesses.

       15.    To date, Defendants have not produced any documents which reflect how this

$10,000 was spent. DISPUTED. Ex. 3 (CS_TC 000423) states that this money was paid to

Otero “for logistical and security issues associated with getting testimony from new AUC

witnesses.”

Alias “Halcon”

       16.    Defendants disclosed alias “Halcon” as a witness in their Rule 26 Balcero initial

disclosures, identifying him as a witness who purportedly had knowledge of Drummond’s




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collaboration with the AUC. Doc. 69 (Nov. 7, 2013 Collingsworth Decl.) ¶ 41; see also Doc. 50-

4. UNDISPUTED that Halcon was identified as a witness in the Rule 26 initial disclosures

in Balcero. DISPUTED because the Rule 26 disclosures did not identify him as someone

“who purportedly had knowledge of Drummond’s collaboration with the AUC.” Halcon

was identified in Doc. 50-4 as someone with “responsive facts,” and Drummond was

subsequently informed that Halcon was not going to be a witnesses. See Doc. 174-7, at 9

(Defs.’ Am. & Supp. Resp. Drummond’s 3rd ROGs Nos. 2 and 8) (explaining that

Drummond was informed on July 16, 2012, that Halcon would not be a witness).

        17.    Defendants’ Rule 26 disclosures in this defamation case incorporate all of the

witnesses listed in their Rule 26 initial disclosures in Balcero. Ex. 4 (Defendants’ Rule 26 Initial

Disclosures). UNDISPUTED that defendants’ initial disclosures in this defamation case

identified “[a]ll Parties and witnesses in collateral lawsuits which are identified as follows,”

and that Balcero was one of the cases listed.

        18.    Alias “Halcon” was paid in excess of $50,000 by Defendants and their litigation

team.   Doc. 44-19. UNDISPUTED that Halcon received witness assistance payments

through Jose Pinzon. Halcon required security assistance to allow him to flee Colombia

after he “escaped an attempt on his life immediately following his cooperation with

plaintiffs in providing evidence of Drummond’s support for and cooperation with the

AUC.” Doc. 69 (Nov. 7, 2013 Collingsworth Decl.) ¶ 41.

        19.    Defendants’ litigation team made the majority of the payments to “Halcon” by

sending international monetary transfers via Western Union and MoneyGram to a man named

Jose Pinzon in Colombia. Doc. 44-19. UNDISPUTED THAT payments were sent to Jose

Pinzon for the benefit of Halcon because Pinzon had a bank account in Colombia, and




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Halcon, who was in Panama, did not have a bank account. See Exhibit B (July 15, 2015

Collingsworth Decl.), ¶ 17.

       20.    At present, the known payments to alias “Halcon” span from approximately June

of 2007 to October of 2012. Doc. 44-19; Ex. 5 (June 2007 payment); Doc. 69 (Nov. 7, 2013

Collingsworth Decl.) ¶ 41. UNDISPUTED that payments ended in approximately October

2012. The security risk had dissipated, and it was clear at that time that his testimony was

not credible and he would not be used as a witness. Drummond was informed of this fact in

2012. Doc. 69 (Nov. 7, 2013 Collingsworth Decl.) ¶ 41.

Jose Gelvez Albarracin (“El Canoso”)

       21.    Gelvez was one of Defendants’ fact witnesses in Balcero who accused

Drummond of collaborating with the AUC. Balcero Doc. 396-24. UNDISPUTED because the

documents cited, Gelvez’s deposition, makes clear that Drummond collaborated with the

AUC.

       22.    Defendants are relying on Gelvez’s testimony to support the truth of the

defamatory statements at issue in this case. See Doc. 43-10 (Defs.’ 2d Am. Resp. to 1st Req. for

Prod.) at Nos. 1, 3-16, 18-20, 22-26, 29-33. UNDISPUTED.

       23.    On or about November 28, 2011, Defendants paid $2,084 to Jose Gelvez

Albarracin’s (“El Canoso”) wife, Celina Lombardi Nieves. Doc. 44-16. UNDISPUTED.

Jairo de Jesus Charris Castro (“Charris”)

       24.    Charris was one of Defendants’ fact witnesses in Balcero who accused

Drummond of collaborating with the AUC. Balcero Doc. 407-3. UNDISPUTED.




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       25.    Defendants are relying on Charris’s testimony to support the truth of the

defamatory statements at issue in this case. See Doc. 43-10 (Defs.’ 2d Am. Resp. to 1st Req. for

Prod.) at Nos. 1, 3-16, 18-20, 22-26, 29-33. UNDISPUTED.

       26.    On or about June 23, 2009, Defendants’ litigation team provided a $1,500

payment to Charris via team member Ricardo Garzon. Ex. 6 (CS_TC 3175). UNDISPUTED

that Charris received a $1,500 witness assistance payment through Ricardo Garzon, which

was to relocate Charris’ family. As explained in prior interrogatory responses, Charris

expressed concern for his family during his criminal testimony in June 2009 against

Drummond. Doc. 174-7, at 6. Consistent with Mr. Collingsworth’s promise to witnesses in

the Balcero case who received credible, or whose families received credible, threats to “do

whatever we could to provide security or to provide a safe haven until such time as the

danger had subsided,” Doc. 69, ¶ 36— a promise Mr. Collingsworth freely expressed to

Drummond and the Court—Mr. Collingsworth authorized the payment of these security

expenses. DISPUTED because Ricardo Garzon was not a member of “Defendants’

litigation team,” which is an ambiguous term.

       27.    On or about July 30, 2009, Defendants’ litigation team provided a 3,000,000

(approximately $1,446) Colombian peso payment to Charris’ relative, Mery Luz Molina

Morales. Doc. 44-6; http://www.oanda.com/currency/converter/. UNDISPUTED that a witness

assistance payment was made on or about July 30, 2009 to Mery Luz Molina, who

defendants understand to be the sister-in-law of Charris’ wife. As explained in prior

interrogatory responses, Charris expressed concern for his family during his criminal

testimony in June 2009 against Drummond. Doc. 174-7, at 6. Charris reiterated those

concerns to Mr. Collingsworth in July 2009. Id. Consistent with Mr. Collingsworth’s




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promise to witnesses in the Balcero case who received credible, or whose families received

credible, threats to “do whatever we could to provide security or to provide a safe haven

until such time as the danger had subsided,” Doc. 69 ¶ 36— a promise Mr. Collingsworth

freely expressed to Drummond and the Court—Mr. Collingsworth authorized the payment

of these security expenses. DISPUTED because “Defendants’ litigation team” is an

ambiguous term.

       28.     On or about September 3, 2009, after being paid approximately $3,000 and being

promised continuing monthly payments, Charris signed a declaration for use in the Defendants’

civil cases against Drummond. Doc. 43-15. UNDISPUTED that Charris signed a declaration

after witnesses assistance payments were made to Charris’ family for security and safety

reasons.

       29.     Between August 2009 and present day, Defendants’ litigation team has made

monthly payments to Charris by depositing approximately 1,500,000 Colombian pesos

(approximately $840) per month into a bank account held by Charris’ wife, Claudia Pinzon

Ballesteros.   Doc.   44-6;   Ex.   1   (May       21,   2015   Hrg.   Tr.)   at   56:23-57:18;

http://www.oanda.com/currency/converter/. UNDISPUTED that witness assistance payments

continued to be made after August 2009 for protection of Charris’ family due to the

continuing threats and consequences of relocating the family from a rural area into the

city. Defendants have previously explained the details of these payments to Drummond and

the Court. See Doc. 174-7, at 6-7. DISPUTED to the extent this statement implies that

payments were always made into a bank account held by Charris’ wife, as the payment

method varied due to the dangers of receiving payments the same way. DISPUTED to the

extent an ambiguous term like “litigation team” is used.




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       30.     At present, Defendants’ payments to Charris exceed $40,000. Doc. 44-6; Ex. 1

(May 21, 2015 Hrg. Tr.) at 56:23-57:18; http://www.oanda.com/currency/converter/.

UNDISPUTED that witness assistance payments were made to Charris’ family for

relocation and safety reasons and that those payments exceeded $40,000.

Jaime Blanco Maya (“Blanco”)

       31.     Jaime Blanco was one of Defendants’ fact witnesses in Balcero who accused

Drummond of collaborating with the AUC. Balcero Doc. 396-15. UNDISPUTED.

       32.     Defendants are relying on Blanco’s testimony to support the truth of the

defamatory statements at issue in this case. See Doc. 43-10 (Defs.’ 2d Am. Resp. to 1st Req. for

Prod.) at Nos. 1, 3-16, 18-20, 22-26, 29-33. UNDISPUTED.

       33.     Prior to May of 2011, Blanco had never testified that Drummond collaborated

with the AUC. DISPUTED. Blanco made statements to prosecutors, and to Mr.

Collingsworth and Mr. Otero, about Drummond’s collaboration before May 2011. Exhibit

B (July 15, 2015 Collingsworth Decl.) ¶ 18.

       34.     Prior to May 22, 2011, Blanco requested that Defendants pay him $150,000. Doc.

231-11 (Defs’ 3rd Am. Resp. to Drummond’s Third Interrogatories No. 2). UNDISPUTED that

Blanco requested payment of his legal fees. DISPUTED to the extent it attempts to draw a

legal conclusion that Conrad & Scherer is deemed to know of any agreements or payments

by Albert Van Bilderbeek to pay for the legal fees of Blanco. See Doc. 231-11, at 47 of 80

(“William Scherer, managing partner of Conrad & Scherer, LLP, did not know the

information detailed above in Defendant Collingsworth’s response about Mr. Blanco. Mr.

Scherer only just learned about this in the course of preparing this supplementary

response.”).




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       35.    In April and May of 2011, Mr. Collingsworth exchanged communications with

his former Balcero co-counsel at Parker Waichman, LLP regarding paying Jaime Blanco’s

criminal legal fees.   Docs. 101-15 & 101-16. UNDISPUTED that Mr. Collingsworth

exchanged communications with Parker Waichman about Blanco’s criminal legal fees in or

around April 2011.

       36.    Parker Waichman, LLP declined to provide the money to make the payments.

Defendants object to use of privileged information inadvertently produced by Parker

Wichmann and will move to exclude this fact. Subject to, and without waiving, that

objection, UNDISPUTED. Furthermore, the statement is based on inadvertently produced

documents to which Defendants cannot fully respond without waiving work product

protection. If the Court wants to include these privileged documents as part of the hearing,

defendants request the opportunity to submit work product protected documents to the

Court for in camera review.

       37.    In July 2011, Mr. Collingsworth met with Ivan Otero and Jaime Blanco in a

prison in Colombia, and during that meeting Mr. Collingsworth stated to Blanco that he would

ask Mr. Albert van Bilderbeek to pay Blanco’s criminal legal fees. Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8. UNDISPUTED that, in that conversation,

Mr. Blanco also asked Mr. Collingsworth if Conrad & Scherer would assist Mr. Blanco in

paying attorney's fees related to his criminal defense. At that time, Mr. Blanco was facing

criminal charges related to the murder of the Drummond mine union leaders near La

Loma, in Cesar Province, Colombia. Mr. Collingsworth communicated to Mr. Blanco that

Mr. Collingsworth thought that Albert Van Bilderbeek would assist Mr. Blanco with funds

towards his attorney’s fees if Mr. Blanco was able to use his many contacts to help




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investigate the facts regarding Drummond’s illegal acquisition of the Llanos Oil

Company’s oil concession in Colombia and provide that information to Mr. Van

Bilderbeek.” Document 174-2, at 4-5.

       38.    In July 2011, Mr. Collingsworth contacted Mr. Albert van Bilderbeek and

requested that he pay Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8. DISPUTED because date is not certain and mischaracterizes the request for

assistance to Blanco. See supra Resp. ¶ 37.

       39.    Mr. Albert van Bilderbeek agreed to make these payments and to send the money

to Blanco using Ivan Otero as an intermediary. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that Albert van Bilderbeek paid

Blanco’s criminal legal fees using Ivan Otero as an intermediary. DISPUTED to the extent

it implies that Mr. Collingsworth knew about the details of the arrangement between

Albert van Bilderbeek and Blanco. See supra Response to ¶¶ 37-38, and Doc. 174-2, at 5-6

(“While the idea of payments by Mr. Van Bilderbeek arose in the context of discussing

legal fees, Mr. Collingsworth does not know the details of the final agreement between Mr.

Blanco and Mr. Van Bilderbeek. Mr. Collingsworth ultimately assisted Mr. Van

Bilderbeek in sending the funds that Mr. Van Bilderbeek agreed to provide to Mr. Blanco.

Mr. Collingsworth understood that Mr. Van Bilderbeek sent those funds via Mr. Otero,

who also did work for Mr. Van Bilderbeek. Mr. Collingsworth does not recall knowing the

total amount of funds that Mr. Blanco received from Mr. Van Bilderbeek or for what

purpose Mr. Blanco used those funds.”).

       40.    In September 2011, Mr. Albert van Bilderbeek sent an international wire transfer

in the amount of approximately $60,000 to Ivan Otero. Doc. 174-2 (Defs’ 2nd Am. Resp. to




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Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as inaccurate, misleading,

and mischaracterizes the evidence. See Doc. 174-2, at 6 (“Mr. Collingsworth understood

that Mr. Van Bilderbeek planned to send a wire to Mr. Otero of approximately $60,000 in

about September 2011 as part of Mr. Van Bilderbeek’s arrangement with Mr. Blanco. Mr.

Collingsworth does not recall knowing how much of that wire was paid to Mr. Blanco, if it

was sent at that time, but did understand that Mr. Blanco received a first payment

pursuant to his agreement with Mr. Van Bilderbeek.”); see also Doc. 174-20

(CS_TC001458-59) (discussing a wire payment generally, without specific amounts).

       41.    Ivan Otero delivered this $60,000 payment to Blanco. Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as there is no

evidence to Mr. Collingsworth’s knowledge that this payment was actually $60,000 or that

Otero delivered all or part of any of this payment to Blanco. Doc. 174-2 (“Mr.

Collingsworth does not recall knowing how much of that wire was paid to Mr. Blanco, if it

was sent at that time . . . .”); Doc. 174-20 (CS_TC001458-59) (discussing a wire payment

generally, without specific amounts).

       42.    Mr. Collingsworth offered, facilitated and confirmed receipt of this $60,000

payment. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that Mr. Collingsworth confirmed that a payment was made by

Albert van Bilderbeek to Otero in July 2011. DISPUTED because Mr. Collingsworth did

not “offer” or “facilitate” this payment. Further DISPUTED because Mr. Collingsworth

did not know whether this payment was actually $60,000.

       43.    In addition to Mr. Collingsworth, who is the Managing Partner of Conrad &

Scherer, LLP’s Washington, D.C. office, Christian Levesque and Susana Tellez, both of whom




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are Conrad & Scherer, LLP employees and part of Defendants’ litigation team, appear on emails

discussing this payment. Doc. 174-20. UNDISPUTED that Christian Levesque and Susana

Tellez are Conrad & Scherer employees and appear on these emails. DISPUTED to the

extent the phrase “litigation team” is ambiguous as well as the term “employees” Terry

Collingsworth is a partner at Conrad & Scherer. Further DISPUTED to the extent it

attempts to draw a legal conclusion that Conrad & Scherer is deemed to know of any such

agreements or payments by Albert Van Bilderbeek to pay for the legal fees of Blanco. See

Doc. 174-2, at 6-7 (“William Scherer, managing partner of Conrad & Scherer, LLP, did

not know about the payments that Albert Van Bilderbeek arranged to make to Mr. Blanco

via Mr. Otero or Mr. Blanco’s attempt to delay finalizing his declaration in the Drummond

case pending Mr. Van Bilderbeek’s fulfillment of his arrangement with Mr. Blanco. Mr.

Scherer has only just learned about it in the course of Defendants’ response to discovery

requests in this case. No Conrad & Scherer money was used to make those payments.”).

       44.    Defendants knew and intended that the September 2011 payment referenced in

Paragraph 42 would be delivered to Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. See Doc. 174-2, at 5-6 (“Mr.

Collingsworth ultimately assisted Mr. Van Bilderbeek in understood that Mr. Van

Bilderbeek sent those funds via Mr. Otero, who also did work for Mr. Van Bilderbeek. Mr.

Collingsworth does not recall knowing the total amount of funds that Mr. Blanco received

from Mr. Van Bilderbeek or for what purpose Mr. Blanco used those funds sending the

funds that Mr. Van Bilderbeek agreed to provide to Mr. Blanco.”). Further DISPUTED to

the extent it attempts to draw a legal conclusion that Conrad & Scherer is deemed to know

of any agreements or payments by Albert Van Bilderbeek to pay for the legal fees of




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Blanco. See Doc. 174-2, at 6-7 (“William Scherer, managing partner of Conrad & Scherer,

LLP, did not know about the payments that Albert Van Bilderbeek arranged to make to

Mr. Blanco via Mr. Otero or Mr. Blanco’s attempt to delay finalizing his declaration in the

Drummond case pending Mr. Van Bilderbeek’s fulfillment of his arrangement with Mr.

Blanco. Mr. Scherer has only just learned about it in the course of Defendants’ response to

discovery requests in this case. No Conrad & Scherer money was used to make those

payments.”).

       45.     Blanco refused to sign his declaration against Drummond until he received this

payment.     Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8.

UNDISPUTED that “Mr. Blanco did not want to finalize his declaration in the Drummond

case until Mr. Van Bilderbeek satisfied his obligations to Mr. Blanco, apparently expecting

that Mr. Collingsworth could intervene in that situation.” See ROG 174-2, at 6. But, there

was nothing improper about this payment. Mr. Blanco was preparing to admit to his

crimes under oath and would need legal assistance to counsel him to protect his rights. This

payment facilitated obtaining truthful testimony from Blanco, who was otherwise hesitant

to provide it for fear of the legal insecurity it would create. See Doc. 187-2 (Otero Decl.) ¶

66 (“To the extent Blanco was hesitant to make a sworn statement, it was because he would

need assistance for attorney’s fees for a full trial and any appeal, once he made a truthful

statement, and that’s why he sought help in getting the money from the Bilderbeeks.”).

       46.     The month after receiving this $60,000 payment, Blanco signed a declaration for

Defendants to be used in Defendants’ civil cases against Drummond. Balcero Doc. 246-11.

UNDISPUTED that Blanco signed a declaration in or around October 2011.




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       47.    In December of 2011, Mr. Collingsworth facilitated and confirmed another

payment from Mr. Albert van Bilderbeek to Ivan Otero. Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that Mr. Collingsworth

confirmed that a payment was made, in an unspecified amount, by Albert van Bilderbeek

to Otero in December 2011. Doc. 174-20 (CS_TC001457, CS_TC002572). But, Mr.

Collingsworth did not “facilitate” this payment December 2011. See Doc. 174-2, at 6 (“Mr.

Collingsworth also understood that Mr. Van Bilderbeek was going to make a second

payment to Mr. Blanco as part of their agreement, and that Mr. Van Bilderbeek sent a

wire to Mr. Otero in about December 2011. Mr. Collingsworth is not aware of how much of

that wire Mr. Blanco received, if any.”).

       48.    Defendants have not produced any documents reflecting the amount of this

December 2011 payment. UNDISPUTED because, to the best of their knowledge, defendants

are not in possession of any documents reflecting the amount of a December 2011 payment.

       49.    Ivan Otero delivered the December 2011 [payment] to Blanco. Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. There is

no evidence that Otero delivered all or part of a payment made to him in December 2011 to

Blanco.

       50.    Defendants knew and intended that the December 2011 payment would be

delivered to Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. UNDISPUTED that Mr. Collingsworth understood that the payment made

in December 2011 to Otero would be delivered to Blanco. But, Mr. Collingsworth is not

aware of how much, if any, of that payment Blanco received. Doc. 174-2, at 6 (“Mr.

Collingsworth also understood that Mr. Van Bilderbeek was going to make a second




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payment to Mr. Blanco as part of their agreement, and that Mr. Van Bilderbeek sent a

wire to Mr. Otero in about December 2011. Mr. Collingsworth is not aware of how much of

that wire Mr. Blanco received, if any.”). DISPUTED to the extent it attempts to draw a

legal conclusion that Conrad & Scherer is deemed to know of any agreements or payments

made by Albert Van Bilderbeek to pay for the legal fees of Blanco. See Doc. 174-2, at 6-7

(“William Scherer, managing partner of Conrad & Scherer, LLP, did not know about the

payments that Albert Van Bilderbeek arranged to make to Mr. Blanco via Mr. Otero or

Mr. Blanco’s attempt to delay finalizing his declaration in the Drummond case pending

Mr. Van Bilderbeek’s fulfillment of his arrangement with Mr. Blanco. Mr. Scherer has

only just learned about it in the course of Defendants’ response to discovery requests in this

case. No Conrad & Scherer money was used to make those payments.”).

       51.    In July of 2012, Mr. Collingsworth facilitated and confirmed another $35,000

payment from Mr. Albert van Bilderbeek to Ivan Otero. Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that Mr. Collingsworth

confirmed that a payment was made by Albert van Bilderbeek to Otero in July 2012.

DISPUTED because Mr. Collingsworth did not “facilitate” this payment. See Doc. 174-2, at

6 (“Mr. Collingsworth is also aware that Mr. Van Bilderbeek made a payment of $35,000 to

Mr. Otero in about July 2012.”).

       52.    Ivan Otero delivered this money to Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. There is no evidence that

Otero delivered any of this money to Blanco.

       53.    Defendants knew and intended that this July 2012 payment would be delivered to

Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-




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20. DISPUTED because Mr. Collingsworth did not “know” a payment made in July 2012

would be delivered to Blanco. See Doc. 174-2, at 6 (“Mr. Collingsworth is also aware that

Mr. Van Bilderbeek made a payment of $35,000 to Mr. Otero in about July 2012.”

(emphasis added)). Further DISPUTED to the extent it attempts to draw a legal conclusion

that Conrad & Scherer is deemed to know of any agreements or payments made by Albert

Van Bilderbeek to Blanco. See Doc. 174-2, at 6-7 (“William Scherer, managing partner of

Conrad & Scherer, LLP, did not know about the payments that Albert Van Bilderbeek

arranged to make to Mr. Blanco via Mr. Otero or Mr. Blanco’s attempt to delay finalizing

his declaration in the Drummond case pending Mr. Van Bilderbeek’s fulfillment of his

arrangement with Mr. Blanco. Mr. Scherer has only just learned about it in the course of

Defendants’ response to discovery requests in this case. No Conrad & Scherer money was

used to make those payments.”).

      54.    Defendants did not disclose the payments to Jaime Blanco until January 9, 2015,

when they served their Second Amended Response to Drummond’s Third Interrogatories No. 2.

Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2). DISPUTED to the extent

that the privilege log of over 12,000 documents produced by the Defendants in December

2014 included these payments, and weeks later, interrogatories were formally amended and

documents produced.

Libardo Duarte (“Bam Bam”)

      55.    Libardo Duarte was one of Defendants’ fact witnesses in Balcero who accused

Drummond of collaborating with the AUC. Balcero Doc. 407-31. UNDISPUTED.




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       56.    Defendants are relying on Duarte’s testimony to support the truth of the

defamatory statements at issue in this case. See Doc. 43-10 (Defs.’ 2d Am. Resp. to 1st Req. for

Prod.) at Nos. 1, 3-16, 18-20, 22-26, 29-33. UNDISPUTED.

       57.    On or about April 18, 2011, Defendants sent a $5,000 payment via international

bank wire to Libardo Duarte’s wife, Katerin Durango Avendaño. Ex. 7 (CS 11416).

UNDISPUTED that there was an attempt to send $5,000 to Katerin Durango Avendaño on

or about April 18, 2011, but the wire transfer was not successful. Doc. 174-14 (“Defs.’

Reply Memo. Crime-Fraud Exception”), at 8 n.6. This attempted wire payment was to

relocate Duarte’s family to another city after they received death threats following his

testimony. See Doc. 174-7, at 6 (Defs.’ Am. & Supp. Objects. & Resps. Drummond’s 3rd

ROGs Nos. 2 and 8); see also Doc. 69 (Nov. 7, 2013 Collingsworth Decl.) ¶ 42.

       58.    On or about April 18, 2011, Defendants sent a $2,500 payment via international

bank wire to Libardo Duarte’s wife, Leydi Johana Perez Valencia. Doc. 44-13 (PLS 5020).

UNDISPUTED that this payment was sent to Leydi Johana Perez Valencia, who is Duarte’s

daughter. This payment was to relocate Duarte’s family to another city after they received

death threats following his testimony. See Doc. 174-7, at 6 (Defs.’ Am. & Supp. Objects. &

Resps. Drummond’s 3rd ROGs Nos. 2 and 8). This payment was previously disclosed in

Balcero.

       59.    On or about April 29, 2011, Defendants sent a $2,500 payment via international

bank wire to Libardo Duarte’s wife, Katerin Durango Avendaño. Doc. 44-15 (PLS 5024-5025).

UNDISPUTED. This payment was to relocate Duarte’s family to another city after they

received death threats after Drummond received Duarte’s declaration before he was to give




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his testimony. See Doc. 174-7, at 6 (Defs.’ Am. & Supp. Objects. & Resps. Drummond’s 3rd

ROGs Nos. 2 and 8). This payment was previously disclosed in Balcero.

       60.    On or about May 21, 2011, Defendants provided a 2,000,000 Colombian peso

($1,102.54) payment to Libardo Duarte and/or his family. Ex. 8 (CS_TC 3657). UNDISPUTED

that this payment was made to the family of Duarte to complete their security

arrangements. See Ex. 8 (CS_TC 3657). DISPUTED because Mr. Collingsworth, not

“Defendants,” arranged for these funds. Id.

       61.    The May 21, 2011 payment to Libardo Duarte was a cash payment delivered by

Lorraine Leete, a member of Defendants’ litigation team. Ex. 8 (CS_TC 3657). UNDISPUTED

that this payment was made to the family of Duarte to complete their security

arrangements. See Ex. 8 (CS_TC 3657).

Alcides Manuel Mattos Tabares (“Samario”) and Jhon Jairo Esquivel Cuadrado (“El Tigre”)

       62.    Samario and El Tigre were two of Defendants’ fact witnesses in Balcero who

accused Drummond of collaborating with the AUC.            Balcero Docs. 396-10 & 396-11.

UNDISPUTED.

       63.    Defendants are relying on El Tigre and Samario’s testimony to support the truth

of the defamatory statements at issue in this case. See Doc. 43-10 (Defs.’ 2d Am. Resp. to 1st

Req. for Prod.) at Nos. 1, 3-16, 18-20, 22-26, 29-33. UNDISPUTED.

       64.    On or about February 11, 2011, Defendants sent a $5,000 payment via

international bank wire from Conrad & Scherer, LLP’s Operating Account to Ivan Otero. Doc.

174-8 (El Tigre and Samario payments). UNDISPUTED that this payment was made to Ivan

Otero. However, the parenthetical suggesting that Doc. 174-8 reflects that this payment was

for the benefit of El Tigre and Samario is not accurate.




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       65.    Defendants knew and intended that Otero would deliver this money to El Tigre

and Samario and/or their families.      Doc. 174-8 (El Tigre and Samario payments).

UNDISPUTED that Mr. Collingsworth authorized this money “to be sent to Mr. Otero’s

bank account as money for security for Mr. Otero, Samario, and El Tigre.” Doc. 231-11, at

42 of 80. DISPUTED that Mr. Collingsworth has specific knowledge of the security

measures taken by Mr. Otero. Further DISPUTED to the extent it attempts to draw a legal

conclusion that Conrad & Scherer is deemed to know of any agreements or payments made

for the benefit of El Tigre or Samario or their families. See Doc. 231-11, at 44 of 80

(Conrad & Scherer Response) (“William Scherer, managing partner of Conrad & Scherer,

LLP, was not directly involved in the actual day to day litigation of the Drummond

matters. Mr. Scherer receives an estimated thousands of email a month. He did receive one

email report in May 2011 which indicated that payments would be made to Mr. Otero for

security that included a brief reference to security payments for families of El Tigre and

Samario (see CS_TC000289). But Mr. Scherer was not aware of exactly what Mr. Otero

was doing with this money. Certain lower-level employees at Conrad & Scherer, LLP,

including employees in the accounting department, were aware of the monthly payments to

Mr. Otero for security, but they were not in positions of authority, and in the belief of

defendants those individuals were not aware of exactly what Mr. Otero did with the

money.” as it was received).

       66.    Ivan Otero delivered this February 11, 2011 payment to El Tigre and Samario

and/or their families. Doc. 174-8 (El Tigre and Samario payments). DISPUTED that this

payment was “delivered . . . to” El Tigre and Samario. Instead, some of this payment was

used for the protection of El Tigre’s and Samario’s families. See Doc. 231-11, at 42 of 80




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(“Mr. Otero later explained that the money was used to provide $800 for both Samario and

El Tigre for the relocation of their immediate family and $1000 each for support of their

family during one month. Samario and El Tigre were in prison at this time. The remaining

$1,400 was used to pay individuals providing protection for Otero.”); see also Doc. 187-2

(Otero Decl.) ¶¶ 37, 40, 42 (“It was very clear to me that the families of El Tigre and

Samario needed security and relocation assistance. . . . As a result, I personally arranged to

pay the families of El Tigre and Samario costs of security – in the form of relocation and

security payments. . . . The payments that were made were to protect the families.”).

       67.     On or about April 22, 2011, Defendants sent a $2,700 payment via international

bank wire from Conrad & Scherer, LLP’s Operating Account to Ivan Otero. Doc. 174-8 (El

Tigre and Samario payments). UNDISPUTED.

       68.     Ivan Otero delivered this April 22, 2011 payment to El Tigre and Samario.

DISPUTED that this payment was “delivered . . . to” El Tigre and Samario. Instead, this

payment was used for the relocation of, and to provide security for, the families of El Tigre

and Samario. See Doc. 187-2 (Otero Decl.) ¶¶ 37, 40, 42 (“It was very clear to me that the

families of El Tigre and Samario needed security and relocation assistance. . . . As a result,

I personally arranged to pay the families of El Tigre and Samario costs of security – in the

form of relocation and security payments. . . . The payments that were made were to

protect the families.”).

       69.     At some point prior to May 22, 2011, Defendants made a $5,400 payment to Ivan

Otero. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-9. UNDISPUTED. This

payment was made to set up security for Otero, and for the families of Samario and El

Tigre. See Doc. 231-11, at 43 of 80 (“In about late May 2011, Mr. Collingsworth arranged




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to pay $5,400 to Mr. Otero for two missing security payments for Mr. Otero, Samario, and

El Tigre.”); see also Doc. 174-9 (explaining payment was for the security of the families of

El Tigre and Samario, and security for Otero); Doc. 187-2 (Otero Decl.) ¶¶ 37, 40, 42 (“It

was very clear to me that the families of El Tigre and Samario needed security and

relocation assistance. . . . As a result, I personally arranged to pay the families of El Tigre

and Samario costs of security – in the form of relocation and security payments. . . . The

payments that were made were to protect the families.”).

       70.    Ivan Otero delivered this $5,400 payment to El Tigre and Samario. Doc. 174-9.

DISPUTED that this payment was “delivered” “to” El Tigre and Samario. Instead, this

payment was made to set up security for Otero, and for the families of Samario and El

Tigre. See Doc. 231-11, at 43 of 80 (“In about late May 2011, Mr. Collingsworth arranged

to pay $5,400 to Mr. Otero for two missing security payments for Mr. Otero, Samario, and

El Tigre.”); see also Doc. 174-9 (explaining payment was for the security of the families of

El Tigre and Samario, and security for Otero); Doc. 187-2 (Otero Decl.) ¶¶ 37, 40, 42 (“It

was very clear to me that the families of El Tigre and Samario needed security and

relocation assistance. . . . As a result, I personally arranged to pay the families of El Tigre

and Samario costs of security – in the form of relocation and security payments. . . . The

payments that were made were to protect the families.”).

       71.    Between June 2011 and present day, Defendants have sent monthly $2,700

payments via international bank wire from Conrad & Scherer, LLP’s Operating Account to Ivan

Otero. Doc. 174-8 (El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-

57:18. UNDISPUTED that beginning in June 2011, Conrad & Scherer, LLP “typically”

made a wire transfer of $2,700 each month to Otero. See Doc. 231-11, at 43 of 80.




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DISPUTED that Mr. Collingsworth had specific knowledge of the security measures taken

by Mr. Otero. Further DISPUTED to the extent it attempts to draw a legal conclusion that

Conrad & Scherer is deemed to know of any agreements or payments made for the security

of the families of El Tigre and Samario. See Doc. 231-11, at 44 of 80 (Conrad & Scherer

Response) (“William Scherer, managing partner of Conrad & Scherer, LLP, was not

directly involved in the actual day to day litigation of the Drummond matters. Mr. Scherer

receives an estimated thousands of email a month. He did receive one email report in May

2011 which indicated that payments would be made to Mr. Otero for security that included

a brief reference to security payments for families of El Tigre and Samario (see

CS_TC000289). But Mr. Scherer was not aware of exactly what Mr. Otero was doing with

this money. Certain lower-level employees at Conrad & Scherer, LLP, including employees

in the accounting department, were aware of the monthly payments to Mr. Otero for

security, but in defendants’ belief, those individuals were not aware of exactly what Mr.

Otero did with the money” after he received it).

       72.    Ivan Otero has delivered those $2,700 monthly payments to El Tigre and Samario.

Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18; Doc. 174-9. DISPUTED. As explained above,

these payments were used to provide security for the families of El Tigre and Samario. Doc.

187-2 (Otero Decl.) ¶¶ 37, 40, 42 (“It was very clear to me that the families of El Tigre and

Samario needed security and relocation assistance. . . . As a result, I personally arranged to

pay the families of El Tigre and Samario costs of security – in the form of relocation and

security payments. . . . The payments that were made were to protect the families.”).

       73.    Defendants knew and intended that these monthly payments would be delivered

to El Tigre and Samario by Ivan Otero. Doc. 174-9. UNDISPUTED that Mr. Collingsworth




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was aware that witness assistance payments were being made to Otero for the purpose of

providing security to the families of El Tigre and Samario. But, these payments were not

“delivered . . . to” El Tigre or Samario. DISPUTED that Mr. Collingsworth had specific

knowledge of the security measures taken by Mr. Otero. Further DISPUTED to the extent

it attempts to draw a legal conclusion that Conrad & Scherer is deemed to know of any

agreements or payments made for the security of the families of El Tigre and Samario.

Doc. 231-11, at 44 of 80 (Conrad & Scherer Response) (“William Scherer, managing

partner of Conrad & Scherer, LLP, was not directly involved in the actual day to day

litigation of the Drummond matters. Mr. Scherer receives an estimated thousands of email

a month. He did receive one email report in May 2011 which indicated that payments

would be made to Mr. Otero for security that included a brief reference to security

payments for families of El Tigre and Samario (see CS_TC000289). But Mr. Scherer was

not aware of exactly what Mr. Otero was doing with this money. Certain lower-level

employees at Conrad & Scherer, LLP, including employees in the accounting department,

were aware of the monthly payments to Mr. Otero for security, but to the best of

defendants’ knowledge, those individuals were not aware of exactly what Mr. Otero did

with the money” after he received it.

       74.    Defendants did not disclose their payments to El Tigre and Samario until

November 17, 2014, when they produced documents reflecting payments to Ivan Otero and a

redacted copy of Mr. Collingsworth’s May 22, 2011 email to Parker Waichman, LLP lawyers,

Bill Scherer, and Richard Drath. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-6.

UNDISPUTED that the defendants complied with the Court’s October 15, 2014 Order to

produce fact of payment documents, and that they did so on November 17, 2014.




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                   Representations to the Court Regarding Witness Payments

       75.   Every motion, brief, and other filing submitted to the Court by the Defendants in

this matter has been filed on behalf of both Mr. Collingsworth and Conrad & Scherer, LLP.

DISPUTED. For example, Mr. Collingsworth submitted personal declarations not

purporting to speak on behalf of Conrad & Scherer LLP.

       76.   Mr. Collingsworth has been the Managing Partner of Conrad & Scherer, LLP’s

Washington, D.C. office since 2008.       See http://www.conradscherer.com/washington-d-c-

office/. UNDISPUTED.

       77.   Prior to January 9, 2015, Mr. Collingsworth signed all of the Defendants’

interrogatory responses in this case on behalf of both himself and Conrad & Scherer, LLP.

UNDISPUTED.

       78.   On July 5, 2011, Mr. Collingsworth signed interrogatory responses in Balcero.

Doc. 88-4 (Collingsworth’s July 5, 2011 Balcero Irog. Resp. No. 4). UNDISPUTED.

       79.   At the time he signed these interrogatory responses, Mr. Collingsworth was acting

as a partner of Conrad & Scherer, LLP. Id. DISPUTED as calls for a legal conclusion and

nothing about this document indicates the capacity in which Mr. Collingsworth signed the

interrogatories.

       80.   One of the interrogatories asked for a description of “anything of value offered or

given by Plaintiffs, or anyone acting on Plaintiffs’ behalf including counsel, to any person

disclosed on Plaintiffs’ Rule 26 disclosures, any former paramilitary or any other potential

witness in this litigation.” Id. UNDISPUTED.

       81.   Mr. Collingsworth’s response to this interrogatory stated as follows: “Plaintiffs

have provided Duarte with hamburgers and other food on several occasions, which were served




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during meetings to discuss the facts in his February 2011 Declaration. Additionally, Plaintiffs

are providing reasonable transportation, food, and lodging costs for Plaintiffs who will be

deposed in Alabama between July 18-23, 2011. Plaintiffs have paid to relocate Plaintiff Claudia

Balcero and her family after she and her family received death threats as a result of participating

in this lawsuit.” Doc. 88-4 (Collingsworth’s July 5, 2011 Balcero Irog. Resp. No. 4).

UNDISPUTED that this response was provided, subject to objections based on vagueness

and overbreadth of the phrase “anything of value offered or given . . . to any person

disclosed on Plaintiffs’ Rule 26 disclosures, any former paramilitary or any other potential

witness in this litigation”; objections based on relevancy; and objections based on the

attorney work product doctrine to the extent it sought information regarding “potential

witnesses.” See Doc. 88-4, at 6. Mr. Collingsworth interpreted this interrogatory literally

to include only direct payments by defendants to witnesses, not to their family members.

       82.    At the time Mr. Collingsworth signed the interrogatory response set forth in the

above paragraph, Defendants’ litigation team had made payments to Halcon, Duarte, El Tigre,

Samario and Charris. Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8

(CS_TC000179); Doc. 174-8 (El Tigre and Samario payments); Doc. 174-9; Doc. 44-15 (PLS

5024-5025); Doc. 44-6. UNDISPUTED that witness assistance payments had been made for

the benefit of these witnesses or their families. DISPUTED to the extent it implies

defendants had an obligation to disclose such payments based on a literal interpretation of

the interrogatory. Further DISPUTED because “Defendants’ litigation team” is

ambiguous.

       83.    Also at this time, Mr. Collingsworth had offered to Blanco assistance with paying

Blanco’s criminal legal fees. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2).




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UNDISPUTED that Mr. Collingsworth had discussed with or met with Blanco prior to

July 5, 2011, and that Blanco had requested assistance with his criminal legal fees.

DISPUTED to the extent it implies Mr. Collingsworth offered that he or Conrad &

Scherer would pay Blanco’s criminal legal fees. Further DISPUTED because Blanco’s

request for assistance paying his attorney’s fees was not responsive to this interrogatory.

       84.   Mr. Collingsworth’s interrogatory response described in Paragraph 81, supra, was

false. Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8 (CS_TC000179); Doc.

174-8 (El Tigre and Samario payments); Doc. 174-9; Doc. 44-15 (PLS 5024-5025); Doc. 44-6.

DISPUTED. Mr. Collingsworth’s interrogatory response was made subject to objections

to the phrase “anything of value offered or given . . . to any person disclosed on Plaintiffs’

Rule 26 disclosures, any former paramilitary or any other potential witness in this

litigation,” and, specifically, to the request for information about “potential witnesses.” As

explained in defendants’ supplemental crime fraud brief filed with the Special Master on

July 18, 2014, defendants interpreted this request literally not to include payments made

to the families of witnesses. Doc. 174-14 (“Defs. Reply Mem. Crime-Fraud Exception”) at

4. Thus, payments to the families of Duarte, El Tigre, Samario, and Charris were excluded

under Mr. Collingsworth’s interpretation. Furthermore, defendants objected to providing

this information with respect to “potential” witnesses, which resulted in the exclusion of

payments for the benefit of Halcon, who the Balcero plaintiffs did not consider to be a

“witness.” Id. at 4-5. Finally, the request did not seek information about requests for

anything of value and, therefore, Blanco’s requests for assistance with payment of his

criminal legal fees was not responsive to this interrogatory.




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        85.       At the time Mr. Collingsworth signed the interrogatory response described in

Paragraph 81, supra, he knew it was false. Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS

5020); Ex. 8 (CS_TC000179); Doc. 174-8 (El Tigre and Samario payments); Doc. 174-9; Doc.

44-15 (PLS 5024-5025); Doc. 44-6. DISPUTED because the interrogatory response was not

false. See supra Resp. ¶ 84.

        86.       On November 8, 2011, Mr. Collingsworth filed an Opposition to the Balcero

defendants’ motion to compel. Doc. 174-21 (Collingsworth’s Nov. 8, 2011 Balcero filing).

UNDISPUTED that plaintiffs’ counsel in Balcero, including Mr. Collingsworth, filed this

opposition.

        87.       Mr. Collingsworth submitted that Opposition as a partner of Conrad & Scherer,

LLP. Id. DISPUTED to the extent it is unclear in what role Mr. Collingsworth appeared

on this filing.

        88.       In that November 8, 2011 filing, Mr. Collingsworth represented the following to

this Court:

                  Defendants’ Third Set of Interrogatories No. 4 requests that Plaintiffs
                  “describe anything of value offered or given by Plaintiffs, or anyone
                  acting on Plaintiffs’ behalf including counsel, to any person disclosed on
                  Plaintiffs’ Rule 26 disclosures, any former paramilitary or any other
                  potential witness.” Defs’ Ex. B (Pls’ Joint Responses and Objections to
                  Third Set of Interrogatories No. 4). In response, Plaintiffs provided
                  responsive information relating to all Plaintiffs and witnesses and have not
                  withheld responsive information on the grounds of attorney-client
                  privilege as it relates to Plaintiffs or witnesses in this case.

Doc. 174-21 (Collingsworth’s Nov. 8, 2011 Balcero filing) at 9. UNDISPUTED that plaintiffs’

counsel in Balcero made this representation.

       89.        At the time Mr. Collingsworth made the representation that the Balcero plaintiffs

had “provided responsive information relating to all Plaintiffs and witnesses and have not




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withheld responsive information on the grounds of attorney-client privilege as it relates to

Plaintiffs or witnesses in this case,” Defendants’ litigation team had made payments to Halcon,

Duarte, El Tigre, Charris, Samario and Blanco. Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS

5020); Ex. 8 (CS_TC000179); Doc. 174-8 (El Tigre and Samario payments); Doc. 174-9; Doc.

44-15 (PLS 5024-5025); Doc. 44-6. UNDISPUTED that witness assistance payments had

been made for the benefit of these witnesses or their families. DISPUTED that payments

were made by defendants “to” these witnesses. Further DISPUTED to the extent it implies

defendants had an obligation to disclose such payments based on the discovery requests

outstanding at the time. Further DISPUTED because “Defendants’ litigation team” is

ambiguous.

       90.    Mr. Collingsworth’s representation described in Paragraph 88, supra, was false.

Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8 (CS_TC000179); Doc. 174-8 (El

Tigre and Samario payments); Doc. 174-9; Doc. 44-15 (PLS 5024-5025); Doc. 44-6.

DISPUTED. The Balcero plaintiffs’ counsel’s statement was not false, as all “responsive”

and un-objected to discovery requests had been complied with. As explained in defendants’

supplemental crime fraud brief filed with the Special Master on July 18, 2014, defendants

interpreted the discovery requests in Balcero literally not to include payments made to the

families of witnesses. Doc. 174-14 (“Defs. Reply Mem. Crime-Fraud Exception”) at 4. Thus,

payments to the families of Duarte, El Tigre, Samario, and Charris were excluded under

defendants’   interpretation.   Furthermore,       defendants   objected   to   providing   this

information with respect to “potential” witnesses, which resulted in the exclusion of

payments for the benefit of Halcon, who the Balcero plaintiffs did not consider to be a

“witness.” Id. at 4-5. Finally, the request did not seek information about requests for




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anything of value and, therefore, Blanco’s requests for assistance with payment of his

criminal legal fees was not responsive to this interrogatory

       91.    At the time Mr. Collingsworth made the representation described in Paragraph 88,

supra, he knew it was false. Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8

(CS_TC000179); Doc. 174-8 (El Tigre and Samario payments); Doc. 174-9; Doc. 44-15 (PLS

5024-5025); Doc. 44-6. DISPUTED because plaintiffs’ counsel’s statement was not false. See

supra Resp. ¶ 90.

       92.    On March 8, 2012, this Court ordered Defendants to disclose “anything of value”

offered or given to any individuals listed on the Balcero plaintiffs’ Rule 26 disclosures or any

Colombian paramilitaries.     Doc. 174-22 (March 8, 2012 Balcero Mem. Op.) at 6-7.

DISPUTED. The effect of the portion of the order cited was to overrule the Balcero

plaintiffs’ objections to providing this information with respect to paramilitaries, even if

they were only potential witnesses. To the extent there were other objections that were not

affected by this order, those objections remained pending.

       93.    Defendants did not disclose to Drummond their payments to alias “Halcon,”

Charris, Duarte and Gelvez until after discovery closed in Balcero. Doc. 44-19; Ex. 7 (CS

11416); Doc. 44-13 (PLS 5020); Ex. 8 (CS_TC000179); Doc. 44-15 (PLS 5024-5025); Doc. 44-

6. UNDISPUTED that the plaintiffs in Balcero disclosed the payments to Halcon, Charris,

Duarte, and Gelvez after the close of discovery in Balcero. But, Drummond’s insinuation

that defendants, in their role as counsel for the Balcero plaintiffs, somehow acted in bad

faith by the timing of this production is belied by the record.

       The first discovery request served by Drummond that sought witness payment

information was served on May 20, 2011. Exhibit C (May 20, 2011 Defs.’ 2nd RFPs to




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Plaintiffs), No. 7. It did not seek information about payments to family members. Id. The

defendants, as counsel for the Balcero plaintiffs, objected to this request on the grounds

that the phrase “anything of value offered or given . . . to any person disclosed on Plaintiffs’

Rule 26 disclosures, any former paramilitary or any other potential witness in this

litigation” was vague and overbroad; that the request sought irrelevant information; and

that the request sought information protected by the attorney work product doctrine to the

extent it sought information regarding “potential witnesses.” Exhibit D (July 5, 2011 Pls.’

Resp. Defs.’ 2nd RFPs), No. 7.

       After the parties filed competing motions to compel, the Court entered an order on

March 8, 2012, overruling some of the Balcero plaintiffs’ objections. Exhibit E (Balcero

Doc. 332, 2:09-cv-01041, Mem. Op. & Order). On May 15, 2012, Drummond then served its

fifth set of documents requests and interrogatories. Discovery closed in Balcero on June 29,

2012. By agreement with Drummond, the Balcero plaintiffs responded to the fifth

interrogatories on July 16, 2012, and identified payments made to Halcon, a potential

paramilitary witness, and vowed to produce documents reflecting these payments. Exhibit

F (Pls.’ Resp. Defs.’ 5th ROG), No. 7. The Balcero plaintiffs produced Halcon-related

documents a month later on August 16, 2012. See Doc. 43, at 18 n.13.

       With respect to Charris, Duarte, and Gelvez, the first time Drummond issued

discovery requests that sought information about payments made to witnesses’ family

members was in its fifth discovery requests served on May 15, 2012. Exhibit G (Pls.’ Resp.

Defs.’ 5th RFP), No. 17. The Balcero plaintiffs responded to this set of discovery on June

29, 2012, the day discovery closed. Id. In their response, defendants, as counsel for the

Balcero plaintiffs, objected “on the grounds that this request is overly broad to the extent it




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seeks ‘all documents referencing or relating to anything of value . . . to the family member

of any Colombian paramilitary or to the family member of anyone listed on Attachment

A,’ as it seeks information that is not relevant or likely to lead to admissible evidence. In

addition, the Court ruled on March 8, 2012 that such information is discoverable only as it

relates to paramilitaries or those individuals listed on Plaintiffs’ disclosures.” Id.

Drummond and defendants, as counsel for defendants, then met and conferred about this

objection over the next several months. Without the Balcero plaintiffs’ objections’ lodged

on June 29, 2012, being resolved, defendants, as counsel for the Balcero plaintiffs, agreed to

produce documentation of funds provided to relocate the families of Duarte, Gelvez, and

Charris after they had received death threats. See Doc. 174-14 (“Defs. Reply Mem. Crime-

Fraud Exception”), at 6.

       94.    Defendants never disclosed the payments to El Tigre, Samario and Blanco in

Balcero. UNDISPUTED that witness assistance payments for El Tigre, Samario, and

Blanco, or their families, were not disclosed in Balcero. DISPUTED because payments were

not made “to” these witnesses.

       95.    On March 8, 2012, this Court held a telephonic hearing in Balcero. Doc. 174-23

(March 8, 2012 Balcero Hrg. Tr.). UNDISPUTED.

       96.    During the March 8, 2012 telephonic hearing, Mr. Collingsworth represented to

this Court that Llanos Oil had “no relationship” to the Balcero case. Doc. 174-23 (March 8,

2012 Balcero Hrg. Tr.) at 8:20-9:7. DISPUTED as misquotes transcript out of context. Mr.

Collingsworth was saying that Llanos Oil had no “relationship” to the case as it related to

Drummond. The facts and issues were not related, nor were there common witnesses that




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Mr. Collingsworth was aware of. Mr. Blanco was not, and is not, a witness in the Llanos

Oil case, but had contacts that could, and did, lead to facts specific to that case.

       97.     At the time Mr. Collingsworth represented that Llanos Oil had “no relationship”

to the Balcero case, Albert van Bilderbeek of Llanos Oil had already made two payments to

Jaime Blanco, totaling in excess of $60,000. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that, as of the time of Mr.

Collingsworth’s statement, Albert Van Bilderbeek had made payments to Otero, and that

Mr. Collingsworth understood that those payments were to be used to pay Blanco’s

criminal legal fees. There is no evidence of how much of this amount was delivered to

Blanco, or that Mr. Collingsworth was aware of how much of that amount had been

delivered to Blanco. See Doc. 174-2, at 6. DISPUTED to the extent this statement implies

that Llanos Oil, rather than Albert Van Bilderbeek, was involved in the payments to Otero.

       98.     These two payments were offered, facilitated and confirmed by Mr.

Collingsworth. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8;

Doc. 174-20. UNDISPUTED that Mr. Collingsworth confirmed these payments were made

by Albert van Bilderbeek to Otero. DISPUTED because Mr. Collingsworth did not “offer”

or “facilitate” these payments, nor did he know whether, and how much, of these payments

were delivered to Blanco.

       99.     Mr. Collingsworth’s representation on March 8, 2012 that Llanos Oil had “no

relationship” to the Balcero case was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd

Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as misquotes transcript out of context. Mr.

Collingsworth was saying that Llanos Oil had no “relationship” to the case as it related to

Drummond. The facts and issues were not related nor were there common witnesses that




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Mr. Collingsworth was aware of. Mr. Blanco was not, and is not, a witness in the Llanos

Oil case, but had contacts that could and did lead to facts specific to that case. But, the

statement was not complete and Mr. Collingsworth did not intend to deceive the Court by

failing to elaborate on the relationship of Llanos Oil to this case.

       100.   At the time Mr. Collingsworth made the representation that Llanos Oil had “no

relationship” to the Balcero case, he knew it was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the statement,

when read in context, was not false. However, the statement was not complete and Mr.

Collingsworth did not intend to deceive the Court by failing to elaborate on the

relationship of Llanos Oil to this case.

       101.   On April 19, 2012, Jaime Blanco gave the first part of his letters rogatory

testimony in Balcero. Balcero Doc. 396-15 (Blanco Dep.). UNDISPUTED.

       102.   Mr. Collingsworth asked Jaime Blanco the following question: “Have you had

any promises or benefits provided to you?” Balcero Doc. 396-15 (Blanco Dep.) at 16-17.

UNDISPUTED.

       103.   Jaime Blanco responded:      “No, no kind whatsoever.”   Balcero Doc. 396-15

(Blanco Dep.) at 16-17. UNDISPUTED.

       104.   As of April 19, 2012, Jaime Blanco had already received at least two payments

from Albert van Bilderbeek. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. DISPUTED as Mr. Collingsworth did not know at the time whether

payments made from Albert van Bilderbeek to Otero had been delivered to Blanco and, if

so, in what amounts. Furthermore, any payments Blanco did receive did not come from

Mr. Collingsworth.




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       105.   Mr. Collingsworth offered, facilitated and confirmed these payments to Jaime

Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-

20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s explanation of his

involvement with Blanco. See Doc. 174-2, at 4-6.

       106.   Jaime Blanco’s response of “No, no kind whatsoever” in response to Mr.

Collingsworth’s question was false. Balcero Doc. 396-15 (Blanco Dep.) at 16-17; Doc. 174-2

(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as

Mr. Collingsworth’s question was ambiguous. DISPUTED because Mr. Collingsworth did not

know at the time whether payments made from Albert van Bilderbeek to Otero had been

delivered to Blanco and, if so, in what amounts. Furthermore, any payments Blanco did

receive did not come from Mr. Collingsworth.

       107.   At the time Jaime Blanco gave this testimony in response to Mr. Collingsworth’s

question, Mr. Collingsworth knew it was false.         Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because Mr. Collingsworth

did not know at the time whether payments made from Albert van Bilderbeek to Otero had

been delivered to Blanco and, if so, in what amounts. Furthermore, any payments Blanco

did receive did not come from Mr. Collingsworth.

       108.   Mr. Collingsworth did not attempt to correct the record or elicit truthful testimony

from Blanco regarding his receipt of payments from Albert van Bilderbeek. Balcero Doc. 396-

15 (Blanco Dep.). DISPUTED because it assumes that Blanco testified incorrectly or falsely

and that Mr. Collingsworth knew that at the time.

       109.   On May 16, 2012, Mr. Collingsworth signed an amended response to the

interrogatory in Balcero asking him to disclose anything of value offered or given to witnesses




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on the Balcero plaintiffs’ Rule 26 disclosures or paramilitaries. Doc. 88-5 (Collingsworth’s May

16, 2012 Balcero Am. Interrogatory Resp.). UNDISPUTED, although the actual requests

states: “Describe anything of value offered or given by Plaintiffs, or anyone acting on

Plaintiffs’ behalf including counsel, to any person disclosed on Plaintiffs’ Rule 26

disclosures, any former paramilitary or any other potential witness in this litigation.”

       110.   At the time he signed these interrogatory responses, Mr. Collingsworth was acting

as a partner of Conrad & Scherer, LLP. Id. DISPUTED as calls for a legal conclusion and

nothing about this document indicates the capacity in which Mr. Collingsworth signed the

interrogatory.

       111.   Mr. Collingsworth’s May 16, 2012 amended interrogatory response stated as

follows:

              Plaintiffs have provided Duarte with hamburgers and other food on several
              occasions, which were served during meetings to discuss the facts in his
              February 2011 Declaration. Additionally, Plaintiffs’ counsel have
              provided reasonable transportation, food, and lodging costs for Plaintiffs
              who were deposed in Alabama between July 18-23, 2011 and between
              January 25- February 3, 2012. Plaintiffs have paid to relocate Plaintiff
              Claudia Balcero and her family after she and her family received death
              threats as a result of participating in this lawsuit. Additionally, Plaintiffs’
              counsel has purchased lunch for witnesses during depositions that have
              occurred through the letters rogatory process. After Mr. Rafael Garcia
              was released from prison without notice and because of fears for his
              safety, Plaintiffs arranged for a temporary safe house and his
              transportation to a third country, from where he has since relocated on his
              own.

Doc. 88-5 (Collingsworth’s May 16, 2012 Balcero Am. Interrogatory Resp.). UNDISPUTED

that this response was provided, subject to objections based on vagueness and overbreadth

of the phrase “anything of value offered or given . . . to any person disclosed on Plaintiffs’

Rule 26 disclosures, any former paramilitary or any other potential witness in this

litigation”; objections based on relevancy; and objections based on the attorney work



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product doctrine to the extent it sought information regarding “potential witnesses.” See

Doc. 88-5, at 4.

       112.    At the time Mr. Collingsworth signed this May 16, 2012 interrogatory response,

Defendants’ litigation team had made payments to alias “Halcon,” Duarte, Charris, Gelvez,

Samario, El Tigre, and Blanco. Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8

(CS_TC000179); Doc. 44-15 (PLS 5024-5025); Doc. 44-6; Doc. 174-8 (El Tigre and Samario

payments) Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that Mr. Collingsworth had authorized witness assistance payments

to be made to the witnesses, or their families, identified here. DISPUTED because the

phrase “Defendants’ litigation team” is ambiguous.

       113.    Mr. Collingsworth’s May 16, 2012 interrogatory response was false. Doc. 44-19;

Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8 (CS_TC000179); Doc. 44-15 (PLS 5024-5025);

Doc. 44-6; Doc. 174-8 (El Tigre and Samario payments) Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that the interrogatory

response was incomplete and should have included payments for security for Halcon. But,

payments for security for Halcon were disclosed very shortly thereafter. See Exhibit F,

Request No. 7.

       114.    At the time Mr. Collingsworth signed this May 16, 2012 interrogatory response,

he knew it was false.     Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8

(CS_TC000179); Doc. 44-15 (PLS 5024-5025); Doc. 44-6; Doc. 174-8 (El Tigre and Samario

payments) Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that the interrogatory was incomplete in that it did not include




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payments for security for Halcon. But, payments for security for Halcon were disclosed

very shortly thereafter. See Exhibit F, Request No. 7.

       115.   On July 1, 2013, Drummond filed a motion to compel responses to its First and

Second written discovery requests, setting forth documentary evidence of Defendants’ payments

to Halcon, Charris and Duarte. Doc. 43. UNDISPUTED.

       116.   On July 18, 2013, Defendants filed “Terrence Collingsworth and Conrad &

Scherer’s Response to Drummond Company, Inc’s Motion to Compel.”                      Doc. 46.

UNDISPUTED that counsel for defendants filed this response.

       117.   In “Terrence Collingsworth and Conrad & Scherer’s Response to Drummond

Company, Inc’s Motion to Compel,” Defendants made the following representation to this Court:

              In purporting to seek further discovery regarding payments made to
              witnesses, Drummond asserts, as if it had discovered a nefarious plot, that
              it “has evidence” Mr. Collingsworth “paid witnesses and their families.”
              DR. Mot. 14. First, all of the “evidence” Drummond has was produced by
              Plaintiffs in the Balcero case, and Plaintiffs produced every responsive
              document they had. Collingsworth Decl. ¶ 4.”

Doc. 46 at 3. UNDISPUTED that counsel for defendants made this representation.

       118.   At the time Defendants represented to this Court that they had already “produced

every responsive document they had” related to payments to witnesses in the Balcero case, they

had not disclosed the payments to El Tigre, Samario or Blanco. Doc. 174-8 (El Tigre and

Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18; Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that, at the

time of this response, documents relating to witness assistance payments for El Tigre,

Samario, and Blanco, or their families, had not been disclosed. If outstanding objections to

Balcero discovery requests were ignored, the statement was incomplete. But, it has been




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corrected through supplemental discovery responses in this case. Mr. Collingsworth did

not intend to mislead the Court.

       119.   Defendants’ representation that they had already “produced every responsive

document they had” related to payments to witnesses in the Balcero case was false. Doc. 174-8

(El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18; Doc. 174-2

(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED that

witness assistance payments for these witnesses, or their families, were responsive to

discovery requests in Balcero that were not subject to outstanding objections. But, if

outstanding objections to Balcero discovery requests were ignored, the statement was

incomplete. But, it has been corrected through supplemental discovery responses in this

case. Mr. Collingsworth did not intend to mislead the Court.

       120.   At the time Defendants made the representation that they had already “produced

every responsive document they had” related to payments to witnesses in the Balcero case, they

knew it was false. Doc. 174-8 (El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.)

at 56:23-57:18; Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8;

Doc. 174-20. DISPUTED because the representation was not false, although it was

incomplete if outstanding objections were ignored. Mr. Collingsworth did not intend to

mislead the Court. See supra Resp. ¶ 119.

       121.   In “Terrence Collingsworth and Conrad & Scherer’s Response to Drummond

Company, Inc’s Motion to Compel,” Defendants also represented that they “have provided

Drummond all responsive documents, and the only reason Drummond knows about the security

payments is because Defendants provided the documents.” Doc. 46 at 21. UNDISPUTED that

defendants’ counsel made this representation.




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       122.   At the time Defendants represented to this Court that they “have provided

Drummond all responsive documents, and the only reason Drummond knows about the security

payments is because Defendants provided the documents,” they had not disclosed the payments

to El Tigre, Samario or Blanco. Doc. 174-8 (El Tigre and Samario payments); Ex. 1 (May 21,

2015 Hrg. Tr.) at 56:23-57:18; Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. UNDISPUTED that, at the time of this response, documents relating

to witness assistance payments for El Tigre, Samario, and Blanco, or their families, had not

been disclosed. If outstanding objections to Balcero discovery requests were ignored, the

statement was incomplete. But, it has been corrected through supplemental discovery

responses in this case. Mr. Collingsworth did not intend to mislead the Court.

       123.   Defendants’ representation that they had “provided Drummond all responsive

documents” related to payments to witnesses in the Balcero case was false. Doc. 174-8 (El Tigre

and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18; Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED that witness

assistance payments for these witnesses, or their families, were responsive to discovery

requests in Balcero that were not subject to outstanding objections. But, if outstanding

objections to Balcero discovery requests were ignored, the statement was incomplete. But,

it has been corrected through supplemental discovery responses in this case. Mr.

Collingsworth did not intend to mislead the Court.

       124.   At the time Defendants made the representation they had “provided Drummond

all responsive documents” related to payments to witnesses in the Balcero case, they knew it was

false. Doc. 174-8 (El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-

57:18; Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-




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20. DISPUTED because the representation was not false, although it was incomplete if

outstanding objections were ignored. Mr. Collingsworth did not intend to mislead the

Court. See supra Resp. ¶ 123.

       125.   On July 18, 2013, Mr. Collingsworth submitted a declaration under penalty of

perjury to this Court in support of “Terrence Collingsworth and Conrad & Scherer’s Response to

Drummond Company, Inc’s Motion to Compel.”              Doc. 47. UNDISPUTED that Mr.

Collingsworth submitted this declaration. DISPUTED to the extent it implies this

declaration was submitted by Mr. Collingsworth as a representative of Conrad & Scherer.

Mr. Collingsworth signed it only in his individual capacity as a defendant.

       126.   In Paragraph 4 of Mr. Collingsworth’s July 18, 2013 declaration, he testified that

he had produced documents reflecting Defendants’ payments to Duarte, Charris and Halcon.

Doc. 47 (July 18, 2013 Collingsworth Decl.) ¶ 4. UNDISPUTED that Mr. Collingsworth

testified that documents reflecting payments to the families of, or third parties for the

benefit of, Duarte, Charris, and Halcon were produced to Drummond in Balcero.

       127.   Mr. Collingsworth’s July 18, 2013 declaration does not disclose any of the

payments to Blanco, El Tigre or Samario. See Doc. 47 (July 18, 2013 Collingsworth Decl.),

generally. UNDISPUTED that, at the time of this response, documents relating to witness

assistance payments for El Tigre, Samario, and Blanco, or their families, had not been

disclosed.

       128.   Defendants cited Paragraph 4 of Mr. Collingsworth’s sworn declaration as

evidentiary support for their representation to this Court that “all of the ‘evidence’ Drummond

has was produced by Plaintiffs in the Balcero case, and Plaintiffs produced every responsive

document they had. Collingsworth Decl. ¶ 4.” Doc. 46 at 3. UNDISPUTED.




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       129.    At the time Defendants cited Mr. Collingsworth’s sworn declaration and

represented that they had already “produced every responsive document they had” related to

payments to witnesses in the Balcero case, they knew this representation was false. Doc. 174-8

(El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18; Doc. 174-2

(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED.

Witness assistance payments for these witnesses, or their families, were not responsive to

discovery requests in Balcero that were not subject to outstanding objections. But, if

outstanding objections to Balcero discovery requests were ignored, the statement was

incomplete. But, it has been corrected through supplemental discovery responses in this

case. Mr. Collingsworth did not intend to mislead the Court.

       130.    In Paragraph 5 of Mr. Collingsworth’s July 18, 2013 declaration, he testified that

“the sole promise I made to any witness in the Balcero case was that if they testified and they or

a family member received a credible death threat, we would do whatever we could to provide

security or a safe haven until such time as the danger had subsided.” Doc. 47 (July 18, 2013

Collingsworth Decl.) ¶ 5. UNDISPUTED.

       131.    At the time Mr. Collingsworth signed this declaration, he had already offered,

facilitated and confirmed at least three payments to Jaime Blanco from Albert van Bilderbeek

that had nothing to do with “security or a safe haven.” Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts

with Mr. Collingsworth’s explanation of his involvement with Blanco. See Doc. 174-2, at 4-

6.

       132.    Mr. Collingsworth’s testimony regarding the “sole promise” he made to “any

witness in the Balcero case” is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,




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No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       133.   At the time Defendants submitted Mr. Collingsworth’s testimony regarding the

“sole promise” he made to “any witness in the Balcero case,” they knew it was false. Doc. 174-2

(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to

the extent it conflicts with Mr. Collingsworth’s explanation of his involvement with Blanco.

See Doc. 174-2, at 4-6.

       The Subpoena to International Rights Advocates (“IRAdvocates”)

       134.   The payments to El Tigre, Samario, and Jaime Blanco are all discussed in emails

written using Mr. Collingsworth’s “tc@iradvocates.com” email address. Doc. 174-6; Doc. 174-

20; Doc. 101-15. UNDISPUTED that some of the emails cited here were written using Mr.

Collingsworth’s “tc@iradvocates.com” email address. Defendants object to Drummond’s

reliance on and citation to inadvertently produced documents by defendants’ former co-

counsel that are subject to a clawback order in this case.

       135.   On July 22, 2013, Drummond served IRAdvocates with a subpoena commanding

the production of documents and things.        Doc. 118-3 (IRAdvocates Subpoena); Ex. 9

(IRAdvocates Proof of Service). UNDISPUTED.

       136.   Drummond’s subpoena to IRAdvocates sought “[a]ny and all documents related

or referring to payments to individuals incarcerated in Colombia, including but not limited

to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El Tigre]…[and] Alcides Manuel

Mattos Tabares [Samario].” Doc. 118-3 (Drummond’s Subpoena to IRAdvocates) at Req. No. 5

(emphasis added). UNDISPUTED.




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       137.    Drummond’s subpoena to IRAdvocates also sought “[a]ny and all documents

related or referring to payments to any family members of any individuals incarcerated in

Colombia, including but not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El

Tigre]…[and] Alcides Manuel Mattos Tabares [Samario].” Doc. 118-3 (Drummond’s Subpoena

to IRAdvocates) at Req. No. 6 (emphasis added). UNDISPUTED.

       138.    Drummond’s subpoena to IRAdvocates also sought “[a]ny and all documents

related or referring to requests for payment or any form of assistance (whether monetary or

nonmonetary in nature) by any individual incarcerated in Colombia… including but not limited

to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El Tigre]…[and] Alcides Manuel

Mattos Tabares [Samario].” Doc. 118-3 (Drummond’s Subpoena to IRAdvocates) at Req. No. 1

(emphasis added).UNDISPUTED.

       139.    Drummond’s subpoena to IRAdvocates also sought “[a]ny and all documents

related or referring to requests for payment or any form of assistance (whether monetary or

nonmonetary in nature) by any family member of any individual incarcerated in Colombia…

including but not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El

Tigre]…[and] Alcides Manuel Mattos Tabares [Samario].” Doc. 118-3 (Drummond’s Subpoena

to IRAdvocates) at Req. No. 2 (emphasis added). UNDISPUTED.

       140.    On August 16, 2013, Mr. Collingsworth signed a declaration under penalty of

perjury in support of Defendants’ and IRAdvocates’ motion to quash Drummond’s subpoena to

IRAdvocates. Doc. 101-5 (Aug. 16, 2013 Collingsworth Decl.). UNDISPUTED.

       141.    In Paragraph 5 of Mr. Collingsworth’s August 16, 2013 declaration, Mr.

Collingsworth testified that:

               I have reviewed the subpoenas Drummond has caused to be issued to
               IRAdvocates, ILRF, and Parker Waichman. They are essentially identical,



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              and the document requests contained in the three subpoenas have either
              already been served on me in my capacity as counsel in the Balcero case
              or as a Defendant in the underlying libel case. Moreover, in my capacity
              as Defendant in the libel action and as counsel in the Balcero litigation, I
              provided all responsive, non-privileged documents in my custody,
              possession or control, including those in the files of IRAdvocates. The
              subpoenas to IRAdvocates, ILRF, and Parker Waichman are duplicative of
              requests already made to me as a defendant in the libel action, and/or
              duplicative of requests to Plaintiffs in the Balcero action. Given the
              duplicative nature of the requests, they are designed to harass and create
              an undue burden for IRAdvocates, ILRF, Parker Waichman, and me
              personally.

Doc. 101-5 (Aug. 16, 2013 Collingsworth Decl.) ¶ 5. UNDISPUTED.

       142.   At the time Mr. Collingsworth submitted this declaration testifying that

Defendants had “provided all responsive, non-privileged documents in my custody, possession

or control, including those in the files of IRAdvocates” responsive to the subpoena’s requests,

Defendants had not disclosed the payments to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre

and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp.

4-8; Doc. 174-20. UNDISPUTED that, at the time of this response, documents relating to

witness assistance payments for El Tigre, Samario, and Blanco, or their families, had not

been disclosed. But, as Mr. Collingsworth explained in his declaration, he had produced

“all responsive, non-privileged documents in my custody, possession or control”—i.e.,

documents responsive to requests served on Mr. Collingsworth in his capacity as a

defendant in the libel case or as counsel in the Balcero case that were not subject to

outstanding objections. If outstanding objections to Balcero discovery requests were

ignored, the statement was incomplete. But, it has been corrected through supplemental

discovery responses in this case. Mr. Collingsworth did not intend to mislead the Court.

Furthermore, this statement preceded the Court’s October 15, 2013 and October 15, 2014




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Orders, which ruled on defendants’ objections and broadened the scope of discovery

regarding witness payments.

       143.   Mr. Collingsworth’s testimony in Paragraph 5 of his August 16, 2013 declaration

that Defendants had “provided all responsive, non-privileged documents in my custody,

possession or control, including those in the files of IRAdvocates” was false. Doc. 174-8 (El

Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. DISPUTED. As Mr. Collingsworth explained in his declaration, he

had produced “all responsive, non-privileged documents in my custody, possession or

control”—i.e., documents responsive to requests served on Mr. Collingsworth in his

capacity as a defendant in the libel case or as counsel in the Balcero case that were not

subject to outstanding objections. If outstanding objections to Balcero discovery requests

were ignored, the statement was incomplete. But, it has been corrected through

supplemental discovery responses in this case. Mr. Collingsworth did not intend to mislead

the Court. Furthermore, this statement preceded the Court’s October 15, 2013 and

October 15, 2014 Orders, which ruled on defendants’ objections and broadened the scope

of discovery regarding witness payments.

       144.   At the time Mr. Collingsworth signed this August 16, 2013 declaration, he knew

this testimony in Paragraph 5 was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because the representation was not false, although it was incomplete if

outstanding objections were ignored. Mr. Collingsworth did not intend to mislead the

Court. See supra Resp. ¶ 143.




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        145.   In Paragraph 23 of Mr. Collingsworth August 16, 2013 declaration, he testified

that:

               I have reviewed our responses on behalf of Plaintiffs in the Balcero
               litigation to document requests served on them by Drummond, as well as
               my responses as a defendant in the libel action brought against me by
               Drummond, and we have produced all responsive non-privileged
               documents to Drummond in those cases. I have never taken the position in
               the course of litigating the Balcero case or the libel litigation that
               documents within IRAdvocates’ electronic or hard copy files were not
               within my possession, custody or control for the purpose of discovery. As
               Drummond’s document requests to IRAdvocates are virtually identical to
               requests already made to the Balcero Plaintiffs and/or to me in the libel
               case, I can say that any non-privileged documents that are responsive to
               the requests to IRAdvocates have already been produced.

Doc. 101-5 (Aug. 16, 2013 Collingsworth Decl.) ¶ 23. UNDISPUTED.

        146.   At the time Mr. Collingsworth submitted this declaration testifying that

Defendants had “reviewed our responses on behalf of Plaintiffs in the Balcero litigation to

document requests served on them by Drummond, as well as my responses as a defendant in the

libel action brought against me by Drummond, and we have produced all responsive non-

privileged documents to Drummond in those cases,” Defendants had not disclosed the payments

to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that, at

the time of this statement, documents relating to witness assistance payments for El Tigre,

Samario, and Blanco, or their families, had not been disclosed. But, as Mr. Collingsworth

explained in his declaration, he had “produced all responsive non-privileged documents to

Drummond in those cases”—i.e., documents responsive to requests served on Mr.

Collingsworth in his capacity as a defendant in the libel case or as counsel in the Balcero

case that were not subject to outstanding objections. If outstanding objections to Balcero

discovery requests were ignored, the statement was incomplete. But, it has been corrected



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through supplemental discovery responses in this case. Mr. Collingsworth did not intend to

mislead the Court. Furthermore, this statement preceded the Court’s October 15, 2013 and

October 15, 2014 Orders, which ruled on defendants’ objections and broadened the scope

of discovery regarding witness payments.

      147.   Mr. Collingsworth’s testimony in Paragraph 23 of his August 16, 2013

declaration that Defendants had “produced all responsive non-privileged documents to

Drummond” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. As Mr.

Collingsworth explained in his declaration, he had “produced all responsive non-privileged

documents to Drummond in those cases”—i.e., documents responsive to requests served on

Mr. Collingsworth in his capacity as a defendant in the libel case or as counsel in the

Balcero case that were not subject to outstanding objections. If outstanding objections to

Balcero discovery requests were ignored, the statement was incomplete. But, it has been

corrected through supplemental discovery responses in this case. Mr. Collingsworth did

not intend to mislead the Court. Furthermore, this statement preceded the Court’s October

15, 2013 and October 15, 2014 Orders, which ruled on defendants’ objections and

broadened the scope of discovery regarding witness payments.

      148.   At the time Mr. Collingsworth signed this August 16, 2013 declaration, he knew

this testimony in Paragraph 23 was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because the representation was not false, although it was incomplete if

outstanding objections were ignored. Mr. Collingsworth did not intend to mislead the

Court. See supra Resp. ¶ 147.




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       149.   On August 16, 2013, Christian Levesque of Conrad & Scherer, LLP filed

“International Rights Advocates’ Motion to Quash Subpoena” in the United States District Court

for the District of Columbia. Drummond Company, Inc. v. Terrence P. Collingsworth, et al.,

Case No. 2:14-mc-00621-RDP (N.D. Ala.) Doc. 4. UNDISPUTED.

       150.   “International Rights Advocates’ Motion to Quash Subpoena” described

Drummond’s subpoena as an “improper and abusive use of [Drummond’s] subpoena power,”

and requested that Drummond be sanctioned for issuing the subpoena. Drummond Company,

Inc. v. Terrence P. Collingsworth, et al., Case No. 2:14-mc-00621-RDP (N.D. Ala.) Doc. 4 at 19.

UNDISPUTED.

       151.   “International Rights Advocates’ Motion to Quash Subpoena” represented that

              [T]he information [sought by Drummond’s subpoena to IRAdvocates] not
              only could be obtained by another source previously during discovery, all
              responsive, non-privileged requested documents already have been
              produced to Drummond by Defendants in the underlying defamation suit
              and in the Balcero litigation.

Drummond Company, Inc. v. Terrence P. Collingsworth, et al., Case No. 2:14-mc-00621-RDP

(N.D. Ala.) Doc. 4 at 10 (emphasis in original). UNDISPUTED.

       152.   At the time Conrad & Scherer, LLP submitted this motion to quash on behalf of

IRAdvocates representing that “the information [sought by Drummond’s subpoena to

IRAdvocates] not only could be obtained by another source previously during discovery, all

responsive, non-privileged requested documents already have been produced to Drummond by

Defendants in the underlying defamation suit and in the Balcero litigation,” Defendants had not

disclosed the payments to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario

payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18; Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that, at the time of this




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statement, documents relating to witness assistance payments for El Tigre, Samario, and

Blanco, or their families, had not been disclosed. But, “all responsive, non-privileged

requested documents” had been “produced to Drummond by Defendants in the underlying

defamation suit and in the Balcero litigation”—i.e., documents responsive to requests

served on Mr. Collingsworth in his capacity as a defendant in the libel case or as counsel in

the Balcero case that were not subject to outstanding objections. If outstanding objections

to discovery requests were ignored, the statement was incomplete. But, it has been

corrected through supplemental discovery responses in this case. Mr. Collingsworth did

not intend to mislead the Court. Furthermore, this statement preceded the Court’s October

15, 2013 and October 15, 2014 Orders, which ruled on defendants’ objections and

broadened the scope of discovery regarding witness payments.

       153.   Conrad & Scherer, LLP’s representation on August 16, 2013, that “the

information [sought by Drummond’s subpoena to IRAdvocates] not only could be obtained by

another source previously during discovery, all responsive, non-privileged requested documents

already have been produced to Drummond by Defendants in the underlying defamation suit and

in the Balcero litigation,” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2

(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. As

explained in the motion, “all responsive, non-privileged requested documents” had been

“produced to Drummond by Defendants in the underlying defamation suit and in the

Balcero litigation”—i.e., documents responsive to requests served on Mr. Collingsworth in

his capacity as a defendant in the libel case or as counsel in the Balcero case that were not

subject to outstanding objections. If outstanding objections to discovery requests were

ignored, the statement was incomplete. But, it has been corrected through supplemental




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discovery responses in this case. Mr. Collingsworth did not intend to mislead the Court.

Furthermore, this statement preceded the Court’s October 15, 2013 and October 15, 2014

Orders, which ruled on defendants’ objections and broadened the scope of discovery

regarding witness payments.

       154.   At the time Conrad & Scherer, LLP represented to the United States District

Court for the District of Columbia that “the information [sought by Drummond’s subpoena to

IRAdvocates] not only could be obtained by another source previously during discovery, all

responsive, non-privileged requested documents already have been produced to Drummond by

Defendants in the underlying defamation suit and in the Balcero litigation,” it knew that

representation was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the

representation was not false, although it was incomplete if outstanding objections were

ignored. Mr. Collingsworth did not intend to mislead the Court. See supra Resp. ¶ 154.

       155.   “International Rights Advocates’ Motion to Quash Subpoena” also represented

that

              Requests 1-8 seek information about ‘any assistance,’ including ‘any
              payments’ to ‘any individual incarcerated in Colombia’ and ‘any family
              members of an individual incarcerated in Colombia.’ See Exhibit 1.
              Although irrelevant to Drummond’s libel claims, Defendants Mr.
              Collingsworth and Conrad and Scherer, LLP have already produced all
              responsive, nonprivileged documents regarding security provided to
              Drummond witnesses in the Balcero litigation.

Drummond Company, Inc. v. Terrence P. Collingsworth, et al., Case No. 2:14-mc-00621-RDP

(N.D. Ala.) Doc. 4 at 13-14. UNDISPUTED.

       156.   At the time Conrad & Scherer, LLP submitted this motion to quash on behalf of

IRAdvocates and made the representation quoted in Paragraph 155, Defendants had not




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disclosed the payments to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that, at the time of this statement, documents relating to witness

assistance payments for El Tigre, Samario, and Blanco, or their families, had not been

disclosed. But, as the motion explains, Mr. Collingsworth and Conrad & Scherer had

“already produced all responsive, nonprivileged documents regarding security provided to

Drummond witnesses in the Balcero litigation”—i.e., documents responsive to requests

served in the Balcero case that were not subject to outstanding objections. If outstanding

objections to Balcero discovery requests were ignored, the statement was incomplete. But,

it has been corrected through supplemental discovery responses in this case. Mr.

Collingsworth did not intend to mislead the Court. Furthermore, this statement preceded

the Court’s October 15, 2013 and October 15, 2014 Orders, which ruled on defendants’

objections and broadened the scope of discovery regarding witness payments.

       157.   Conrad & Scherer, LLP’s representation on August 16, 2013, that “Defendants

Mr. Collingsworth and Conrad and Scherer, LLP have already produced all responsive,

nonprivileged documents regarding security provided to Drummond witnesses in the Balcero

litigation,” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. As the motion

explains, Mr. Collingsworth and Conrad & Scherer had “already produced all responsive,

nonprivileged documents regarding security provided to Drummond witnesses in the

Balcero litigation”—i.e., documents responsive to requests served in the Balcero case that

were not subject to outstanding objections. If outstanding objections to Balcero discovery

requests were ignored, the statement was incomplete. But, it has been corrected through




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supplemental discovery responses in this case. Mr. Collingsworth did not intend to mislead

the Court. Furthermore, this statement preceded the Court’s October 15, 2013 and

October 15, 2014 Orders, which ruled on defendants’ objections and broadened the scope

of discovery regarding witness payments.

       158.   At the time Conrad & Scherer, LLP represented to the United States District

Court for the District of Columbia that “Defendants Mr. Collingsworth and Conrad and Scherer,

LLP have already produced all responsive, nonprivileged documents regarding security provided

to Drummond witnesses in the Balcero litigation,” it knew that representation was false. Doc.

174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd

Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the representation was not false,

although it was incomplete if outstanding objections were ignored. Mr. Collingsworth did

not intend to mislead the Court. See supra Resp. ¶ 157.

       159.   Request No. 30 of Drummond’s subpoena to IRAdvocates sought “[a]ny and all

documents related or referring to Llanos Oil or any of its principals, representatives, agents or

employees.” Doc. 118-3 (IRAdvocates Subpoena) at Req. No. 30. UNDISPUTED.

       160.   International Rights Advocates’ Motion to Quash Subpoena” represented that

“[a]ll responsive, non-privileged, non-work-product documents sought by this request to

IRAdvocates have already been produced by Defendant Collingsworth (IRAdvocates’ Executive

Director) in either the Balcero litigation or in the above-captioned libel case.” Drummond

Company, Inc. v. Terrence P. Collingsworth, et al., Case No. 2:14-mc-00621-RDP (N.D. Ala.)

Doc. 4 at 17. UNDISPUTED.

       161.   At the time Defendants filed this motion to quash and represented that “[a]ll

responsive, non-privileged, non-work-product documents sought by [Request No. 30] to




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IRAdvocates have already been produced by Defendant Collingsworth (IRAdvocates’ Executive

Director) in either the Balcero litigation or in the above-captioned libel case,” Defendants had

not disclosed the payments to Blanco or their emails with Albert van Bilderbeek evidencing

those payments. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8;

Doc. 174-20. UNDISPUTED that at the time this motion was filed documents reflecting

payments by Albert van Bilderbeek to Otero had not been produced, nor had emails about

those payments been produced. As the motion explains, however, “[a]ll responsive, non-

privileged, non-work-product documents sought by this request to IRAdvocates have

already been produced by Defendant Collingsworth (IRAdvocates’ Executive Director) in

either the Balcero litigation or in the above-captioned libel case”—i.e., documents

responsive to requests served on Mr. Collingsworth in his capacity as a defendant in the

libel case or as counsel in the Balcero case that were not subject to outstanding objections.

Furthermore, this statement preceded the Court’s October 15, 2013 and October 15, 2014

Orders, which ruled on defendants’ objections and broadened the scope of discovery

regarding witness payments. In retrospect, and ignoring outstanding objections, to the

extent the statement was incomplete or did not adequately explain the context, it has been

supplemented in later filings in this case, as described elsewhere in these responses to

Drummond’s proposed findings of fact. Mr. Collingsworth did not intend to mislead the

Court.

         162.   Defendants’ representation on August 16, 2013, that “[a]ll responsive, non-

privileged, non-work-product documents sought by [Request No. 30] to IRAdvocates have

already been produced by Defendant Collingsworth (IRAdvocates’ Executive Director) in either

the Balcero litigation or in the above-captioned libel case” was false. Doc. 174-2 (Defs’ 2nd Am.




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Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. As the motion

explains, however, “[a]ll responsive, non-privileged, non-work-product documents sought

by this request to IRAdvocates have already been produced by Defendant Collingsworth

(IRAdvocates’ Executive Director) in either the Balcero litigation or in the above-captioned

libel case”—i.e., documents responsive to requests served on Mr. Collingsworth in his

capacity as a defendant in the libel case or as counsel in the Balcero case that were not

subject to outstanding objections. Furthermore, this statement preceded the Court’s

October 15, 2013 and October 15, 2014 Orders, which ruled on defendants’ objections and

broadened the scope of discovery regarding witness payments. In retrospect, and ignoring

outstanding objections, to the extent the statement was incomplete or did not adequately

explain the context, it has been supplemented in later filings in this case, as described

elsewhere in these responses to Drummond’s proposed findings of fact. Mr. Collingsworth

did not intend to mislead the Court.

       163.    At the time Defendants represented to the United States District Court for the

District of Columbia that “[a]ll responsive, non-privileged, non-work-product documents sought

by [Request No. 30] to IRAdvocates have already been produced by Defendant Collingsworth

(IRAdvocates’ Executive Director) in either the Balcero litigation or in the above-captioned libel

case” they knew that representation was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the statement was not false. In

retrospect, and ignoring outstanding objections, to the extent the statement was incomplete

or did not adequately explain the context, it has been supplemented in later filings in this

case, as described elsewhere in these responses to Drummond’s proposed findings of fact.

Mr. Collingsworth did not intend to mislead the Court.




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       164.   On October 24, 2013, Mr. Collingsworth signed “Defendants’ and Third-Party

International Rights Advocates’ Supplemental Brief in Further Support of Motion to Quash

Subpoena and/or Motion for Protective Order.”           Drummond Company, Inc. v. Terrence P.

Collingsworth, et al., 2:14-mc-00621-RDP, Doc. 14 (Defs’ Oct. 24, 2013 Supp. Br.).

UNDISPUTED.

       165.   This Supplemental Brief was signed by Mr. Collingsworth as a partner of Conrad

& Scherer, LLP, and was filed on behalf of Mr. Collingsworth and Conrad & Scherer, LLP. Id.

DISPUTED as it does not indicate the capacity in which Mr. Collingsworth signed it, and

disputed because it suggests Mr. Collingsworth signed the brief on behalf of himself and

Conrad & Scherer, which he did not.

       166.   In that filing, Defendants represented:

       [S]ince 2008 Conrad & Scherer and IRAdvocates files have overlapped for the
       purpose of the Drummond Litigation. The files for both entities were searched
       and responsive documents were produced. On the documents produced, it will
       be clear from which entity the document originated. As to the logged
       documents, the files for both entities were researched and all responsive and
       privileged documents from both entities were logged.

Id. at 1 (emphasis in original). UNDISPUTED that defendants quoted this language, which is

from a letter sent by defendants’ counsel to Drummond relating to discovery issues in libel

case. See Drummond Company, Inc. v. Terrence P. Collingsworth, et al., 2:14-mc-00621-

RDP, Doc. 13-1 (Oct. 18, 2013Decl. of Terry Collingsworth in Support of Defs.’ Reply to

Mot. Quash) (explaining that the letter quoted above is from “counsel for Defendants, to

counsel for Drummond conveying Defendants’ privilege log and, once again, attempting to

resolve the outstanding discovery issues that substantially overlap with the issues raised by

Drummond’s subpoena to IRAdvocates in this matter”).




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       167.   At the time Defendants made this representation, none of the documents reflecting

payments to El Tigre, Samario, or Blanco had been produced or logged. UNDISPUTED that

witness assistance payments to Blanco or to the families of El Tigre and Samario has not

been produced or logged.

       168.   Defendants’ October 24, 2013 representation in connection with the IRAdvocates

subpoena that all documents responsive to the subpoena had already been either produced or

logged was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. The language

quoted above from defense counsel’s letter did not state that “documents responsive to the

subpoena” had already been produced or logged. Instead, counsel’s letter was explaining

that IRAdvocates’ files were searched in for purposes of responding to discovery requests

in the libel case. And, as explained above, all responsive, non-privileged, non-work-product

documents had been produced in the libel case. Furthermore, counsel’s letter was dated

October 2, 2013, and, therefore, it preceded the Court’s October 15, 2013 and October 15,

2014 Orders, which ruled on defendants’ objections and broadened the scope of discovery

regarding witness payments.

       169.   At the time Defendants made this representation, they knew it was false. Doc.

174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd

Irogs, No. 2) at pp. 4-8; Doc. 174-20. Disputed because counsel’s statement was not false. In

retrospect, and ignoring outstanding objections, to the extent the statement was incomplete

or did not adequately explain the context, it has been supplemented in later filings in this

case, as described elsewhere in these responses to Drummond’s proposed findings of fact.

Mr. Collingsworth did not intend to mislead the Court.




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       170.   On or about April 4, 2014, the miscellaneous proceeding arising out of

Drummond’s subpoena to IRAdvocates was transferred to this Court pursuant to Fed. R. Civ. P.

45, where it remains pending. See Drummond Company, Inc. v. Terrence P. Collingsworth, et

al., 2:14-mc-00641-RDP (N.D. Ala.). UNDISPUTED.

       Subpoena to Daniel Kovalik

       171.   On July 22, 2013, Drummond served Daniel Kovalik with a subpoena

commanding the production of documents and things. Doc. 1-1 in Drummond Company, Inc. v.

Terrence P. Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.) (Drummond’s Subpoena to

Daniel Kovalik); Ex. 10 (Kovalik Proof of Service). UNDISPUTED.

       172.   Drummond’s subpoena to Daniel Kovalik sought “[a]ny and all documents related

or referring to payments to individuals incarcerated in Colombia, including but not limited

to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El Tigre]…[and] Alcides Manuel

Mattos Tabares [Samario].”      Doc. 1-1 in Drummond Company, Inc. v. Terrence P.

Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.) (Drummond’s Subpoena to Daniel

Kovalik) at Req. No. 13 (emphasis added). UNDISPUTED.

       173.   Drummond’s subpoena to Daniel Kovalik also sought “[a]ny and all documents

related or referring to payments to any family members of any individuals incarcerated in

Colombia, including but not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El

Tigre]…[and] Alcides Manuel Mattos Tabares [Samario].” Doc. 1-1 in Drummond Company,

Inc. v. Terrence P. Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.) (Drummond’s

Subpoena to Daniel Kovalik) at Req. No. 14 (emphasis added). UNDISPUTED.

       174.   Drummond’s subpoena to Daniel Kovalik also sought “[a]ny and all documents

related or referring to requests for payment or any form of assistance (whether monetary or




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nonmonetary in nature) by any individual incarcerated in Colombia… including but not limited

to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El Tigre]…[and] Alcides Manuel

Mattos Tabares [Samario].”      Doc. 1-1 in Drummond Company, Inc. v. Terrence P.

Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.) (Drummond’s Subpoena to Daniel

Kovalik) at Req. No. 11 (emphasis added). UNDISPUTED.

       175.   Drummond’s subpoena to Daniel Kovalik also sought “[a]ny and all documents

related or referring to requests for payment or any form of assistance (whether monetary or

nonmonetary in nature) by any family member of any individual incarcerated in Colombia…

including but not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El

Tigre]…[and] Alcides Manuel Mattos Tabares [Samario].” Doc. 1-1 in Drummond Company,

Inc. v. Terrence P. Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.) (Drummond’s

Subpoena to Daniel Kovalik) at Req. No. 12 (emphasis added). UNDISPUTED, although

misquotes the request, which states “referring to requests for payment or other assistance.”

       176.   On August 22, 2013, Defendants filed a “Motion for Protective Order and/or

Motion to Quash Subpoena to Daniel M. Kovalik” in the United States District Court for the

Western District of Pennsylvania.     Doc. 1 in Drummond Company, Inc. v. Terrence P.

Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.). UNDISPUTED.

       177.   On August 19, 2013, Mr. Collingsworth signed a declaration under penalty of

perjury in support of “Defendants’ Motion for Protective Order and/or Motion to Quash

Subpoena to Daniel M. Kovalik.”         Doc. 101-4 (Aug. 19, 2013 Collingsworth Decl.).

UNDISPUTED.

       178.   In Paragraph 10 of his August 19, 2013 declaration, Mr. Collingsworth testified as

follows:




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              I have reviewed the subpoenas Drummond has caused to be issued to
              Daniel Kovalik, and the proposed subpoenas contained in the notice of
              intent to serve Francisco Ramirez Cuellar, Rebecca L. Pendleton, Lorraine
              M. Leete, Charity S. Ryerson, and Susana Tellez. They are essentially
              identical, and the document requests contained in these subpoenas have
              either already been served on me in my capacity as counsel in the Balcero
              case or as a Defendant in the underlying libel case. Moreover, in my
              capacity as Defendant in the libel action and as counsel in the Balcero
              litigation, I provided all responsive, non-privileged, and relevant
              documents in my custody, possession or control, and I interpreted my
              obligation to produce documents as including documents in the custody,
              possession or control of those who work with me on a case. Thus, the
              subpoenas to Daniel Kovalik, Francisco Ramirez Cuellar, Rebecca L.
              Pendleton, Lorraine M. Leete, Charity S. Ryerson, and Susana Tellez are
              duplicative of requests already made to me as a defendant in the libel
              action, and/or duplicative of requests that were made to Plaintiffs in the
              Balcero action. Given the duplicative nature of the requests, and that they
              were served on individuals that Drummond knows are part of my current
              or former legal teams, they are designed to harass and create an undue
              burden for Daniel Kovalik, Francisco Ramirez Cuellar, Rebecca L.
              Pendleton, Lorraine M. Leete, Charity S. Ryerson, and Susana Tellez.

Doc. 101-4 (Aug. 19, 2013 Collingsworth Decl.) at ¶ 10. UNDISPUTED.

       179.   At the time Mr. Collingsworth submitted this declaration testifying that

Defendants had “provided all responsive, non-privileged, and relevant documents in my custody,

possession or control, and I interpreted my obligation to produce documents as including

documents in the custody, possession or control of those who work with me on a case”

responsive to the subpoena requests, Defendants had not produced any documents disclosing the

payments to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

UNDISPUTED that, at the time of this response, documents relating to witness assistance

payments for El Tigre, Samario, and Blanco, or their families, had not been disclosed. But,

as Mr. Collingsworth explained in his declaration, he, in his “capacity as Defendant in the

libel action and as counsel in the Balcero litigation, [had] provided all responsive, non-




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privileged, and relevant documents in [his] custody, possession or control”—i.e., documents

responsive to requests served on Mr. Collingsworth in his capacity as a defendant in the

libel case or as counsel in the Balcero case that were not subject to outstanding objections.

If outstanding objections to discovery requests were ignored, the statement was incomplete.

But, it has been corrected through supplemental discovery responses in this case. Mr.

Collingsworth did not intend to mislead the Court. Furthermore, this statement preceded

the Court’s October 15, 2013 and October 15, 2014 Orders, which ruled on defendants’

objections and broadened the scope of discovery regarding witness payments.

       180.   Mr. Collingsworth’s testimony in Paragraph 10 of his August 19, 2013

declaration that Defendants had “provided all responsive, non-privileged, and relevant

documents in my custody, possession or control, and I interpreted my obligation to produce

documents as including documents in the custody, possession or control of those who work with

me on a case” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as

mischaracterizes testimony, which did not state that “Defendants” provided responsive

documents. As explained in his declaration, Mr. Collingsworth had produced “all

responsive, non-privileged, and relevant documents in my custody, possession or control”

that were served on him as a defendant in the libel action and as counsel in the Balcero

litigation. And, if outstanding objections to discovery requests were ignored, the statement

was incomplete. But, it has been corrected through supplemental discovery responses in

this case. Mr. Collingsworth did not intend to mislead the Court.

       181.   At the time Mr. Collingsworth signed this August 19, 2013 declaration, he knew

this testimony in Paragraph 10 was false. Doc. 174-8 (El Tigre and Samario payments); Doc.




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174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because the representation was not false, although it was incomplete if

outstanding objections were ignored. Mr. Collingsworth did not intend to mislead the

Court. See supra Resp. ¶ 181.

        182.   In Paragraph 19 of Mr. Collingsworth August 19, 2013 declaration, he testified

that:

               I have reviewed our responses on behalf of Plaintiffs in the Balcero
               litigation to document requests served on them by Drummond, as well as
               my responses as a defendant in the libel action brought against me by
               Drummond, and we have produced all responsive non-privileged
               documents to Drummond in those cases. I have never taken the position in
               the course of litigating the Balcero case or the libel litigation that
               documents within IRAdvocates’ electronic or hard copy files were not
               within my possession, custody or control for the purpose of discovery. As
               Drummond’s document requests to IRAdvocates are virtually identical to
               requests already made to the Balcero Plaintiffs and/or to me in the libel
               case, I can say that any non-privileged documents that are responsive to
               the requests to IRAdvocates have already been produced.

Doc. 101-4 (Aug. 19, 2013 Collingsworth Decl.) at ¶ 19. DISPUTED because this paragraph

was clearly inadvertently copied from Mr. Collingsworth’s August 16, 2013 declaration

submitted in support of his motion to quash Drummond’s subpoena to IRAdvocates, and

was not a new, separate submission. Cf. Doc. 101-5, ¶ 23.

        183.   At the time Mr. Collingsworth signed this August 19, 2013 declaration testifying

that Defendants had “reviewed our responses on behalf of Plaintiffs in the Balcero litigation to

document requests served on them by Drummond, as well as my responses as a defendant in the

libel action brought against me by Drummond, and we have produced all responsive non-

privileged documents to Drummond in those cases,” Defendants had not disclosed the payments

to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because


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this paragraph was clearly inadvertently copied from Mr. Collingsworth’s August 16, 2013

declaration submitted in support of his motion to quash Drummond’s subpoena to

IRAdvocates, and was not a new, separate submission. Cf. Doc. 101-5, ¶ 23. For Mr.

Collingsworth’s substantive response to Drummond’s accusations regarding paragraph 23,

see supra, Response ¶ 146.

      184.   Mr. Collingsworth’s testimony in Paragraph 19 of his August 19, 2013

declaration that Defendants had “produced all responsive non-privileged documents to

Drummond” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because this

paragraph was clearly inadvertently copied from Mr. Collingsworth’s August 16, 2013

declaration submitted in support of his motion to quash Drummond’s subpoena to

IRAdvocates, and was not a new, separate submission. Cf. Doc. 101-5, ¶ 23. For Mr.

Collingsworth’s substantive response to Drummond’s accusations regarding paragraph 23,

see supra, Response ¶ 147.

      185.   At the time Mr. Collingsworth signed this August 19, 2013 declaration, he knew

this testimony in Paragraph 19 was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because this paragraph was clearly inadvertently copied from Mr.

Collingsworth’s August 16, 2013 declaration submitted in support of his motion to quash

Drummond’s subpoena to IRAdvocates, and was not a new, separate submission. Cf. Doc.

101-5, ¶ 23. For Mr. Collingsworth’s substantive response to Drummond’s accusations

regarding paragraph 23, see supra, Response ¶ 148.




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       186.    On November 5, 2013, Mr. Collingsworth signed a declaration under penalty of

perjury which was submitted in support of the Defendants’ reply brief in support of their motion

to quash Drummond’s subpoena to Daniel Kovalik. Drummond Company, Inc. v. Terrence P.

Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.) Doc. 12-1 (Nov. 5, 2013 Collingsworth

Decl.). UNDISPUTED.

       187.    In Paragraph 9 of Mr. Collingsworth’s November 5, 2013 declaration, he testified:

“the sole promise I made to any witness in Balcero was that if they testified and they or a family

member received a credible death threat, we would do whatever we could to provide security or

to provide a safe haven until such time as the danger had subsided.” Drummond Company, Inc.

v. Terrence P. Collingsworth, et al., 2:14-mc-00681-RDP (N.D. Ala.) Doc. 12-1 (Nov. 5, 2013

Collingsworth Decl.) at ¶ 9. UNDISPUTED.

       188.     At the time Mr. Collingsworth submitted this declaration, he had already offered,

facilitated and confirmed at least three payments to Jaime Blanco from Albert van Bilderbeek

that had nothing to do with security. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6. Further DISPUTED

because the phrase “security” is ambiguous.

       189.    Mr. Collingsworth’s testimony regarding the “sole promise” he made to “any

witness in the Balcero case” is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20.          DISPUTED to the extent it conflicts with Mr.

Collingsworth’s explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       190.    At the time Defendants offered Mr. Collingsworth’s testimony regarding the “sole

promise” he made to “any witness in the Balcero case,” they knew it was false. Doc. 174-2




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(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to

the extent it conflicts with Mr. Collingsworth’s explanation of his involvement with Blanco.

See Doc. 174-2, at 4-6.

       191.   On or about April 14, 2014, the miscellaneous proceeding arising out of

Drummond’s subpoena to Daniel Kovalik was transferred to this Court pursuant to Fed. R. Civ.

P. 45, where it remains pending. See Drummond Company, Inc. v. Terrence P. Collingsworth, et

al., 2:14-mc-00681-RDP (N.D. Ala.). UNDISPUTED.

       Subpoena to Parker Waichman, LLP

       192.   The request by Jaime Blanco for payment of his criminal legal fees, and the actual

payments made to El Tigre and Samario, are all discussed in emails between Defendants and

lawyers from Parker Waichman, LLP.        See Doc. 104 at 8-10; Doc. 101-15; Doc. 174-6.

UNDISPUTED that Blanco’s request for assistance regarding his payment of criminal legal

fees are discussed in emails between Defendants and lawyers from Parker Waichman, LLP.

DISPUTED because there are no emails discussing payments “to” El Tigre and Samario.

Defendants object to Drummond’s use of privileged documents inadvertently produced by

Parker Waichman that are subject to a clawback order from this Court.

       193.   On July 25, 2013, Drummond served a subpoena on Parker Waichman, LLP

commanding the production of documents and things. Doc. 101-7 (Drummond’s Subpoena to

Parker Waichman, LLP); Ex. 11 (Parker Waichman, LLP Proof of Service). UNDISPUTED.

       194.   Drummond’s subpoena to Parker Waichman, LLP sought “[a]ny and all

documents related or referring to payments to individuals incarcerated in Colombia, including

but not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El Tigre]…[and]




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Alcides Manuel Mattos Tabares [Samario].” Doc. 101-7 (Drummond’s Subpoena to Parker

Waichman, LLP) at Req. No. 5 (emphasis added). UNDISPUTED.

       195.   Drummond’s subpoena to Parker Waichman, LLP also sought “[a]ny and all

documents related or referring to payments to any family members of an individual incarcerated

in Colombia, including but not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado

[El Tigre]…[and] Alcides Manuel Mattos Tabares [Samario].”         Doc. 101-7 (Drummond’s

Subpoena to Parker Waichman, LLP) at Req. No. 6 (emphasis added). UNDISPUTED.

       196.   Drummond’s subpoena to Parker Waichman, LLP also sought “[a]ny and all

documents related or referring to requests for payment or any form of assistance (whether

monetary or nonmonetary in nature) by any individual incarcerated in Colombia… including but

not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado [El Tigre]…[and] Alcides

Manuel Mattos Tabares [Samario].” Doc. 101-7 (Drummond’s Subpoena to Parker Waichman,

LLP) at Req. No. 1 (emphasis added). UNDISPUTED.

       197.   Drummond’s subpoena to Parker Waichman, LLP sought “[a]ny and all

documents related or referring to requests for payment or any form of assistance (whether

monetary or nonmonetary in nature) by any family member of any individual incarcerated in

Colombia… including but not limited to…Jaime Blanco Maya…Jhon Jairo Esquivel Cuadrado

[El Tigre]…[and] Alcides Manuel Mattos Tabares [Samario].”         Doc. 101-7 (Drummond’s

Subpoena to Parker Waichman, LLP) at Req. No. 2 (emphasis added). UNDISPUTED.

       198.   On August 8, 2013, Defendants served objections to Drummond’s subpoena to

Parker Waichman, LLP. Ex. 12 (Defs’ Aug. 8, 2013 Objections). UNDISPUTED that counsel

for defendants served and signed objections to Drummond’s subpoena to Parker

Waichman.




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       199.   In their August 8, 2013 objections, Defendants cited Mr. Collingsworth’s sworn

July 31, 2013 declaration and represented that “[a]ll of the document requests contained in this

subpoena have either already been served on Mr. Collingsworth in his capacity as counsel in the

Balcero case or as a Defendant in the underlying libel case in which he is a party. Any

responsive documents in PWA’s possession, custody, or control have already been produced in

the Balcero action. Collingsworth Decl. ¶ 4.” Ex. 12 (Defs’ Aug. 8, 2013 Objections) at General

Objection No. 2; Ex. 13 (July 31, 2013 Collingsworth Decl.). UNDISPUTED that counsel for

defendants    cited   Mr.   Collingsworth’s     declaration,   but   DISPUTED       that   Mr.

Collingsworth’s declaration said “[a]ny responsive documents in PWA’s possession,

custody, or control have already been produced in the Balcero action.” Cf. Ex. 13, ¶¶ 4-5.

       200.   At the time Defendants served these objections and represented that “[a]ny

responsive documents in PWA’s possession, custody, or control have already been produced in

the Balcero action. Collingsworth Decl. ¶ 4,” Defendants had not disclosed the payments to

Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because

“Defendants” did not make this representation.

       201.   Defendants’ August 8, 2013 representation that “[a]ny responsive documents in

PWA’s possession, custody, or control have already been produced in the Balcero action” was

false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because “Defendants” did

not make this representation.

       202.   At the time Defendants made this representation, they knew it was false. Doc.

174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd




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Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because “Defendants” did not make this

representation.

       203.    On August 19, 2013, Mr. Collingsworth submitted a declaration signed under

penalty of perjury in support of “Defendants’ Memorandum of Points and Authorities in Support

of Defendants’ Motion for Protective Order and/or Motion to Quash Subpoena to Parker

Waichman, LLP.” Doc. 101-3 (Aug. 19, 2013 Collingsworth Decl.). UNDISPUTED.

       204.    In Paragraph 5 of Mr. Collingsworth’s August 19, 2013, declaration, Mr.

Collingsworth testified that:

               I have reviewed the subpoenas Drummond has caused to be issued to
               IRAdvocates, ILRF, and Parker Waichman. They are essentially identical,
               and the document requests contained in the three subpoenas have either
               already been served on me in my capacity as counsel in the Balcero case
               or as a Defendant in the underlying libel case. Moreover, in my capacity
               as Defendant in the libel action and as counsel in the Balcero litigation, I
               provided all responsive, non-privileged documents in my custody,
               possession or control, including those in the files of IRAdvocates. The
               subpoenas to IRAdvocates, ILRF, and Parker Waichman are duplicative of
               requests already made to me as a defendant in the libel action, and/or
               duplicative of requests to Plaintiffs in the Balcero action. Given the
               duplicative nature of the requests, they are designed to harass and create
               an undue burden for IRAdvocates, ILRF, Parker Waichman, and me
               personally.

Doc. 101-3 (Aug. 19, 2013 Collingsworth Decl.) ¶ 5. UNDISPUTED.

       205.    At the time Mr. Collingsworth submitted this declaration testifying that

Defendants had “provided all responsive, non-privileged documents in my custody, possession

or control, including those in the files of IRAdvocates” responsive to the subpoena’s requests,

Defendants had not disclosed the payments to Blanco, El Tigre or Samario. Doc. 174-8 (El

Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. UNDISPUTED that, at the time of this response, documents relating

to witness assistance payments for El Tigre, Samario, and Blanco, or their families, had not



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been disclosed. But, as Mr. Collingsworth explained in his declaration, he had produced

“all responsive, non-privileged documents in my custody, possession or control”—i.e.,

documents responsive to requests served on Mr. Collingsworth in his capacity as a

defendant in the libel case or as counsel in the Balcero case that were not subject to

outstanding objections. If outstanding objections to discovery requests were ignored, the

statement was incomplete. But, it has been corrected through supplemental discovery

responses in this case. Mr. Collingsworth did not intend to mislead the Court.

Furthermore, this statement preceded the Court’s October 15, 2013 and October 15, 2014

Orders, which ruled on defendants’ objections and broadened the scope of discovery

regarding witness payments.

       206.   Mr. Collingsworth’s testimony in Paragraph 5 of his August 19, 2013 declaration

that Defendants had “provided all responsive, non-privileged documents in my custody,

possession or control, including those in the files of IRAdvocates” was false. Doc. 174-8 (El

Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. DISPUTED. As Mr. Collingsworth explained in his declaration, he

had produced “all responsive, non-privileged documents in my custody, possession or

control”—i.e., documents responsive to requests served on Mr. Collingsworth in his

capacity as a defendant in the libel case or as counsel in the Balcero case that were not

subject to outstanding objections. If outstanding objections to discovery requests were

ignored, the statement was incomplete. But, it has been corrected through supplemental

discovery responses in this case. Mr. Collingsworth did not intend to mislead the Court.

Furthermore, this statement preceded the Court’s October 15, 2013 and October 15, 2014




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Orders, which ruled on defendants’ objections and broadened the scope of discovery

regarding witness payments.

        207.   At the time Mr. Collingsworth signed this August 19, 2013 declaration, he knew

this testimony in Paragraph 5 was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because the representation was not false, although it was incomplete if

outstanding objections were ignored. Mr. Collingsworth did not intend to mislead the

Court. See supra Resp. ¶ 206.

        208.   In Paragraph 20 of Mr. Collingsworth August 19, 2013 declaration, he testified

that:

               I have reviewed our responses on behalf of Plaintiffs in the Balcero
               litigation to document requests served on them by Drummond, as well as
               my responses as a defendant in the libel action brought against me by
               Drummond, and we have produced all responsive non-privileged
               documents to Drummond in those cases. I have never taken the position in
               the course of litigating the Balcero case or the libel litigation that
               documents within IRAdvocates’ electronic or hard copy files were not
               within my possession, custody or control for the purpose of discovery. As
               Drummond’s document requests to IRAdvocates are virtually identical to
               requests already made to the Balcero Plaintiffs and/or to me in the libel
               case. I can say that any non-privileged documents that are responsive to
               the requests to IRAdvocates have already been produced.

Doc. 101-3 (Aug. 19, 2013 Collingsworth Decl.) ¶ 20. DISPUTED because this paragraph

was clearly inadvertently copied from Mr. Collingsworth’s August 16, 2013 declaration

submitted in support of his motion to quash Drummond’s subpoena to IRAdvocates, and

was not a new, separate submission. Cf. Doc. 101-5, ¶ 23; see supra Resp. ¶ 182.

        209.   At the time Mr. Collingsworth signed this declaration and testified that

Defendants had “reviewed our responses on behalf of Plaintiffs in the Balcero litigation to

document requests served on them by Drummond, as well as my responses as a defendant in the


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libel action brought against me by Drummond, and we have produced all responsive non-

privileged documents to Drummond in those cases,” Defendants had not disclosed the payments

to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because

this paragraph was clearly inadvertently copied from Mr. Collingsworth’s August 16, 2013

declaration submitted in support of his motion to quash Drummond’s subpoena to

IRAdvocates, and was not a new, separate submission. Cf. Doc. 101-5, ¶ 23; see supra Resp.

¶ 183. For Mr. Collingsworth’s substantive response to Drummond’s accusations regarding

paragraph 20, see supra, Response ¶ 146.

       210.   Mr. Collingsworth’s testimony in Paragraph 20 of his August 19, 2013

declaration that Defendants had “produced all responsive non-privileged documents to

Drummond” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because this

paragraph was clearly inadvertently copied from Mr. Collingsworth’s August 16, 2013

declaration submitted in support of his motion to quash Drummond’s subpoena to

IRAdvocates, and was not a new, separate submission. Cf. Doc. 101-5, ¶ 23; see supra REsp.

¶ 184. For Mr. Collingsworth’s substantive response to Drummond’s accusations regarding

paragraph 20, see supra, Response ¶ 147.

       211.   At the time Mr. Collingsworth signed this August 19, 2013 declaration, he knew

this testimony in Paragraph 20 was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because this paragraph was clearly inadvertently copied from Mr.

Collingsworth’s August 16, 2013 declaration submitted in support of his motion to quash




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Drummond’s subpoena to IRAdvocates, and was not a new, separate submission. Cf. Doc.

101-5, ¶ 23; see supra Resp. ¶ 185. For Mr. Collingsworth’s substantive response to

Drummond’s accusations regarding paragraph 20, see supra, Response ¶ 148.

       212.   On August 23, 2013, Defendants filed a “Memorandum of Points and Authorities

in Support of Defendants’ Motion for Protective Order and/or Motion to Quash Subpoena to

Parker Waichman, LLP” in the United States District Court for the Eastern District of New York.

Ex. 14 (Defs’ Mtn to Quash Drummond’s Subpoena to Parker Waichman, LLP).

UNDISPUTED.

       213.   Defendants’ “Memorandum of Points and Authorities in Support of Defendants’

Motion for Protective Order and/or Motion to Quash Subpoena to Parker Waichman, LLP”

sought sanctions against Drummond for issuing the subpoena, stating “[s]anctions should be

awarded based on Drummond’s blatant disregard for its duties and responsibilities concerning its

subpoena power with regard to third-parties.” Ex. 14 (Defs’ Mtn to Quash Drummond’s

Subpoena to Parker Waichman, LLP) at 17. UNDISPUTED.

       214.   Defendants represented that “the information [sought by Drummond’s subpoena

to Parker Waichman, LLP] not only could be obtained by another source previously during

discovery, all responsive, non-privileged requested documents already have been produced to

Drummond by Defendants in the underlying defamation suit and in the Balcero litigation.” Ex.

14 (Defs’ Mtn to Quash Drummond’s Subpoena to Parker Waichman, LLP) at 9 (emphasis in

original). UNDISPUTED.

       215.   At the time Defendants submitted this motion to quash and represented that “the

information [sought by Drummond’s subpoena to Parker Waichman, LLP] not only could be

obtained by another source previously during discovery, all responsive, non-privileged requested




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documents already have been produced to Drummond by Defendants in the underlying

defamation suit and in the Balcero litigation,” Defendants had not disclosed the payments to

Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that, at

the time of this statement, documents relating to witness assistance payments for El Tigre,

Samario, and Blanco, or their families, had not been disclosed. But, “all responsive, non-

privileged requested documents” had been “produced to Drummond by Defendants in the

underlying defamation suit and in the Balcero litigation”—i.e., documents responsive to

requests served on Mr. Collingsworth in his capacity as a defendant in the libel case or as

counsel in the Balcero case that were not subject to outstanding objections. If outstanding

objections to discovery requests were ignored, the statement was incomplete. But, it has

been corrected through supplemental discovery responses in this case. Mr. Collingsworth

did not intend to mislead the Court. Furthermore, this statement preceded the Court’s

October 15, 2013 and October 15, 2014 Orders, which ruled on defendants’ objections and

broadened the scope of discovery regarding witness payments.

       216.   Defendants’ representation on August 23, 2013 that “the information [sought by

Drummond’s subpoena to Parker Waichman, LLP] not only could be obtained by another source

previously during discovery, all responsive, non-privileged requested documents already have

been produced to Drummond by Defendants in the underlying defamation suit and in the Balcero

litigation” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. As explained in

the motion, “all responsive, non-privileged requested documents” had been “produced to

Drummond by Defendants in the underlying defamation suit and in the Balcero




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litigation”—i.e., documents responsive to requests served on Mr. Collingsworth in his

capacity as a defendant in the libel case or as counsel in the Balcero case that were not

subject to outstanding objections. If outstanding objections to discovery requests were

ignored, the statement was incomplete. But, it has been corrected through supplemental

discovery responses in this case. Mr. Collingsworth did not intend to mislead the Court.

Furthermore, this statement preceded the Court’s October 15, 2013 and October 15, 2014

Orders, which ruled on defendants’ objections and broadened the scope of discovery

regarding witness payments.

       217.   At the time Defendants represented to the United States District Court for the

Eastern District of New York that “the information [sought by Drummond’s subpoena to Parker

Waichman, LLP] not only could be obtained by another source previously during discovery, all

responsive, non-privileged requested documents already have been produced to Drummond by

Defendants in the underlying defamation suit and in the Balcero litigation,” they knew that

representation was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the

representation was not false, although it was incomplete if outstanding objections were

ignored. Mr. Collingsworth did not intend to mislead the Court. See supra Resp. ¶ 216.

       218.   Defendants also represented that “Requests 1-8 seek information about ‘any

assistance,’ including ‘any payments’ to ‘any individual incarcerated in Colombia’ and ‘any

family members of an individual incarcerated in Colombia.’ . . . Defendants have already

produced all responsive, nonprivileged documents regarding security provided to Drummond

witnesses in the Balcero litigation.” Ex. 14 (Defs’ Mtn to Quash Drummond’s Subpoena to

Parker Waichman, LLP) at 14-15. UNDISPUTED, although it misquotes the statements made




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on these pages, which accurately state: “Requests 1-8 seek information about ‘any form of

assistance’ to any individual or any family members of an individual ‘incarcerated in

Colombia’ and any individual or family members of an individual with ‘any connection to

Colombian paramilitaries. . . .’”

       219.   At the time Defendants submitted this motion to quash and represented that

“Defendants have already produced all responsive, nonprivileged documents regarding security

provided to Drummond witnesses in the Balcero litigation,” Defendants had not disclosed the

payments to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

UNDISPUTED that, at the time of this statement, documents relating to witness assistance

payments for El Tigre, Samario, and Blanco, or their families, had not been disclosed. But,

as the motion explains, Defendants had “already produced all responsive, nonprivileged

documents regarding security provided to Drummond witnesses in the Balcero

litigation”—i.e., documents responsive to requests served in the Balcero case that were not

subject to outstanding objections. If outstanding objections to Balcero discovery requests

were ignored, the statement was incomplete. But, it has been corrected through

supplemental discovery responses in this case. Mr. Collingsworth did not intend to mislead

the Court. Furthermore, this statement preceded the Court’s October 15, 2013 and

October 15, 2014 Orders, which ruled on defendants’ objections and broadened the scope

of discovery regarding witness payments.

       220.   Defendants’ representation on August 23, 2013, that they “have already produced

all responsive, nonprivileged documents regarding security provided to Drummond witnesses in

the Balcero litigation” was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2




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(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. As

the motion explains, Defendants had “already produced all responsive, non-privileged

documents regarding security provided to Drummond witnesses in the Balcero

litigation”—i.e., documents responsive to requests served in the Balcero case that were not

subject to outstanding objections. If outstanding objections to Balcero discovery requests

were ignored, the statement was incomplete. But, it has been corrected through

supplemental discovery responses in this case. Mr. Collingsworth did not intend to mislead

the Court. Furthermore, this statement preceded the Court’s October 15, 2013 and

October 15, 2014 Orders, which ruled on defendants’ objections and broadened the scope

of discovery regarding witness payments.

       221.   At the time Defendants represented to the United States District Court for the

Eastern District of New York that “Defendants have already produced all responsive,

nonprivileged documents regarding security provided to Drummond witnesses in the Balcero

litigation” they knew that representation was false.      Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. DISPUTED because the representation was not false, although it was incomplete if

outstanding objections were ignored. Mr. Collingsworth did not intend to mislead the

Court. See supra Resp. ¶ 220.

       222.   On October 30, 2013, Mr. Collingsworth signed a declaration under penalty of

perjury which was submitted in support of the Defendants’ reply brief in support of their motion

to quash Drummond’s subpoena to Parker Waichman, LLP.                 Ex. 15 (Oct. 30, 2013

Collingsworth Decl.). UNDISPUTED.




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       223.    In Paragraph 10 of Mr. Collingsworth’s October 30, 2013 declaration, he testified:

“the sole promise I made to any witness in Balcero was that if they testified and they or a family

member received a credible death threat, we would do whatever we could to provide security or

to provide a safe haven until such time as the danger had subsided.” Ex. 15 (Oct. 30, 2013

Collingsworth Decl.) at ¶ 10. UNDISPUTED.

       224.     At the time Mr. Collingsworth submitted this declaration, he had already offered,

facilitated and confirmed at least three payments to Jaime Blanco from Albert van Bilderbeek

that had nothing to do with security. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       225.    Mr. Collingsworth’s testimony regarding the “sole promise” he made to “any

witness in the Balcero case” is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       226.    Mr. Collingsworth knew this testimony in Paragraph 10 was false when he signed

his October 30, 2013 declaration. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       227.    At the time Defendants offered Mr. Collingsworth’s testimony regarding the “sole

promise” he made to “any witness in the Balcero case,” they knew it was false. Doc. 174-2

(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as

the testimony is not false. See supra Resp. ¶ 225. Further DISPUTED because it fails to

show that Conrad & Scherer knew it was false.




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       October 2013 Motion to Compel Hearing

       228.   On October 10, 2013, this Court held a hearing on Drummond’s motion to compel

(Doc. 43). Doc. 63 (Oct. 10, 2013 Hrg. Tr.). UNDISPUTED that the Court held a hearing on

Drummond’s motion to compel and on defendants’ motion to compel.

       229.   At the October 10, 2013 hearing, the following exchange occurred between

Defendants’ counsel and Judge Proctor:

              THE COURT: Why wouldn’t – if there’s allegations or at least there’s
              colorable allegations that your client participated in making security
              payments to witnesses, and those witnesses, after receiving the payments,
              changed their testimony in some form or fashion, why wouldn’t that be
              discoverable in a defamation action where your client is accused of falsely
              stating that Drummond engaged in these criminal violations in three
              different letters?

              MR. SMITH: The question is are the security payments information
              discoverable?

              THE COURT: Yeah, discoverable in the defamation action.

              MR. SMITH: Your Honor, we think they are, and we have produced
              responsive documents. With exception of one that is on our Privilege Log,
              we have produced all responsive documents.

Doc. 63 (Oct. 10, 2013 Hrg. Tr.) at 25:25-26:16. UNDISPUTED.

       230.   As of the date of this hearing when Defendants represented to this Court that “we

have produced all responsive documents” relating to “security payments,” Defendants had not

disclosed the payments to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that as of the date of this hearing, documents relating to witness

assistance payments to, or to the families of, El Tigre, Samario, or Blanco had not been

made. But, defendants DISPUTE this statement because it mischaracterizes the transcript.

Counsel for defendants admitted that documents relating to security payments were



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discoverable and then said that all “responsive documents”—documents responsive to a

pending, un-objected to discovery request—had been produced. Counsel did not say, as

Drummond’s “fact” states, that “we have produced all responsive documents’ relating to

‘security payments.’” As discussed in detail in defendants’ “Defendants’ Sur-Reply in

Opposition to Drummond’s Renewed Motion for Sanctions and Request for an Evidentiary

Hearing,” Doc. 210, there was no discovery request served in this case as of October 2013

that clearly sought documents regarding witness assistance payments that was also not

subject to outstanding objections. Further DISPUTED to the extent it implies that Conrad

& Scherer had knowledge of these payments. Doc. 231-11, at 44 of 80 (Conrad & Scherer

Response) (“William Scherer, managing partner of Conrad & Scherer, LLP, was not

directly involved in the actual day to day litigation of the Drummond matters. Mr. Scherer

receives an estimated thousands of email a month. He did receive one email report in May

2011 which indicated that payments would be made to Mr. Otero for security that included

a brief reference to security payments for families of El Tigre and Samario (see

CS_TC000289). But Mr. Scherer was not aware of exactly what Mr. Otero was doing with

this money. Certain lower-level employees at Conrad & Scherer, LLP, including employees

in the accounting department, were aware of the monthly payments to Mr. Otero for

security, but those individuals were not aware of exactly what Mr. Otero did with the

money. . . . Mr. Scherer became aware of this information about Mr. Otero’s payments to

El Tigre and Samario at approximately the same time that Mr. Otero executed his

affidavit.”).

       231.     Defendants’ October 10, 2013 representation in open court that they “have

produced all responsive documents” relating to “security payments” was false. Doc. 174-8 (El




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Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. DISPUTED because it mischaracterizes the transcript. Counsel for

defendants admitted that documents relating to security payments were discoverable and

then said that all “responsive documents”—documents responsive to a pending, un-

objected to discovery request—had been produced. Counsel did not say, as Drummond’s

“fact” states, that “we have produced all responsive documents’ relating to ‘security

payments.’” All documents responsive to a discovery request had been produced or logged,

or were subject to outstanding objections. If outstanding objections to discovery requests

were ignored, the statement was incomplete. But, it has been corrected through

supplemental discovery responses in this case. Mr. Collingsworth did not intend to mislead

the Court.

       232.   At the time Defendants represented in open court on October 10, 2013 that they

“have produced all responsive documents” relating to “security payments,” they knew this

representation was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the

representation was not false, although it was incomplete if outstanding objections were

ignored. Mr. Collingsworth did not intend to mislead the Court. See supra Resp. ¶ 231.

       233.   Mr. Collingsworth was present for the October 10, 2013 hearing and was seated at

Defendants’ counsel table. See Doc. 63 (Oct. 10, 2013 Hrg. Tr.) at 41. UNDISPUTED.

       234.   Mr. Collingsworth knew that Defendants’ counsel’s representation to this Court

that “we have produced all responsive documents” relating to “security payments” was false.

Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because it mischaracterizes the




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testimony. Counsel for defendants admitted that documents relating to security payments

were discoverable and then said that all “responsive documents”—documents responsive to

a pending, un-objected to discovery request—had been produced. Counsel did not say, as

Drummond’s “fact” states, that “we have produced all responsive documents’ relating to

‘security payments.’” All documents responsive to a discovery request had been produced

or logged, or were subject to outstanding objections. Therefore, this statement was not

false. If outstanding objections to discovery requests were ignored, the statement was

incomplete. But, it has been corrected through supplemental discovery responses in this

case. Mr. Collingsworth did not intend to mislead the Court.

         235.   Mr. Collingsworth did not attempt to correct his counsel’s October 10, 2013

representation to the Court that Defendants “have produced all responsive documents” relating to

“security payments.” See Doc. 63 (Oct. 10, 2013 Hrg. Tr.) generally. DISPUTED because it

suggests that defendants’ counsel’s statement was incorrect. To the extent the response was

incomplete, it has now been supplemented. Mr. Collingsworth did not intend to deceive the

Court.

         236.   On October 15, 2013, the Court entered an order on the Drummond’s motion to

compel. Doc. 64 (Oct. 15, 2013 Order). UNDISPUTED that the Court entered an order on

Drummond’s motion to compel and on defendants’ motion to compel.

         237.   This Court’s October 15, 2013 Order held as follows:       “Interrogatories and

requests for production on payments to witnesses are not overbroad and are properly within the

scope of discovery. The fact of payments to witnesses are [sic] not subject to work product

objections. Interrogatories and requests for production on research regarding payments to

witnesses are not overbroad and are properly within the scope of discovery. For any documents




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(payments to witnesses or research regarding payments to witnesses) withheld on grounds of

attorney client privilege or work product, the Magistrate Judge will examine the privilege log

and related documents and will make independent findings for each issue remaining in dispute.”

Doc. 64 (Oct. 15, 2013 Order) at 3-4. UNDISPUTED.

       Defendants’ Claim that as of October 15, 2013 There Were No Outstanding Discovery
       Requests Even Arguably Seeking Disclosure of Witness Payments. See Doc. 210,
       generally.

       238.      Defendants have represented to this Court that the first time Drummond served

any requests which would even arguably call for the production of documents reflecting witness

payments was in February 2014, when Drummond served its third set of document requests. See

Doc. 210, generally. UNDISPUTED that defendants have argued that that Drummond

could not make an “unassailable demonstration of an actual discovery request, an

objection to that request, a motion compelling a response to that request, an order

mandating a response, and a violation of that order.” Doc. 210, at 2 (emphasis added).

These are the requirements for obtaining sanctions under Rule 37, which Drummond has

not satisfied.

       239.      On October 3, 2013, in response to Drummond’s 1st and 2nd document requests,

Defendants produced approximately 400 pages of documents relating to witness payments. Doc.

231-7 (Oct. 3, 2013 B. Smith Ltr. and enclosures). UNDISPUTED that defendants produced

documents on October 3, 2013, that included information reflecting witness assistance

payments. DISPUTED as there are only a few sample documents attached to Document

231-7, but Drummond has not produced any spreadsheets or explanation for whether the

production set contained 400 pages of documents relating to witness payments.

       240.      This production included deposit slips reflecting additional deposits into the

account of Charris’s wife, as well as numerous documents relating to the payments to alias


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“Halcon.”     Id.   UNDISPUTED that this production set included documents reflecting

witness assistance payments made for the benefit of Charris’ family. DISPUTED that this

production included “numerous” documents relating to the payments “to” “Halcon.”

Drummond provides no summary or chart of the number of documents relating to Halcon,

nor were payments made “to” “Halcon.”

       241.     As described in Paragraphs 136-139, the subpoena to IRAdvocates sought

documents relating to payments to, and requests for payments by, Blanco, El Tigre, Samario or

any of their family members. UNDISPUTED.

       242.     In Defendants’ October 24, 2013 Supplemental Brief supporting their motion to

quash the subpoena to IRAdvocates and for sanctions against Drummond for serving it,

Defendants represented:

       Cutting through Drummond Company, Inc.’s (“Drummond”) mudslinging and
       innuendo, the objective reality is Drummond fails to address the sole issue that
       should govern Movants’ motion – that Drummond’s subpoena to IRAdvocates
       duplicates the document requests served on Defendants, and in responding to
       those requests, Defendants have also searched for and produced documents that
       were in the files of IRAdvocates.

Drummond Company, Inc. v. Terrence P. Collingsworth, et al., 2:14-mc-00621-RDP, Doc. 14

(Defs’ Oct. 24, 2013 Supp. Br.) at 1 (emphasis added). UNDISPUTED.

       243.     In that same filing, Defendants also represented that the requests and objections in

the principal defamation case pending in Alabama “are identical to those in this [miscellaneous

proceeding].” Id. at 2. UNDISPUTED.

       244.     Defendants further represented that “[t]here is absolutely no purpose served by

Drummond’s duplicative requests to IRAdvocates other than to burden the third party.” Id.

UNDISPUTED.




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       245.    With respect to their production on October 3, 2013 of 400 additional pages of

documents reflecting witness payments, Defendants represented as follows:

               Drummond claims to be unhappy Defendants produced 400 additional
               pages of documents relating to security provided to two of the witnesses.
               Drummond Supp. Br. at 6, ECF No. 12. In addition to having a continuing
               duty to supplement, Defendants note there was a distinction between
               requests in the human rights cases and the libel litigation, and a broader
               request in the libel case for communications about security payments with
               the endangered witnesses netted more responsive documents.

Id. at 3. UNDISPUTED.

       246.    Defendants interpreted the document requests in Drummond’s 1st and 2nd

Requests for Production as “broader” than Drummond’s requests in Balcero related to witness

payments.     Id. DISPUTED because it mischaracterizes the excerpt from the brief.

Defendants did not interpret Drummonds 1st and 2nd Requests for Production as a whole

to be broader than Drummond’s requests in Balcero. Instead, defendants explained that

there was “a” broader request in the libel case. Further, simply acknowledging that a

request is “broader” does not imply that the request is not subject to objection. To the

extent the representation was incomplete in failing to explain the whole context, it has been

supplemented. Mr. Collingsworth did not intend to deceive the Court.

       247.    Defendants interpreted Drummond’s 1st and 2nd Requests for Production in this

case to call for documents reflecting payments to Charris and Halcon. Doc. 231-7 (Oct. 3, 2013

B. Smith Ltr. and enclosures). UNDISPUTED that defendants interpreted Drummond’s 1st

and 2nd Requests for Production in this case, as well as one of the later served set of

discovery requests in Balcero, to include documents reflecting payments made by Mr.

Collingsworth and/or Conrad & Scherer directly to the family of Charris and to a third




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party for the benefit of Halcon, and documents reflecting such payments had already been

produced in Balcero.

       248.    On October 31, 2013, Defendants filed a “Reply Memorandum of Law in Support

of Defendants’ Motion for Protective Order and/or Motion to Quash Subpoena to Parker

Waichman, LLP.” Ex. 16 (Defendants’ Oct. 31, 2013 Reply Memorandum of Law in Support of

Defendants’ Motion for Protective Order and/or Motion to Quash Subpoena to Parker

Waichman, LLP). UNDISPUTED.

       249.    Defendants’ “Reply Memorandum of Law in Support of Defendants’ Motion for

Protective Order and/or Motion to Quash Subpoena to Parker Waichman, LLP” represented that

“Defendants disclosed the fact of security payments in Balcero, producing all responsive, non-

privileged documents regarding funds provided to Drummond witnesses through June 2012,

nearly a year after the letters at issue were sent. And Defendants recently supplemented this with

over 400 additional pages netted by the broader request in the libel case for all communications

regarding security payments.” Ex. 16 (Defendants’ Oct. 31, 2013 Reply Memorandum of Law in

Support of Defendants’ Motion for Protective Order and/or Motion to Quash Subpoena to Parker

Waichman, LLP) at 3. UNDISPUTED.

       250.    At the time Defendants represented to the Eastern District of New York that they

had “disclosed the fact of security payments in Balcero, producing all responsive, non-privileged

documents regarding funds provided to Drummond witnesses through June 2012,” Defendants

had not disclosed the payments to Blanco, El Tigre or Samario. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. UNDISPUTED that as of the time of this statement, documents reflecting




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witness assistance payments to, or to the families of, Blanco, El Tigre, and Samario had not

been disclosed.

       251.   Defendants’ representation to the Eastern District of New York that they had

“disclosed the fact of security payments in Balcero, producing all responsive, non-privileged

documents regarding funds provided to Drummond witnesses through June 2012,” was false.

Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because defendants’ statement was not

false. At the time of this statement, there were unresolved objections pending in Balcero

when that case was dismissed by the Court. Further, there were no pending, un-objected to

discovery requests in this case that clearly called for witnesses assistance payments made

for the benefit of Blanco, El Tigre, or Samario. To the extent the representation was

incomplete in failing to explain the whole context, it has been supplemented. Mr.

Collingsworth did not intend to deceive the Court.

       252.   At the time the Defendants represented to the Eastern District of New York that

they had “disclosed the fact of security payments in Balcero, producing all responsive, non-

privileged documents regarding funds provided to Drummond witnesses through June 2012,”

they knew this representation was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because the representation was not false. To the extent the representation was

incomplete in failing to explain the whole context, it has been supplemented. Mr.

Collingsworth did not intend to deceive the Court. See supra Response ¶ 251.




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       Defendants’ Continued False Representations that Only “Three” Witnesses Had Been
       Paid

       253.   On November 7, 2013, Defendants filed with this Court “Defendants’

Supplemental Brief in Further Opposition to Drummond’s Motion to Compel.”           Doc. 68.

UNDISPUTED that defendants’ counsel submitted this brief.

       254.   Mr. Collingsworth submitted a declaration signed under penalty of perjury in

support of “Defendants’ Supplemental Brief in Further Opposition to Drummond’s Motion to

Compel.” Doc. 69 (Nov. 7, 2013 Collingsworth Decl.). UNDISPUTED.

       255.   “Defendants’ Supplemental Brief in Further Opposition to Drummond’s Motion

to Compel” made the following representation to this Court:

              In this first opportunity to respond fully in this Court to Drummond’s
              accusations and innuendo, Defendants will show there were credible death
              threats made against many of the witnesses who were about to give
              depositions in Balcero, and with respect to three of them, Defendants
              concluded that their family members were in immediate danger.

Doc. 68 (Defendants’ Supplemental Brief in Further Opposition to Drummond’s Motion to

Compel) at 3. UNDISPUTED.

       256.   Defendants’ representation that “three” of the witnesses in Balcero received

payments is false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that the

statement was incomplete in light of other payments, and therefore wrong. But it is

DISPUTED to the extent that it was designed to intentionally mislead the Court. It has

been supplemented after the Court’s October 15, 2014 order, which made clear that all

payments – direct or indirect – to anyone related to witnesses had to be disclosed. See Doc.

187-21 (Collingsworth Decl. in Opp’n to Drummond Renewed Motion for Sanctions).




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       257.   At the time Defendants made this representation, they knew it was false. Doc.

174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd

Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the representation was not false,

although it was incomplete. Mr. Collingsworth did not intend to mislead the Court.

       258.   Citing Paragraph 34 of Mr. Collingsworth’s November 7, 2013 sworn declaration,

Defendants made the following representation to this Court:

              As noted, from the outset of the human rights cases, counsel for Plaintiffs
              were open and clear in their intention of providing security to witnesses
              who were endangered. See Ex. 1 at 1-2. In Balcero, counsel for Plaintiffs
              (Defendants in this libel action) disclosed documents establishing they had
              provided necessary security to three witnesses, Duarte, Gelvez, and
              Charris. See TPC Decl. ¶ 34.

Doc. 68 (Defendants’ Supplemental Brief in Further Opposition to Drummond’s Motion to

Compel) at 11. UNDISPUTED.

       259.   Defendants’ representation that “they had provided necessary security to three

witnesses, Duarte, Gelvez, and Charris” was false.       Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. DISPUTED because these three witnesses did receive payments and, therefore, this

statement was not false. To the extent the representation was incomplete in failing to

explain the whole context, it has been supplemented. Mr. Collingsworth did not intend to

deceive the Court.

       260.   At the time Defendants made this representation to this Court, they knew it was

false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the representation

was not false, although it was incomplete. Mr. Collingsworth did not intend to mislead the

Court. See supra Resp. ¶ 259.



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       261.    Paragraph 34 of Mr. Collingsworth’s November 7, 2013 sworn declaration, in

which he testified that Defendants had provided security to only three witnesses, was false. Doc.

174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd

Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because it mischaracterizes Mr.

Collingsworth’s declaration, which does not state that “only” three witnesses were

provided security. Mr. Collingsworth’s statement in paragraph 34—that Drummond was

provided documents in Balcero regarding funds for security for “to Jesus Charris Castro,

Libardo Duarte, and Jose Gelvez Albarracin, all witnesses in the Balcero case”—was

incomplete in failing to explain the whole context, and it has been supplemented. Mr.

Collingsworth did not intend to deceive the Court.

       262.    At the time he signed his November 7, 2013 declaration, Mr. Collingsworth knew

the testimony in Paragraph 34 was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because the representation was not false, although it was incomplete. Mr.

Collingsworth did not intend to mislead the Court. See supra Resp. ¶ 261.

       263.    In Paragraph 36 of Mr. Collingsworth’s November 7, 2013 declaration, he

testified that “the sole promise I made to any witness in the Balcero case was that if they testified

or if a family member received a credible death threat, we would do whatever we could to

provide security or a safe haven until such time as the danger had subsided.” Doc. 69 (Nov. 7,

2013 Collingsworth Decl.) ¶ 36. UNDISPUTED.

       264.    At the time Mr. Collingsworth submitted this declaration, he had already offered,

facilitated and confirmed at least three payments to Jaime Blanco from Albert van Bilderbeek

that had nothing to do with security. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,




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No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       265.   Mr. Collingsworth’s testimony regarding the “sole promise” he made to “any

witness in the Balcero case” is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       266.   At the time Mr. Collingsworth signed his November 7, 2013 declaration, he knew

this testimony was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at

pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6. To the extent the

representation was incomplete in failing to explain the whole context, it has been

supplemented. Mr. Collingsworth did not intend to deceive the Court.

       267.   At the time Defendants offered Mr. Collingsworth testimony regarding the “sole

promise” he made to “any witness in the Balcero case” in support of “Defendants’ Supplemental

Brief in Further Opposition to Drummond’s Motion to Compel,” they knew it was false. Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED to the extent it conflicts with Mr. Collingsworth’s explanation of his

involvement with Blanco. See Doc. 174-2, at 4-6. Further DISPUTED because the “sole

promise” statement from paragraph 36 of Mr. Collingsworth’s declaration was not

incorporated by the “Defendants” into this supplemental brief. To the extent the

representation was incomplete in failing to explain the whole context, it has been

supplemented. Mr. Collingsworth did not intend to deceive the Court.




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       268.   On December 6, 2013, Defendants filed their “Memorandum of Law on Work

Product Privilege and Renewing Motion to Compel Against Drummond.”                     Doc. 80.

UNDISPUTED.

       269.   In this filing, Defendants made the following representation to this Court:

              The three Balcero witnesses who received security assistance from
              Defendants, Libardo Duarte, Jose Gelvez Albarracin, and Jairo Jesus
              Charris Castro, all first provided a written statement to counsel for
              Plaintiffs or the Colombian authorities.

Doc. 80 (Memorandum of Law on Work Product Privilege and Renewing Motion to Compel

Against Drummond) at 12. UNDISPUTED.

       270.   At the time Defendants made this representation to this Court, they had been

making what they claim are “security payments” to El Tigre and Samario for over two years, and

Defendants’ litigation team had made at least three payments to Jaime Blanco. Doc. 174-8 (El

Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. UNDISPUTED that defendants made security payments to the

families of El Tigre and Samario to protect them protect them from violent retaliation.

DISPUTED as defendants did not make any payments “to” El Tigre or Samario. Further

DISPUTED because the phrase “litigation team” is ambiguous, and no payments were

made to Blanco by defendants.

       271.   Defendants’ representation that “the three Balcero witnesses who received

security assistance from Defendants” were “Libardo Duarte, Jose Gelvez Albarracin, and Jairo

Jesus Charris Castro” is false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. To the

extent the representation was incomplete because it did not explain the entire context, it

has been supplemented. Mr. Collingsworth did not intend to deceive the Court.



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         272.   At the time Defendants made this representation to this Court, they knew it was

false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the representation

was not false, although it was incomplete because it did not explain the entire context. But,

it has been supplemented. Mr. Collingsworth did not intend to mislead the Court.

         273.   In their “Memorandum of Law on Work Product Privilege and Renewing Motion

to Compel Against Drummond,” Defendants also made the following representation to this

Court:

                The record is now straight. Defendants viewed it as their duty to do what
                was possible to protect witnesses and their families from violent
                retaliation. Defendants certainly made no secret of this security assistance
                because it was entirely necessary and proper.

Doc. 80 (Memorandum of Law on Work Product Privilege and Renewing Motion to Compel

Against Drummond) at 10. UNDISPUTED.

         274.   At the time Defendants made this representation to this Court, they had been

making “security payments” to El Tigre and Samario for over two years, and Defendants’

litigation team had made at least three payments to Jaime Blanco. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. UNDISPUTED that defendants made security payments to the families of

El Tigre and Samario to protect them protect them from violent retaliation. DISPUTED

that these payments were made “to” El Tigre or Samario. Further DISPUTED because the

phrase “litigation team” is ambiguous, and no payments were made to Blanco by the

defendants.

         275.   Defendants’ representation that they “made no secret” of their “security

assistance” to witnesses is false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2



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(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as

defendants, in their role as counsel for plaintiffs in Balcero, did disclose the fact that

security assistance was provided to witnesses and/or their families because of the serious

threats against witnesses and their family members. To the extent the representation was

incomplete because it did not explain the entire context, it has been supplemented. Mr.

Collingsworth did not intend to deceive the Court.

       276.   At the time Defendants made this representation to this Court, they knew it was

false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20 DISPUTED because the representation

was not false, although it was incomplete because it did not explain the entire context. It

But, it has been supplemented. Mr. Collingsworth did not intend to mislead the Court.

       277.   On December 20, 2013, Defendants filed “Defendants’ Reply Brief in Support of

Memorandum of Law on Work Product Privilege and Renewing Motion to Compel Against

Drummond.” Doc. 87. UNDISPUTED that defendants’ counsel filed this brief.

       278.   In this filing, Defendants made the following representation to this Court:

              . . . [T]he facts are clear Defendants properly provided security assistance
              to three witnesses whose family members were threatened by
              Drummond’s operatives in Colombia. Drummond’s classic tactic of
              attacking Mr. Collingsworth now includes ignoring undisputed facts in the
              record. . .

Doc. 87 (Defendants’ Reply Brief in Support of Memorandum of Law on Work Product

Privilege and Renewing Motion to Compel Against Drummond) at 1-2. UNDISPUTED that

this statement was made in the context of arguing that witness security payments were

ethical.




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       279.   At the time Defendants made this representation to this Court, they had been

making “security payments” to El Tigre and Samario for over two years, and Defendants’

litigation team had offered and facilitated at least three payments to Jaime Blanco. Doc. 174-8

(El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that defendants made security payments to

the families of El Tigre and Samario to protect them from violent retaliation. DISPUTED

as defendants did not make any payments “to” El Tigre or Samario. Further DISPUTED

because the phrase “litigation team” is ambiguous, and no payments were made to Blanco

by defendants.

       280.   Defendants’ representation to this Court that “the facts are clear Defendants

properly provided security assistance to three witnesses” is false. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. DISPUTED. The representation is true because these three witnesses, or

their families, received witness assistance payments and it does not state that only three

witnesses in Balcero received payments. To the extent the representation was incomplete in

failing to explain the whole context, it has been supplemented. Mr. Collingsworth did not

intend to deceive the Court.

       281.   At the time Defendants represented to this Court that “the facts are clear

Defendants properly provided security assistance to three witnesses,” they knew this

representation was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the

representation was not false, although it was incomplete because it did not explain the




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entire context. But, it has been supplemented. Mr. Collingsworth did not intend to mislead

the Court.

       282.    On December 20, 2013, Defendants produced their “Supplemental Privilege

Log.” UNDISPUTED.

       283.    “Defendants’ Reply Brief in Support of Memorandum of Law on Work Product

Privilege and Renewing Motion to Compel Against Drummond” makes the following

representation to this Court:

               Defendants produced to Drummond today an updated log. The privilege
               log produced on October 2, 2013 and this [December 20, 2013]
               supplemental log list privileged documents, if any, responsive to
               Plaintiffs’ first request for production nos. 1-63, 69, 70-72, 74, 75, 78-80,
               82-89 and Plaintiffs’ second request for production of documents nos. 1-
               13. Defendants will continue to produce documents responsive to cost and
               finance requests on a rolling basis.

Doc. 87 (Defendants’ Reply Brief in Support of Memorandum of Law on Work Product

Privilege and Renewing Motion to Compel Against Drummond) at 3-4 (emphasis added).

UNDISPUTED.

       284.    Drummond’s 1st Requests for Production No. 43 sought “[f]rom January 1, 2000

to the present, all communications, including, but not limited to, e-mails, letters, faxes,

voicemails, between Defendants and Llanos Oil or any of its principals, representatives, agents

or employees.” Doc. 43-10 at Req. No. 43. UNDISPUTED.

       285.    Drummond’s 2nd Requests for Production No. 8 sought “[a]ll documents

reflecting communications between Defendants or anyone working on their behalf and Ivan

Otero.” Doc. 43-12 at Req. No. 8. UNDISPUTED.

       286.    Defendants’ December 20, 2013 “supplemental privilege log” did not include the

July 19, 2012 email exchange between Albert van Bilderbeek and Mr. Collingsworth evidencing




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a $35,000 wire to Ivan Otero for the benefit of Jaime Blanco. Docs. 174-25 & 174-26 (Defs’

December 20, 2013 “Supplemental Privilege Log”); Doc. 174-20 at CS_TC 2827-2828.

UNDISPUTED that this document was not included on the December 20, 2013 privilege

log. This email was eventually logged and/or produced by the defendants in December

2014 after additional searches were performed and defendants’ privilege log and

documents production set supplemented.

       287.    Defendants’ December 20, 2013 “supplemental privilege log” did not include the

September 16, 2011 email from Collingsworth to Ivan Otero relating to another payment to

Jaime Blanco from Albert van Bilderbeek. Docs. 174-25 & 174-26 (Defs’ December 20, 2013

“Supplemental Privilege Log”); Doc. 174-20 at CS_TC001458 (“Dear Ivan, By now you should

have received 2 packages. Just to be clear, the one from the brothers you know what that is.”).

UNDISPUTED that this document was not on the December 20, 2013 privilege log. This

email was eventually logged and/or produced by the defendants in December 2014 after

additional searches were performed and defendants’ privilege log and documents

production set supplemented. DISPUTED because this statement incorrectly states that the

referenced email, CS_TC001458, was from Collingsworth to Otero. It was not, instead, it

was from Collingsworth to Susana Tellez, who was a paralegal at Conrad & Scherer.

       288.    Defendants’ representation to this Court that their December 20, 2013 privilege

log “list[ed] privileged documents, if any, responsive to Plaintiffs’ first request for production

nos. 1-63, 69, 70-72, 74, 75, 78-80, 82-89 and Plaintiffs’ second request for production of

documents nos. 1-13” is false.        Docs. 174-25 & 174-26 (Defs’ December 20, 2013

“Supplemental Privilege Log”); Doc. 174-20 at CS_TC 2827-2828; Doc. 174-20 at

CS_TC001458 (“Dear Ivan, By now you should have received 2 packages. Just to be clear, the




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one from the brothers you know what that is.”). UNDISPUTED that this was an incorrect

statement. Documents responsive to these requests were later located and put on a privilege

log. DISPUTED because this statement incorrectly states that the referenced email,

CS_TC001458, was from Collingsworth to Otero. It was not, instead, it was from

Collingsworth to Susana Tellez.

       289.    At the time Defendants represented to this Court that their December 20, 2013

privilege log “list[ed] privileged documents, if any, responsive to Plaintiffs’ first request for

production nos. 1-63, 69, 70-72, 74, 75, 78-80, 82-89 and Plaintiffs’ second request for

production of documents nos. 1-13,” they knew this representation was false. Docs. 174-25 &

174-26 (Defs’ December 20, 2013 “Supplemental Privilege Log”); Doc. 174-20 at CS_TC 2827-

2828; Doc. 174-20 at CS_TC001458 (“Dear Ivan, By now you should have received 2 packages.

Just to be clear, the one from the brothers you know what that is.”). DISPUTED because Mr.

Collingsworth did not intend to mislead the Court. Documents responsive to these requests

were later discovered and included on a supplemental privilege log.

       290.    “Defendants’ Reply Brief in Support of Memorandum of Law on Work Product

Privilege and Renewing Motion to Compel Against Drummond” makes the following

representation to this Court:

               As the [Defendants’] supplemental brief [Doc. 68] made clear, the facts
               are Defendants provided security assistance to three witnesses whose
               family members were threatened by Drummond’s operatives in Colombia,
               which is entirely permissible under the ethical rules.

Doc. 87 (Defendants’ Reply Brief in Support of Memorandum of Law on Work Product

Privilege and Renewing Motion to Compel Against Drummond) at 15. UNDISPUTED that this

statement was made in the context of arguing that witness security payments were ethical.




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       291.   At the time Defendants made this representation to this Court, they had been

making “security payments” to El Tigre and Samario for over two years, and Defendants’

litigation team had made at least three payments to Jaime Blanco. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. UNDISPUTED that defendants made security payments to the families of

El Tigre and Samario to protect them protect them from violent retaliation. For a

description of assistance payment to the families of El Tigre and Samario, see defendants’

supplemental interrogatory responses filed in November 2014, Doc. 174-7, January 2015,

Doc. 174-2, and March 2015, Doc. 231-11. To the extent the representation was incomplete

in failing to explain the whole context, it has been supplemented. Mr. Collingsworth did not

intend to deceive the Court.

       292.   Defendants’ representation to this Court that “the facts are Defendants provided

security assistance to three witnesses” is false. Doc. 174-8 (El Tigre and Samario payments);

Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED. The representation is true because these three witnesses, or their families,

received witness assistance payments. Further DISPUTED to the extent this statement was

made in the context of arguing that witness security payments were ethical, and the

number of witnesses was irrelevant to the arguments being made. To the extent the

representation was incomplete in failing to explain the whole context, it has been

supplemented. Mr. Collingsworth did not intend to deceive the Court.

       293.   At the time Defendants represented to this Court that “the facts are Defendants

provided security assistance to three witnesses,” they knew this representation was false. Doc.

174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd




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Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the representation was not false,

although it was incomplete because it did not explain the entire context. But, it has been

supplemented. Mr. Collingsworth did not intend to mislead the Court.

      294.   On January 22, 2014, Defendants filed “Defendants Terrence P. Collingsworth

and Conrad & Scherer LLP’s Response to Motion to Extend Scheduling Order Deadlines.” Doc.

91. UNDISPUTED that defendants’ counsel filed this response.

      295.   In this filing, Defendants made the following representation to this Court:

             Only one category of document production remains pending which relates
             to financing of the litigation against Drummond. The subject documents
             are in a warehouse and finding them amongst all the other accounting
             documents has been extremely difficult. Defendants are near completion
             of their exhaustive search and will begin producing nonprivileged
             responsive documents related to cost within the next 21 days.

Doc. 91 (“Defendants Terrence P. Collingsworth and Conrad & Scherer LLP’s Response to

Motion to Extend Scheduling Order Deadlines”) at 3. UNDISPUTED that this statement was

made in the context of opposing Drummond’s motion to extend the discovery schedule,

which was based on global discovery issues, but not specifically witness assistance

payments. See Doc. 90.

      296.   At the time Defendants represented this Court that “[o]nly one category of

document production remains pending which relates to financing of the litigation against

Drummond,” they had neither produced nor logged the documents reflecting their payments to

Samario, El Tigre or Blanco. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that, as

of January 22, 2014, defendants had not produced or logged documents reflecting witness

assistance payments made indirectly to the families of the witnesses identified here. As of

January 22, 2014, Drummond had not served in this case discovery requests that clearly



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sought such payments. To the extent the representation was incomplete in terms of context,

it has been supplemented. Mr. Collingsworth did not intend to mislead the Court.

       297.   Defendants’ representation to this Court that “[o]nly one category of document

production remains pending which relates to financing of the litigation against Drummond” was

false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED as the representation is

was made in the context of opposing an effort by Drummond to extend the discovery

schedule for reasons unrelated to witness security payments. To the extent the statement

was incomplete in terms of context, it has been supplemented. Mr. Collingsworth did not

intend to mislead the Court.

       298.   At the time Defendants’ made the representation to this Court that “[o]nly one

category of document production remains pending which relates to financing of the litigation

against Drummond,” they knew it was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED because the representation was not false. To the extent the statement was

incomplete in terms of context, it has been supplemented. Mr. Collingsworth did not intend

to mislead the Court. l

       299.   On February 11, 2014, Drummond served its Third Interrogatories and Requests

for Production on Defendants. Doc. 101-2. UNDISPUTED.

       300.   On March 20, 2014, Defendants served their responses to Drummond’s Third

Interrogatories and Requests for Production. Doc. 101-2. UNDISPUTED.




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       301.   Defendants’ March 20, 2014 responses to Drummond’s Third Interrogatories are

signed by Mr. Collingsworth “Individually, and on behalf of Conrad & Scherer, LLP

Defendants.” Doc. 101-2 at 17 of 38. UNDISPUTED.

       302.   Drummond’s Third Interrogatories No. 2, and Defendants’ response thereto, state

as follows:

              2. Identify every instance in which Defendants (or any member of their
              litigation team) have offered to provide assistance (regardless of whether
              such assistance was actually provided) to any witness, any relative or
              friend of any witness, any Colombian paramilitary, or any relative of any
              Colombian paramilitary. For purposes of this interrogatory, "assistance" is
              meant to include, but not be limited to, solicitation of business proposals,
              legal advice, payment of attorneys' fees, provision of any attorney, prison
              transfers, negotiations or other communications with Colombian
              prosecutors, offers to communicate with contacts in Washington, D.C.,
              offers to assist in requests for extradition, offers to communicate with the
              FBI, and assistance with sentencing.

              ANSWERS: Defendants object on the grounds that this Interrogatory
              is overly broad, open-ended and intentionally vague. In addition,
              Defendants object that the request is not relevant to Plaintiff's claims
              and not reasonably calculated to lead to the discovery of admissible
              evidence. Further, Defendants object to the interrogatory as it is
              duplicative and repetitive to previous discovery requests. Without
              waiving their objections, Defendants state they have never offered
              assistance in order to influence testimony. Defendants have previously
              produced all non privileged documents containing facts responsive to
              this request. To the extent there is any new responsive information
              since the information was previously produced, Defendants will
              supplement by producing responsive documents to Plaintiff in lieu of
              providing a response to this Interrogatory pursuant to Fed. R. Civ. P.
              33(d).

Doc. 101-2 (Defs’ Responses to Drummond’s 3rd Irogs and RFPs) at pp. 11-12 of 38.

UNDISPUTED.

       303.   At the time Defendants represented in a sworn interrogatory response that

“Defendants have previously produced all non privileged documents containing facts

responsive to this request,” they had not disclosed or produced documents revealing the



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payments to Samario, El Tigre or Blanco. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

UNDISPUTED that, as of the time of this interrogatory response, defendants had not

produced documents reflecting witness assistance payments to the witnesses, or their

families, identified here. DISPUTED to the extent this “fact” implies that defendants had

an obligation at that point to produce such documents. Mr. Collingsworth interpreted this

request literally (as written) to include only payments made directly to witnesses or their

families (or to paramilitaries or their families) without carefully considering that other,

potentially responsive witnesses existed. And, documents reflecting such payments (made

directly to the families of Charris and Duarte) had already been produced. Defendants did

not interpret this interrogatory as including payments made to Ivan Otero for the benefit

of a witness’s family. Furthermore, none of the defendants, nor any member of their

“litigation team” offered to provide “assistance” to Blanco with respect to his attorney’s

fees. Instead, Mr. Collingsworth expressly told Blanco he could not pay his attorney’s fees.

Further DISPUTED because the statement does not acknowledge defendants’ objections or

defendants’ statement that, if additional responsive information was found, they would

provide documents reflecting that information. Defendants made good on that promise,

and subsequently revised this interrogatory response and provided documents reflecting

witness assistance payments made to these witnesses or their families through Ivan Otero

following the Court’s clarifying Order on October 15, 2014.

       304.   Defendants’ representation in a sworn interrogatory response that “Defendants

have previously produced all non privileged documents containing facts responsive to this

request” is false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am.




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Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. The

representation is not false based on defendants’ reasonable (and literal) interpretation of

the interrogatory. See supra Response ¶ 303. But, to the extent his statement was

incomplete, it has been supplemented by later filings with the Court. Mr. Collingsworth did

not intend to mislead the Court.

       305.   At the time Defendants served their sworn interrogatory response representing

that “Defendants have previously produced all non privileged documents containing facts

responsive to this request,” they knew this response was false. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. DISPUTED. The representation is not false based on defendants’

reasonable (and literal) interpretation of the interrogatory. See supra Response ¶ 303. But,

to the extent his statement was incomplete, it has been supplemented by later filings with

the Court Mr. Collingsworth did not intend to mislead the Court.

       306.   In March 2014, Parker Waichman, LLP produced some documents in response to

Drummond’s third party subpoena that reflected discussions between Mr. Collingsworth and

other lawyers at Conrad & Scherer, LLP and lawyers at Parker Waichman, LLP regarding paying

Jaime Blanco’s criminal legal fees. Docs. 101-15 & 101-17. Defendants object to

Drummond’s use of privileged documents inadvertently produced by Parker Waichman

that are subject to a clawback order from this Court. Subject to, and without waiving, that

objection, UNDISPUTED.

       307.   Also included in the documents produced by Parker Waichman, LLP was an

email exchange relating to transporting $20,000 in cash to Colombia to pay “the witness.” Doc.

109-1. UNDISPUTED that Parker Waichman inadvertently produced this document.




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DISPUTED to the extent it implies this payment was to fact witness, which it was not. This

payment was for a non-testifying consulting expert witness in a different case (the Dole case

in L.A. Superior Court), and supporting evidentiary materials for this fact have been

provided to the Special Master in this case. See Exhibit H (May 15, 2015 Collingsworth

Decl.) ¶¶ 4-11. Defendants object to Drummond’s use of privileged documents

inadvertently produced by Parker Waichman that are subject to a clawback order from

this Court.

       308.   None of these emails had been logged or produced by the Defendants, despite the

fact that Mr. Collingsworth is either a sender or recipient of every single email. Docs. 109-1,

101-15 & 101-17. UNDISPUTED that these emails had not been logged or produced.

DISPUTED to the extent this statement implies that defendants had an obligation to log

these communications, or that such communications were responsive to an outstanding

discovery request made prior to the production of these documents. The first set of

interrogatory responses that would have captured these documents was served by

Drummond on February 11, 2014, and defendants responded to those interrogatories on

March 20—more than a week after Parker Waichman inadvertently produced these

privileged documents.

       309.   On April 2, 2014, Drummond filed a motion for sanctions against Defendants,

attaching many of the documents produced by Parker Waichman, LLP as exhibits. Docs. 101,

101-12, 101-14, 101-15, 101-17, 101-18, 109-1. UNDISPUTED that Drummond relied on

documents improperly produced by Parker Waichman, even after counsel for defendants

verbally notified counsel for Drummond that the documents contained privileged

information. See Exhibit I (Decl. of Brad Smith, filed with Special Master on Aug. 25,




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2014), ¶ 7 (“On March 31, 2014, I received a telephone call from counsel for Drummond,

Mr. H. Thomas Wells, III. T informed Mr. Wells that a number of documents in Parker

Waichman’s were privileged or were not relevant, although I did not identify any specific

privileged documents in that conversation.”).

       310.   On April 14, 2014, Defendants filed “Defendants’ Opposition to Drummond’s

Motion for Sanctions and Cross-Motion to Compel Drummond’s Response to Defendants’

Second Request for Production of Documents.” Doc. 114. UNDISPUTED.

       311.   In this filing, Defendants made the following representations to this Court:

              There is absolutely no issue of the propriety of Defendants’ searches or the
              completeness of their production.

              Drummond’s latest attacks are false and Defendants have now completed
              their document search and supplemental log in full compliance with the
              Court’s discovery Order.

Doc. 114 (Defendants’ Opposition to Drummond’s Motion for Sanctions and Cross-Motion to

Compel Drummond’s Response to Defendants’ Second Request for Production of Documents) at

1 & 2. UNDISPUTED that these representations were made in the context of explaining

why the Parker Waichman documents Drummond improperly relied on in its motion for

sanctions (without first offering defendants any opportunity to explain in a meet and

confer) were not previously produced—because the defendants were currently working,

and had been working (as repeatedly explained to Drummond) to comply with the Court’s

October 15, 2013 Order.

       312.   At the time Defendants made these representations to this Court, they had not

disclosed the payments to Samario, El Tigre or Blanco. Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that, as of the time of this representation, defendants had not



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produced documents reflecting witness assistance payments to the witnesses, or their

families, identified here. DISPUTED to the extent this “fact” implies that defendants had

an obligation at that point to produce such documents. Mr. Collingsworth interpreted

Drummond’s third interrogatories and requests for production literally (as written) to

include only payments made directly to witnesses or their families (or to paramilitaries or

their families), without carefully considering that other, potentially responsive witnesses

existed. And, documents reflecting such payments (made directly to the families of Charris

and Duarte), had already been produced. Defendants did not interpret Drummond’s third

interrogatories and requests for production as including payments made to Ivan Otero for

the benefit of a witness’s family. Furthermore, none of the defendants, nor any member

made payments, or offered payment assistance, to Blanco with respect to his attorney’s

fees. Instead, Mr. Collingsworth expressly told Blanco he could not pay his attorney’s fees.

       313.   Defendants’ representation to this Court that “there is absolutely no issue of the

propriety of Defendants’ searches or the completeness of their production” was false. Doc. 174-

8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because, at the time this statement was made,

defendants had outstanding objections to Drummond’s third discovery requests, had

interpreted the requests literally to exclude payments made through intermediaries to the

family of witnesses or witnesses themselves, and, therefore, this statement was true as to

un-objected to, outstanding discovery requests which defendants were in the process of

responding to following the Court’s October 15, 2013 Order. At the time, Mr.

Collingsworth was mistaken about the search. Additional searches were performed, and




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discovery responses supplemented after the Court’s October 15, 2014 Order. Mr.

Collingsworth did not intend to mislead the Court.

       314.    At the time Defendants represented to this Court that “there is absolutely no issue

of the propriety of Defendants’ searches or the completeness of their production,” they knew this

representation was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because this

statement was not false when it was made and with respect to un-objected to, outstanding

discovery requests. Further DISPUTED because it implies that defendants were aware and

in possession of other responsive documents and were simply not producing them. At the

time, Mr. Collingsworth was mistaken about the search. Additional searches were

performed, and discovery responses supplemented after the Court’s October 15, 2014

Order. Mr. Collingsworth did not intend to mislead the Court.

       315.    “Defendants’ Opposition to Drummond’s Motion for Sanctions and Cross-

Motion to Compel Drummond’s Response to Defendants’ Second Request for Production of

Documents” makes the following representation to this Court: “Drummond has been on a pure

fishing expedition” with respect to discovery requests targeting the “activities of and payments to

or by…lawyers in Colombia.”        Doc. 114 at 2. DISPUTED. Furthermore, this is not a

“representation,” but, rather a characterization of Drummond’s discovery efforts made in

the context of explaining Drummond’s failure to produce any of the same types of

documents it sought from defendants.

       316.    At the time Defendants made this representation to this Court, they had not

disclosed the payments to El Tigre, Samario or Blanco, all of which were conveyed to the

witnesses by Ivan Otero, a “lawyer in Colombia” and a “key member” of Defendants’ litigation




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team. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20; Doc. 69 (Nov. 7, 2013 Collingsworth

Decl.) ¶ 51. DISPUTED. Further DISPUTED because payments were not conveyed by

Otero “to” El Tigre or Samario. But, to the extent this representation was incomplete as it

relates to witness assistance payments to the families of El Tigre and Samario, it was later

supplemented. Mr. Collingsworth did not intend to mislead the Court.

       317.    Defendants’ representation to this Court that “Drummond has been on a pure

fishing expedition” with respect to discovery requests targeting the “activities of and payments to

or by…lawyers in Colombia” was false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED. Furthermore, this is not a “representation,” but, rather, is a characterization

of Drummond’s discovery efforts made in the context of explaining Drummond’s failure to

produce any of the same types of documents it sought from defendants.

       318.    At the time they represented to this Court that “Drummond has been on a pure

fishing expedition” with respect to discovery requests targeting the “activities of and payments to

or by…lawyers in Colombia”, Defendants knew this representation was false. Doc. 174-8 (El

Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. DISPUTED. Furthermore, this is not a “representation,” but,

rather, is a characterization of Drummond’s discovery efforts made in the context of

explaining Drummond’s failure to produce any of the same types of documents it sought

from defendants.




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       319.   “Defendants’ Opposition to Drummond’s Motion for Sanctions and Cross-Motion

to Compel Drummond’s Response to Defendants’ Second Request for Production of

Documents” makes the following representation to this Court:

              Now that Defendants have finally completed the supplemental production
              in response to this Court’s [October 15, 2013] Order, they will produce
              any responsive documents to Drummond’s Third Requests and are in the
              process of logging privileged documents, including any documents
              involving PW [Parker Waichman, LLP] and discussions of requests for
              assistance by witnesses. Drummond’s assertion that such documents were
              improperly withheld from the response to Drummond’s First and Second
              Requests for Production of Documents pursuant to this Court’s Order, or
              logged in an untimely manner, is another transparent effort by Drummond
              to mislead the Court.

Doc. 114 at 4-5. UNDISPUTED.

       320.   At the time Defendants made these representations to this Court, they had not

disclosed the payments to Samario, El Tigre or Blanco. Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that payments to Blanco or the family members of El Tigre or

Samario had not been disclosed. That is because only Drummond’s third set of discovery

requests—which defendants explained they were preparing to respond to—included

discovery requests that would have clearly captured such payments. DISPUTED because

no payments were made by the defendants “to” Samario, El Tigre, or Blanco.

       321.   Defendants’ representation to this Court that they “have finally completed the

supplemental production in response to this Court’s Order” was false. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. DISPUTED. Defendants had completed supplemental production to

Drummond’s first and second discovery requests in response to the Court’s October 15,

2013 Order. And, only Drummond’s third set of discovery requests—which defendants



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explained they were preparing to respond to—included discovery requests that would have

clearly captured payments to Blanco and to the families of El Tigre and Samario. To the

extent that more production was needed, this statement was a mistake. It was later

corrected by supplementation. Mr. Collingsworth did not intend to mislead the Court.

       322.      At the time Defendants represented to this Court that they “have finally completed

the supplemental production in response to this Court’s Order,” they knew this representation

was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the representation

was not false. See supra Resp. ¶ 321. To the extent that more production was needed, this

statement was a mistake. It was later corrected by supplementation. Mr. Collingsworth did

not intend to mislead the Court.

       323.      Citing Mr. Collingsworth’s sworn declaration, “Defendants’ Opposition to

Drummond’s Motion for Sanctions and Cross-Motion to Compel Drummond’s Response to

Defendants’ Second Request for Production of Documents” makes the following representation

to this Court:

                  [T]here are no documents produced by PW or Defendants relating to a
                 payment to Blanco because none was made by PW or Defendants for
                 any purpose. Collingsworth Decl. ¶ 8.

Doc. 114 at p. 16 of 37 (emphasis in original). UNDISPUTED.

       324.      Mr. Collingsworth submitted a declaration signed under penalty of perjury in

support of “Defendants’ Opposition to Drummond’s Motion for Sanctions and Cross-Motion to

Compel Drummond’s Response to Defendants’ Second Request for Production of Documents.”

Doc. 114-2 (Apr. 14, 2014 Collingsworth Decl.). UNDISPUTED.




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       325.   In Paragraph 8 of Mr. Collingsworth’s April 14, 2014 declaration, he testified as

follows: “There are no documents produced by PW or Conrad & Scherer relating to a payment

to Blanco or his criminal lawyers because none was made by them.” Doc. 114-2 (Apr. 14, 2014

Collingsworth Decl.) at ¶ 8. UNDISPUTED.

       326.   At the time Defendants filed their “Opposition to Drummond’s Motion for

Sanctions and Cross-Motion to Compel Drummond’s Response to Defendants’ Second Request

for Production of Documents” and submitted Mr. Collingsworth’s April 14, 2014 sworn

declaration in support thereof, Mr. Collingsworth had offered facilitated and confirmed at least

three payments to Jaime Blanco from Albert van Bilderbeek totaling at least $95,000. Doc. 174-

2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to

the extent it conflicts with Mr. Collingsworth’s explanation of his involvement with Blanco.

See Doc. 174-2, at 4-6.

       327.   On January 9, 2015, Defendants produced documents relating to three payments

to Jaime Blanco, all of which are emails including Mr. Collingsworth.             Doc. 174-20.

DISPUTED because these documents do not reflect that payments were made to Blanco.

       328.   Each of the payments to Blanco was delivered by Ivan Otero, a “key member” of

Defendants’ litigation team. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20; Doc. 69 (Nov. 7, 2013 Collingsworth Decl.) ¶ 51. DISPUTED to the

extent it implies these documents reflect payments to Blanco. Further DISPUTED to the

degree terms like “key member” and “litigation team” are ambiguous. See supra Resp. ¶ 1.

       329.   Mr. Collingsworth’s April 14, 2014 sworn declaration testimony stating that

“[t]here are no documents produced by PW or Conrad & Scherer relating to a payment to Blanco

or his criminal lawyers because none was made by them” was false. Doc. 174-20. DISPUTED




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because neither Parker Waichman nor Conrad & Scherer made a payment to Blanco or his

criminal lawyers. To the extent the representation was incomplete in failing to explain the

whole context, it has been supplemented. Mr. Collingsworth did not intend to deceive the

Court.

         330.   At the time Mr. Collingsworth signed his April 14, 2014 sworn declaration and

testified that “[t]here are no documents produced by PW or Conrad & Scherer relating to a

payment to Blanco or his criminal lawyers because none was made by them,” he knew this

testimony was false. Doc. 174-20. DISPUTED because this representation was not false. To

the extent the representation was incomplete in failing to explain the whole context, it has

been supplemented. Mr. Collingsworth did not intend to deceive the Court.

         331.   Defendants’ representation to this Court that “there are no documents produced

by PW or Defendants relating to a payment to Blanco because none was made by PW or

Defendants for any purpose” was false. Doc. 174-20. DISPUTED because neither Parker

Waichman nor the defendants made a payment to Blanco. To the extent the representation

was incomplete in failing to explain the whole context, it has been supplemented. Mr.

Collingsworth did not intend to deceive the Court.

         332.   At the time Defendants represented to this Court, citing Mr. Collingsworth’s

declaration testimony, that “there are no documents produced by PW or Defendants relating to

a payment to Blanco because none was made by PW or Defendants for any purpose,” they

knew that representation was false. Doc. 174-20. DISPUTED because this representation was

not false.

         333.   On or about April 17, 2014, Mr. Collingsworth sent a letter, on Conrad & Scherer

letterhead, to Mr. Paul Wolf enclosing a draft motion for sanctions against Mr. Wolf pursuant to




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Fed. R. Civ. P. 11 for statements made by Mr. Wolf in an April 6, 2014 court filing in another

case. Ex. 17 (Apr. 17, 2014 Collingsworth Ltr. and draft motion). UNDISPUTED.

       334.    Mr. Collingsworth’s April 17, 2014 letter states that “we are exploring all other

legal options as a result of your inexplicable campaign to make false and outrageous statements

about me.” Mr. Collingsworth also states “I have obtained from Drummond in the discovery

process various communications you had with Drummond’s counsel that include false and

malicious statements.”     Ex. 17 (Apr. 17, 2014 Collingsworth Ltr. and draft motion).

UNDISPUTED.

       335.    The April 17, 2014 letter is signed by Mr. Collingsworth, and the draft motion for

sanctions contains a signature line for Mr. Collingsworth and Eric Hager, both of whom are

attorneys at Conrad & Scherer, LLP. Ex. 17 (Apr. 17, 2014 Collingsworth Ltr. and draft

motion). UNDISPUTED, but a draft, unfiled motion does not have any relevance, and

should not be considered, in a statement of proposed findings of fact.

       336.    Defendants’ draft motion seeks monetary sanctions in the form of “all of the

reasonable attorney’s fees and other expenses directly resulting from [Wolf’s] violation [of Rule

11],” stating that such sanctions are needed in light of “the serious nature of Wolf’s false

accusations, and to send a clear message to any other party to this litigation that may be tempted

to make similarly unfounded accusations.” Ex. 17 (Apr. 17, 2014 Collingsworth Ltr. and draft

motion) at 10 of 24. UNDISPUTED, but a draft, unfiled motion should not properly be

considered in a statement of proposed findings of fact.

       337.    Paul Wolf is a witness in this case. Approximately 7 months prior to the date that

Defendants sent their April 17, 2014 letter and enclosure threatening sanctions against Mr. Wolf,

he provided sworn declaration testimony in support of Drummond’s motion to compel. Doc. 62-




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5 (Sept. 6, 2013 Wolf Decl.). Defendants object to any evidence by Paul Wolf—either his

declaration (which is an improper breach of fiduciary duty) or his deposition (which is

confidential pending determination of privileged statement made). DISPUTED to the

extent this implies that Mr. Wolf is a “fact” witness in this case or has any personal

knowledge sufficient to make him a competent witness to testify as to anything in his

declaration. Further DISPUTED to the extent Drummond is implying that Mr.

Collingsworth’s letter and draft motion was in response to Mr. Wolf’s declaration

submitted in this case.

       338.    Defendants’ draft motion for sanctions against Mr. Wolf states as follows:

               With respect to the false statements Wolf makes with regard to
               “payments” in his Response, first, Wolf falsely states that the documents
               and exhibits in the briefing for the Drummond case, on which Wolf
               purports to rely in listing persons who were “paid” by Collingsworth,
               reveal that Drummond’s expert, R. Bernard Harwood, listed “various
               amounts” paid to “Samario,” “EI Tigre,” and “Jaime Blanco.” Response at
               6. That is absolutely false. Mr. Harwood does not and cannot list any
               amounts paid to these individuals because there were no payments made
               to them by Mr. Collingsworth for any purpose. Any amount of
               investigation by Wolf - including a basic reading of Mr. Harwood’s
               submission - would have revealed the statement about payments to
               “Samario,” “El Tigre,” and “Jaime Blanco” to be false.

                                                  [. . .]

               Wolf’s assertion that Collingsworth paid witnesses who “are all members
               of the AUC,” Response at 8, is false on two levels and plainly lacking in
               evidentiary support. First, as noted, all security assistance related to any
               witness in the Drummond case went to family members of three witnesses,
               Charris, Gelvez and Duarte, to relocate them in response to death threats

Ex. 17 (Apr. 17, 2014 Collingsworth Ltr. and draft motion) at pp. 5-6, 7 of 24. UNDISPUTED,

but a draft, unfiled motion should not properly be considered in a statement of proposed

findings of fact.




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       339.   Defendants’ representation that “there were no payments made to [Samario, El

Tigre or Jaime Blanco] by Mr. Collingsworth for any purpose” was false. Doc. 174-8 (El Tigre

and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp.

4-8; Doc. 174-20. DISPUTED to the extent a draft, unfiled motion has any relevance, or

should properly be considered, in a statement of proposed findings of fact. Further

DISPUTED because the purported “representation” was never made. Further DISPUTED

because Mr. Collingsworth did not make payments “to” Samario, El Tigre, or Blanco.

Instead, Mr. Collingsworth arranged for security payments to be made to the families of El

Tigre and Samario, and Albert van Bilderbeek made payments to Blanco via Otero.

       340.   Defendants’ representation that “all security assistance related to any witness in

the Drummond case went to family members of three witnesses, Charris, Gelvez and Duarte,”

was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED to the extent a draft,

unfiled motion has any relevance, or should properly be considered, in a statement of

proposed findings of fact. Further DISPUTED because the purported “representation” was

never made. Further DISPUTED because Mr. Collingsworth did not make payments “to”

Samario, El Tigre, or Blanco. Instead, Mr. Collingsworth arranged for security payments

to be made to the families of El Tigre and Samario, and Albert van Bilderbeek made

payments to Blanco via Otero. Further DISPUTED to the extent this is contradictory to the

supplemental interrogatory responses filed by defendants relating to witness assistance

payments for the families of El Tigre and Samario.

       341.   At the time Defendants sent Mr. Collingsworth’s April 17, 2014 letter and draft

motion for sanctions to Mr. Wolf, Defendants knew these representations were false. Doc. 174-8




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(El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the purported “representation” was

never made. Further DISPUTED to the extent a draft, unfiled motion has any relevance, or

should properly be considered, in a statement of proposed findings of fact. Further

DISPUTED because the statement was not false.

       342.   Defendants used these false representations to threaten Mr. Paul Wolf - a witness

in this case – with monetary sanctions. Ex. 17 (Apr. 17, 2014 Collingsworth Ltr. and draft

motion). DISPUTED because no “representations” set forth in the draft motion were ever

made. Further DISPUTED because a draft, unfiled motion should not properly be

considered in a statement of proposed findings of fact. Further DISPUTED because Mr.

Collingsworth’s letter had nothing to do with Mr. Wolf’s alleged status as a “witness” in

this case.

       343.   On April 21, 2014, in open court, this Court directly asked the Defendants to

disclose the scope of witness payments in Balcero, and Defendants volunteered Mr.

Collingsworth to respond to the question:

       [MR. WELLS]: …So the basis of their defense is these paramilitaries were telling
       the truth; and not only that, I reasonably believe that they were telling the truth.
       And if he was paying them and it looks like we’re starting to build a record that
       almost everyone has been paid and I think we are going to be able to build a
       record that everyone was paid at some point, then that is very, very relevant to
       whether or not he reasonably believed –

       JUDGE PROCTOR: Let me ask that question to Mr. Smith. Mr. Smith, consult
       with Mr. Collingsworth and let me know this. Is there a witness that I have
       received testimony from south of the Equator that didn't receive a security
       payment?

       MR. SMITH: Can he answer that?

       JUDGE PROCTOR: Sure. I’m trying not to put him on trial. I’m going through
       counsel.



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           MR. SMITH: I appreciate that, Your Honor.

           MR. COLLINGSWORTH: Your Honor, the shortest way to the truth is to ask me
           the question. Thank you. Our papers have made it clear and I will say that a lot
           of the new ambush allegations that they’ve made, each time they make one if we
           get a chance to show you the facts, the facts clear up any misunderstanding of
           what happened. There were exactly in this case three witnesses whose family
           members were moved because they received death threats, and those were
           Charris, Helvez [Gelvez], Guartay [Duarte]. Those are the witnesses whose
           family members were moved. There was an additional person named Halcon who
           was participating in Drummond 1 way out there and I had little to do with. I never
           met the guy.

           JUDGE PROCTOR: Drummond 1 in front of Judge Bowdre?

           MR. COLLINGSWORTH: That’s correct. He was relocated and at some point
           we began also helping him with his relocation assistance, but our interrogatory
           responses to them made clear we took him off the table, I found him not to be
           credible, and he is not a witness. So the three witnesses that I've mentioned,
           Charris, Guartay, and Helvez, are the family members of those people who were
           relocated.

           JUDGE PROCTOR: Are those the only three besides Halcon who received
           security payments?

           MR. COLLINGSWORTH: That’s correct.

Doc. 123 (Apr. 21, 2014 Hrg. Tr.) at 30:1-31:19. UNDISPUTED, as the transcript speaks for

itself.

           344.   As of April 21, 2014, every single witness who had testified in letters rogatory

proceedings in Balcero against Drummond had received payments. Doc. 44-19; Ex. 7 (CS

11416); Doc. 44-13 (PLS 5020); Ex. 8 (CS_TC000179); Doc. 44-15 (PLS 5024-5025); Doc. 44-

6; Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that the families of the

witnesses who provided letters rogatory testimony in Balcero implicating Drummond received

security assistance. DISPUTED because the witnesses who testified in letters rogatory




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proceedings in Balcero did not themselves receive payments from the defendants. Further

DISPUTED because it implies that security assistance was somehow improper. Each of

these witnesses’ families required security payments because, after the witness provided a

declaration, he or his family received serious, credible threats before giving their letters

rogatory testimony. The payments received by Blanco from Albert van Bilderbeek is

explained in defendants’ January 9, 2015 supplemental interrogatory responses. See Doc.

174-2.

         345.   As of April 21, 2014, Samario, El Tigre and Charris were still receiving monthly

payments. Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18. UNDISPUTED.

         346.   Mr. Collingsworth’s representation in open court that there were “exactly” three

witnesses in Balcero – Charris, Duarte and Gelvez – who received payments from the

Defendants was false. Doc. 187-21 (May 5, 2015 Collingsworth Decl.) ¶¶ 10 & 12; Doc. 174-8

(El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that this was inaccurate and incomplete. It

was a mistake that was latter corrected by supplementation. Mr. Collingsworth did not

intend to the deceive the Court and has apologized.

         347.   At the time Mr. Collingsworth represented in open court that there were “exactly”

three witnesses in Balcero – Charris, Duarte and Gelvez – who received payments from the

Defendants, he knew that representation was false.         Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that the statements Mr. Collingsworth did make were inaccurate

and wrong. Doc. 187-21 (May 5, 2015 Collingsworth Decl.) ¶ 10. It is further undisputed

that Mr. Collingsworth did not intend to deceive or show disrespect to the Court. Id. ¶ 2.




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       348.   Mr. Collingsworth’s reply of “[t]hat’s correct” in response to Judge Proctor’s

question of “Are [Duarte, Charris and Gelvez] the only three besides Halcon who received

security payments?” was false. Doc. 187-21 (May 5, 2015 Collingsworth Decl.) ¶¶ 10 & 12;

Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that the statements were inaccurate

and wrong. Mr. Collingsworth has apologized. This was a mistake. He did not intend to

deceive the Court. It has been corrected by supplementation.

       349.   At the time Mr. Collingsworth stated “[t]hat’s correct” in response to Judge

Proctor’s question of “Are [Duarte, Charris and Gelvez] the only three besides Halcon who

received security payments?”, he knew that statement was false. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. DISPUTED. Mr. Collingsworth has filed a declaration in which he states

that he had no adequate explanation for his statement. Doc. 187-21, ¶ 3. He did not intend

to mislead the Court. He has apologized for this mistake. The record has been

supplemented.

       350.   On April 21, 2014, in open court, Defendants’ counsel represented as follows

with respect to Jaime Blanco:

       JUDGE PROCTOR: The $100,000 criminal defense fee. What is the basis -- that
       was troubling to me. Let me hear from the defendant about the basis, the legal
       basis, proper basis, for that.

       MR. SMITH: Well, Your Honor, there was no payment made. . . .

Doc. 123 (Apr. 21, 2014 Hrg. Tr.) at 21:3-9. UNDISPUTED.

       351.   At the time Defendants represented in open court that “there was no payment

made” to Blanco, Defendants knew that Mr. Collingsworth had offered, facilitated and




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confirmed at least three payments to Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the statement is ambiguous

about who allegedly made a payment to Blanco, which neither Parker Waichman nor

defendants did. Further DISPUTED as there is no evidence in that Otero delivered all or

part of any payment from Albert van Bilderbeek to Blanco. Further DISPUTED to the

extent it implies any payments were actually confirmed by defendants as being made to

Blanco or in any specific amount. But, the statement was incomplete and inaccurate. It has

been corrected. Mr. Collingsworth did not intend to mislead the Court.

       352.   Defendants’ representation in open court that “there was no payment made” to

Blanco is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8;

Doc. 174-20. UNDISPUTED to the extent it was incomplete in that the context was not

explained. There were no direct payments from Conrad & Scherer. But, Mr. Collingsworth

understood that Albert van Bilderbeek did agree to pay Blanco for investigative work.

Defendants’ response to this is set forth in detail in their January 9, 2015 supplemental

interrogatory responses. See Doc. 174-2. Mr. Collingsworth has apologized for this

inaccurate statement. The record has been supplemented.

       353.   At the time Defendants represented in open court that “there was no payment

made” to Blanco, they knew that representation was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED in that there was no intent

to deceive. This statement was incomplete in light of the overall context and therefore has

been clarified by supplementation.




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       354.   Mr. Collingsworth was seated at counsel’s table when Defendants’ counsel

represented in open court that “there was no payment made” to Blanco. See Doc. 123 (Apr. 21,

2014 Hrg. Tr.) generally. UNDISPUTED.

       355.   Mr. Collingsworth did not correct Defendants’ counsel’s representation. See Doc.

123 (Apr. 21, 2014 Hrg. Tr.) generally. UNDISPUTED.

       356.   On May 22 and 27, 2014, Defendants produced approximately 698 pages of

documents, which included emails, bank statements, wire transfer forms and expense ledgers.

Ex. 18 (May 22 and 27, 2014 B. Smith emails). UNDISPUTED that defendants produced

documents on May 22 and 27, although the exact number and content of them is not

obvious from this Exhibit.

       357.   Included in Defendants’ May 22 and 27, 2014 document production were

documents which, had they not been redacted, would have reflected the $2,700 monthly

payments to Ivan Otero that Mr. Otero then delivered to El Tigre and Samario. Docs. 174-10,

174-11, 174-18 & 174-19. DISPUTED because there is no evidence that the payments

referenced in these documents were intended for anyone other than Otero, or that Otero

“delivered” these payments to El Tigre or Samario.

       358.   The portions of documents included in Defendants’ May 22 and 27, 2014

production which reflected $2,700 monthly payments to El Tigre and Samario were redacted.

Docs. 174-10, 174-11, 174-18 & 174-19. UNDISPUTED that redactions covered over a

reference to payments to Otero. This was a mistake. It has been corrected. The record has

been supplemented. There was no intent by Mr. Collingsworth to deceive. An effort to

redact privileged “expenses” mistakenly also omitted the payment reference on payments

which defendants have now made clear assisted families of El Tigre and Samario.




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       359.   Mr. Collingsworth and Conrad & Scherer, LLP have a pending case against Dole

Food Company, Inc. in California state court which alleges that Dole collaborated with

Colombian paramilitaries.    See Emperatriz Marina Mendoza Gomez, et al. v. Dole Food

Company, Inc., et al., Case No. BC412620 (Los Angeles County Superior Court).

UNDISPUTED.

       360.   On May 30, 2014, Mr. Collingsworth, on behalf of Conrad & Scherer, LLP,

signed a “Joint Status Conference Statement for June 2, 2014 Further Case Management

Conference.” Ex. 19 (May 30, 2014 filing in Dole). UNDISPUTED.

       361.   In that filing, Dole raised the issue of Defendants’ witness payments, Ex. 19 (May

30, 2014 filing in Dole) at 9, and attached this Court’s April 3, 2014 Order requiring Mr.

Collingsworth and Conrad & Scherer to “maintain and preserve all hard drives and email

accounts, in their present form, which have been utilized by Defendants’ litigation team during

their entire pursuit of litigation against Drummond until further direction of this court.” Doc.

105 (Apr. 3, 2014 Text Order). UNDISPUTED.

       362.   Dole then requested that the California court likewise enter an order requiring

Defendants to preserve all of their documents and emails:

              Dole Food will respectfully request that the Court enter an immediate,
              express evidence preservation order mandating that all documents and
              information—including        electronically-stored    information—in      the
              possession, custody and control of Plaintiffs, Plaintiffs’ counsel, their
              agents and other representatives concerning this matter, including, inter
              alia, documents and evidence reflecting any and all payments to or
              communications with current and former AUC paramilitaries, be
              preserved and requiring that Plaintiffs’ counsel maintain and preserve all
              hard drives and e-mail accounts, in their present form, which have been
              utilized by Plaintiffs’ counsel’s litigation team during their entire pursuit
              of litigation against Dole Food until further order of the Court.




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Ex. 19 (May 30, 2014 filing in Dole) at 11. DISPUTED because Dole simply indicated its

intent to make this request at a future status conference. See Ex. 19, at 11 (“As an initial

matter, at the further status conference in this matter, Dole Food will respectfully request

that the Court enter…”).

       363.    In a section of this filing titled “Plaintiffs’ Response to Dole’s False and

Malicious Accusations,” Mr. Collingsworth and Conrad & Scherer, LLP made the following

representation to the California state court:

               Plaintiffs object to Dole’s attempt to prejudice this Court by repeating
               scandalous and false accusations made regarding Plaintiffs’ counsel by
               hostile and adverse parties. Making an accusation covered by litigation
               privilege is, unfortunately, extremely easy. The litigation process will
               demonstrate that, as Plaintiffs’ counsel have demonstrated in the
               Drummond matter, and will demonstrate in the Wichman matter, the
               allegations that Plaintiffs’ counsel made “payments” to witnesses is
               completely false and malicious. As Dole has improperly burdened the
               Court with unsupported and false allegations, Plaintiffs provide
               Attachment D hereto, which is a brief filed in the Drummond matter, ECF
               No. 68, that demonstrates that no “payments” were made to witnesses in
               that case. Instead, due to the incredibly dangerous conditions in Colombia
               and credible death threats made to family members of three of the many
               witnesses in the Drummond matter, counsel provided security assistance to
               relocate the family members who were threatened with death immediately
               prior to scheduled depositions of those three witnesses.

Ex. 19 (Defendants’ May 30, 2014 filing in Dole) at 12 (emphasis added). UNDISPUTED.

       364.    At the time Defendants submitted this filing in the Dole case, every single witness

who had testified in letters rogatory proceedings in Balcero against Drummond had received

payments. Doc. 44-19; Ex. 7 (CS 11416); Doc. 44-13 (PLS 5020); Ex. 8 (CS_TC000179); Doc.

44-15 (PLS 5024-5025); Doc. 44-6; Doc. 174-8 (El Tigre and Samario payments) Doc. 174-2

(Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED

because the witnesses who testified in letters rogatory proceedings in Balcero did not

themselves receive payments from the defendants. Further DISPUTED because it implies



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that security assistance was somehow improper. Each of these witnesses’ families required

security payments because, after the witness provided a declaration, he or his family

received serious, credible threats before giving their letters rogatory testimony.

       365.    Defendants’ representation that they “provided security assistance” to “family

members of three of the many witnesses in the Drummond matter” was intended to mislead the

court into believing that only three witnesses had received payments. Doc. 174-8 (El Tigre and

Samario payments) Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8;

Doc. 174-20. DISPUTED. Mr. Collingsworth has recently corrected this statement. See

Exhibit J.

       366.    At the time Defendants represented to the California state court that they

“provided security assistance” to “family members of three of the many witnesses in the

Drummond matter,” they intended to mislead the Court into believing that only three witnesses

had received payments. Doc. 174-8 (El Tigre and Samario payments) Doc. 174-2 (Defs’ 2nd Am.

Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. Mr.

Collingsworth has recently corrected this statement. See Exhibit J.

       367.    Defendants also knew that their representations in their November 7, 2013 filing

with this Court (Doc. 68) were false, see Paragraphs 253-267, supra, yet they offered those false

representations to the California state court in support of their grossly misleading representation

that they “provided security assistance” to “family members of three of the many witnesses in

the Drummond matter.” Doc. 174-8 (El Tigre and Samario payments) Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED for the

reasons set forth in Paragraph 253-267. Further DISPUTED because the representations

were not “grossly misleading” and have been corrected.




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       368.   On July 9, 2014, Defendants filed with Special Master Mike Brown “Defendants’

Supplemental Memorandum on the Scope of the Crime-Fraud Exception to Privileged

Materials.” Doc. 174-13. UNDISPUTED.

       369.   The phrase “three witnesses” appears five times in “Defendants’ Supplemental

Memorandum on the Scope of the Crime-Fraud Exception to Privileged Materials.” Doc. 174-13

at 4 & 15. UNDISPUTED.

       370.   “Defendants’ Supplemental Memorandum on the Scope of the Crime-Fraud

Exception to Privileged Materials” makes the following representation to this Court:

              The other supposed source of support for Drummond’s continued
              allegation is documents Defendants themselves provided to Drummond in
              Balcero discovery. Defendants thoroughly have documented these
              “payments” were actually security assistance provided to relocate family
              members of three witnesses who received credible death threats
              attributable to Drummond before the witnesses were to testify against
              Drummond. Ex. 3 at 8-10; Ex. 4 ¶¶ 37-40, 42, 44. The three witnesses
              who received security assistance, Libardo Duarte, Jose Gelvez Albarracin,
              and Jairo Jesus Charris Castro, all first provided a written statement to
              either plaintiffs’ counsel (Defendants herein) or the Colombian authorities.

Doc. 174-13 at 4-5 (emphasis in original). UNDISPUTED.

       371.   At the time Defendants represented to this Court that “[t]he three witnesses who

received security assistance” were “Libardo Duarte, Jose Gelvez Albarracin, and Jairo Jesus

Charris Castro,” Defendants had been making monthly payments to El Tigre and Samario for

more than three years. Doc. 174-8 (El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg.

Tr.) at 56:23-57:18. UNDISPUTED that this was a mistake. It was an incomplete and

incorrect statement. Mr. Collingsworth apologizes for it. He did not mean to deceive the

court, and indeed it was supplemented.

       372.   At the time Defendants represented to this Court that “[t]he three witnesses who

received security assistance” were “Libardo Duarte, Jose Gelvez Albarracin, and Jairo Jesus



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Charris Castro,” Defendants had offered, facilitated and confirmed at least three payments to

Jaime Blanco, totaling in excess of $95,000. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s

3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. See the defendants’ responses to

interrogatories on January 9, 2014 as they relate to Blanco, as well as defendants’

supplemental interrogatories on witness assistance payments provided in this case.

       373.   Defendants’ representation to this Court that “[t]he three witnesses who received

security assistance” were “Libardo Duarte, Jose Gelvez Albarracin, and Jairo Jesus Charris

Castro” is false. Doc. 174-8 (El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at

56:23-57:18; Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. DISPUTED to the extent it implies defendants represented that only three

witnesses received security assistance. Further DISPUTED because these three witnesses,

or their families, did receive security assistance, which was disclosed to Drummond. But

this was incomplete in light of the context. It was a mistake. It has been supplemented. Mr.

Collingsworth did not intend to mislead the Court.

       374.   At the time Defendants represented to this Court that “[t]he three witnesses who

received security assistance” were “Libardo Duarte, Jose Gelvez Albarracin, and Jairo Jesus

Charris Castro,” they knew this representation was false. Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. DISPUTED. This statement by Mr. Collingsworth was a mistake. It was incomplete

and in that sense inaccurate. It has been supplemented. Mr. Collingsworth did not intend

to mislead the Court. See also defendants’ responses to interrogatories on January 9, 2015,

and other supplementation by defendants of interrogatory responses.




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       375.   “Defendants’ Supplemental Memorandum on the Scope of the Crime-Fraud

Exception to Privileged Materials” makes the following representation to this Court:

              Defendants have explained repeatedly they found it necessary to provide
              security and relocation assistance to three witnesses whose lives were
              threatened as a result of providing testimony against Drummond.
              Defendants documented how such assistance was provided only after each
              of the three witnesses first provided Defendants with a statement
              implicating Drummond in war crimes, Defendants produced those
              statements to Drummond during discovery, and then the witnesses and/or
              their families received credible death threats.

Doc. 174-13 at p. 19-20 of 27 (emphasis in original). UNDISPUTED that this statement was

made in the context of explaining that security payments to witnesses, or their families, was

ethical.

       376.   At the time Defendants represented to this Court that they “provide[d] security

and relocation assistance to three witnesses,” Defendants had been making monthly payments to

El Tigre and Samario for more than three years. Doc. 174-8 (El Tigre and Samario payments);

Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18. DISPUTED as defendants did not make

payments to El Tigre and Samario. Instead, security assistance was provided to the family

member of El Tigre and Samario after they received death threats. Further DISPUTED to

the extent Drummond’s statement mischaracterizes the statement in the brief to imply that

only three witnesses received payments.

       377.   At the time Defendants represented to this Court that they “provide[d] security

and relocation assistance to three witnesses,” Defendants had offered, facilitated and confirmed

at least three payments to Jaime Blanco, totaling in excess of $95,000. Doc. 174-2 (Defs’ 2nd

Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. See

defendants’ responses to interrogatories dated January 9, 2015, which set forth the

supplementation on this issue. Doc. 174-2.



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       378.   Defendants’ representation to this Court that they “provide[d] security and

relocation assistance to three witnesses” is false. Doc. 174-8 (El Tigre and Samario payments);

Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

UNDISPUTED that the statement was incomplete and therefore wrong. DISPUTED that

the statement was made with the intent to mislead the Court. The incomplete statement

has been supplemented.

       379.   At the time Defendants represented to this Court that they “provide[d] security

and relocation assistance to three witnesses,” they knew this representation was false. Doc. 174-

8 (El Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. This was a mistake. It was incomplete, but not

intentionally stated to mislead the Court. It has been supplemented.

       380.   On July 11, 2014, Defendants produced to Drummond a “Supplemental” privilege

log. Doc. 174-12 (Defs’ July 11, 2014 “Supplemental” Privilege Log). DISPUTED. The

reason is that the document is was not titled “Supplemental.” The privilege log was not

dated. But, it is undisputed that a privilege log was provided during this time frame See

Exhibit K (July 11, 2014 Email to T. Wells). But, it is not clear that the privilege log

attached at Doc. 174-2 was a new privilege log or simply a compilation of one or more of

the privilege logs enclosed with the July 11 email in Exhibit K.

       381.   Defendants’ July 11, 2014 “Supplemental” privilege log did not include the July

19, 2012 email exchange between Albert van Bilderbeek and Mr. Collingsworth evidencing a

$35,000 wire to Ivan Otero for the benefit of Jaime Blanco. Doc. 174-12 (Defs’ July 11, 2014

“Supplemental” Privilege Log); Doc. 174-20 at CS_TC 2827-2828. UNDISPUTED that this

document was not included on the July 11, 2014 privilege log, although there is no evidence




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defendants were aware of its existence and deliberately withheld it from the log.

Furthermore, this email was eventually logged and/or produced by the defendants in

December 2014 after additional searches were performed and defendants’ privilege log and

documents production set supplemented.

       382.   Defendants’ July 11, 2014 “Supplemental” privilege log did not include the

September 16, 2011 email from Collingsworth to Ivan Otero relating to another payment to

Jaime Blanco from Albert van Bilderbeek. Doc. 174-12 (Defs’ July 11, 2014 “Supplemental”

Privilege Log); Doc. 174-20 at CS_TC001458 (“Dear Ivan, By now you should have received 2

packages. Just to be clear, the one from the brothers you know what that is.”). DISPUTED

because this statement incorrectly states that the referenced email, CS_TC001458, was

from Collingsworth to Otero. It was not, instead, it was from Collingsworth to Susana

Tellez, who was a paralegal at Conrad & Scherer. UNDISPUTED that this email was

mistakenly not included on the July 11, 2014 privilege log, although there is no evidence

defendants were aware of its existence and deliberately withheld it from the log.

Furthermore, this email was eventually logged and/or produced by the defendants in

December 2014 after additional searches were performed and defendants’ privilege log and

documents production set supplemented.

       383.   Defendants’ July 11, 2014 “Supplemental” privilege log did not include the May

22, 2011 email from Mr. Collingsworth to Bill Scherer (Conrad & Scherer, LLP’s managing

partner), Richard Drath (Conrad & Scherer, LLP’s CFO), and lawyers at Parker Waichman, LLP,

in which Mr. Collingsworth states that they will need to pay Samario and El Tigre $2,700 per

month “at least until we get the deps in the can.”      Doc. 174-12 (Defs’ July 11, 2014

“Supplemental” Privilege Log); Doc. 174-8 (El Tigre and Samario payments). UNDISPUTED




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that this email was not on the privilege log. Its absence from the log was the result of a

mistake. But, defendants later supplemented their privilege log and production to fix this

mistake in December 2014 after additional searches were performed and defendants’

privilege log and documents production set supplemented. DISPUTED because it

mischaracterizes Mr. Collingsworth’s statement, which was “Gave Ivan $5,400 for security

costs for him, ET, and Samario. Need to pay $2,700 per month to maintain until we get

deps in the can, and depending on what happens, may need to do more for the families.”

Doc. 174-6, at 2-3. Further DISPUTED because this email was not sent “to” Bill Scherer

and Richard Drath, who were only “cc” recipients of it.

      384.   Defendants’ July 11, 2014 “Supplemental” privilege log did not include the April

20, 2011 email setting up the monthly payments to Samario and El Tigre. Doc. 174-12 (Defs’

July 11, 2014 “Supplemental” Privilege Log); Doc. 174-8 (El Tigre and Samario payments).

UNDISPUTED that this email was not on the privilege log. Its absence from the log was the

result of a mistake. But, defendants later supplemented their privilege log and production

to fix this mistake in December 2014 after additional searches were performed and

defendants’ privilege log and documents production set supplemented. DISPUTED because

the April 20, 2011 email, located at Doc. 174-5, does not “set[] up the monthly payments to

Samario and ET.” Instead, the email establishes a recurring monthly payment “to Ivan

Otero, for security.” Doc. 174-5, at 2 (CS_TC000001).

      385.   On July 18, 2014, Defendants filed with Special Master Mike Brown

“Defendants’ Reply Memorandum on the Scope of the Crime-Fraud Exception to Privileged

Materials.” Doc. 174-14. UNDISPUTED.




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       386.   The phrase “three witnesses” appears nine times in “Defendants’ Reply

Memorandum on the Scope of the Crime-Fraud Exception to Privileged Materials.” Doc. 174-14

at i, 2, 6, 7 & 8. UNDISPUTED.

       387.   “Defendants’ Reply Memorandum on the Scope of the Crime-Fraud Exception to

Privileged Materials” makes the following representation to this Court:

              But the only thing fraudulent about Defendants’ provision of security
              assistance to persons threatened with death by Drummond representatives
              is Drummond’s false and misleading rendition of the record facts.
              Defendants previously documented, based on documents they disclosed in
              discovery in Balcero, that they provided security assistance to relocate
              family members of three witnesses, Libardo Duarte, Jose Gelvez
              Albarracin, and Jairo Jesus Charris Castro.

Doc. 174-14 at 2 (emphasis in original). UNDISPUTED.

       388.   At the time Defendants represented to this Court that they “previously

documented, based on documents they disclosed in discovery in Balcero, that they provided

security assistance to relocate family members of three witnesses, Libardo Duarte, Jose Gelvez

Albarracin, and Jairo Jesus Charris Castro,” Defendants had been making monthly payments to

El Tigre and Samario for more than three years. Doc. 174-8 (El Tigre and Samario payments);

Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-57:18. UNDISPUTED that security assistance

payments had been made to the families of El Tigre and Samario. DISPUTED as

defendants did not make payments to El Tigre and Samario. To the extent that this

statement was incomplete as to the number of total families of witnesses receiving

relocation payments, and incomplete in at least providing the factual context of the

payments by Albert van Bilderbeek, that was a mistake. It has been corrected by

supplementing the record. It was not made to mislead the Court




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       389.   At the time Defendants represented to this Court that they “previously

documented, based on documents they disclosed in discovery in Balcero, that they provided

security assistance to relocate family members of three witnesses, Libardo Duarte, Jose Gelvez

Albarracin, and Jairo Jesus Charris Castro,” Defendants had offered, facilitated and confirmed at

least three payments to Jaime Blanco, totaling at least $95,000. Doc. 174-2 (Defs’ 2nd Am. Resp.

to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. See the defendants’

responses to interrogatories dated January 9, 2015, and other supplemental interrogatory

responses provided in this case.

       390.   Defendants’ representation to this Court that they “previously documented, based

on documents they disclosed in discovery in Balcero, that they provided security assistance to

relocate family members of three witnesses, Libardo Duarte, Jose Gelvez Albarracin, and Jairo

Jesus Charris Castro” is false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20.

DISPUTED to the extent that the statement was correct in a literalist, technical sense that

Conrad & Scherer had directly provided witness assistance payments to only three

witnesses. But it was incomplete to the extent it implied that was all in terms of direct or

indirect witness assistance payments. Furthermore, that response was supplemented after

the Court’s October 15, 2014 broad order on production or logging of witness assistance

payment documents.

       391.   At the time Defendants represented to this Court that they “previously

documented, based on documents they disclosed in discovery in Balcero, that they provided

security assistance to relocate family members of three witnesses, Libardo Duarte, Jose Gelvez

Albarracin, and Jairo Jesus Charris Castro,” they knew this representation was false. Doc. 174-8

(El Tigre and Samario payments); Doc. 174-20. DISPUTED. See supra Resp. ¶ 391.




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       392.    “Defendants’ Reply Memorandum on the Scope of the Crime-Fraud Exception to

Privileged Materials” also makes the following representation to this Court:

               Defendants fully complied with their discovery obligations in Balcero,
               producing evidence of the assistance provided to relocate families of
               threatened witnesses when, but not before, they were required to do so.

Doc. 174-14 at 3. UNDISPUTED.

       393.    At the time Defendants represented to this Court that they had “fully complied

with their discovery obligations in Balcero,” Defendants had not disclosed the payments to

Samario, El Tigre or Blanco. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-2 (Defs’

2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that

defendants did not disclose in Balcero payments made to Blanco or payments made to the

families of El Tigre and Samario, because there was not request in Balcero that would have

captured such payments. DISPUTED to the extent the phrase “had not disclosed” implies

that defendants were in possession of other responsive documents and were simply not

producing them. Further DISPUTED because no payments were made “to” the witnesses

identified here. Further DISPUTED the representation does not purport to identify

particular witnesses and, therefore, the suggestion that this representation was false is not

correct.

       394.    Defendants’ representation to this Court that they had “fully complied with their

discovery obligations in Balcero” is false. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-20. DISPUTED.

       395.    At the time Defendants represented to this Court that they had “fully complied

with their discovery obligations in Balcero,” they knew that representation was false. Doc. 174-

8 (El Tigre and Samario payments); Doc. 174-20. DISPUTED. To the extent objections had




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been made in the Balcero litigation, Collingsworth felt it was correct. He certainly did not

intend to mislead the Court. But in the libel case, the statement was incomplete to the

extent that it did not mention indirect witness assistance through Otero or by the

Bilderbeeks. That was a mistake, particularly given that it would have made no difference

if disclosed and would have avoided the innuendo of failure to disclose. That has been

supplemented.

       396.   “Defendants’ Reply Memorandum on the Scope of the Crime-Fraud Exception to

Privileged Materials” makes the following representation to this Court:

              In an amazing showing of audacity, Drummond’s counsel, in accusing Mr.
              Collingsworth of fraud on the Court, is itself attempting to mislead the
              Court. The objective record of the disclosure of the documents reflecting
              security assistance clearly shows Defendants complied in good faith with
              their discovery obligations in Balcero.

Doc. 174-14 at 4. UNDISPUTED.

       397.   At the time Defendants represented to this Court that “[t]he objective record of

the disclosure of the documents reflecting security assistance clearly shows Defendants complied

in good faith with their discovery obligations in Balcero,” Defendants had not disclosed the

payments to Samario, El Tigre or Blanco. Doc. 174-8 (El Tigre and Samario payments); Doc.

174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.

DISPUTED. To the extent objections had been made in the Balcero litigation,

Collingsworth felt it was correct. He certainly did not intend to mislead the Court. But in

the libel case, the statement was incomplete to the extent that it did not mention indirect

witness assistance through Otero or by the Bilderbeeks. That was a mistake, particularly

given that it would have made no difference if disclosed and would have avoided the

innuendo of failure to disclose. That has been supplemented.




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       398.    Defendants’ representation to this Court that “[t]he objective record of the

disclosure of the documents reflecting security assistance clearly shows Defendants complied in

good faith with their discovery obligations in Balcero” is false. Doc. 174-8 (El Tigre and

Samario payments); Doc. 174-20. DISPUTED. To the extent objections had been made in

the Balcero litigation, Collingsworth felt it was correct. He certainly did not intend to

mislead the Court. But in the libel case, the statement was incomplete to the extent that it

did not mention indirect witness assistance through Otero or by the Bilderbeeks. That was

a mistake, particularly given that it would have made no difference if disclosed and would

have avoided the innuendo of failure to disclose. That has been supplemented.

       399.    At the time Defendants represented to this Court that “[t]he objective record of

the disclosure of the documents reflecting security assistance clearly shows Defendants complied

in good faith with their discovery obligations in Balcero,” they knew that representation was

false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20. DISPUTED.

       400.    “Defendants’ Reply Memorandum on the Scope of the Crime-Fraud Exception to

Privileged Materials” also makes the following representation to this Court:

               Even if there are competing expert views regarding this issue, there is no
               question Defendants’ position in providing security relocation assistance
               to endangered family members of three witnesses is well-supported and
               cannot, by any stretch, be labeled a crime or fraud.

Doc. 174-14 at n.2. UNDISPUTED.

       401.    At the time Defendants represented to this Court that “there is no question

Defendants’ position in providing security relocation assistance to endangered family members

of three witnesses is well-supported and cannot, by any stretch, be labeled a crime or fraud,”

Defendants had not disclosed the payments to Samario, El Tigre or Blanco. Doc. 174-8 (El

Tigre and Samario payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)



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at pp. 4-8; Doc. 174-20. UNDISPUTED that payments made to Blanco or payments made to

the families of El Tigre and Samario had not been disclosed. DISPUTED to the extent the

phrase “had not disclosed” implies that defendants were in possession of other responsive

documents and were simply not producing them. Instead, Mr. Collingsworth simply made

a mistake in parsing discovery requests too finely. But, when the Court issued its October

15, 2014 Order clarifying and broadening the scope of discovery, Mr. Collingsworth and

Conrad & Scherer supplemented any and all discovery responses and privilege logs

necessary to fix the problem and come into complaint with the Court’s Order. Further

DISPUTED because no payments were made “to” the witnesses identified here by the

defendants.

       402.    Defendants’ representation to this Court that “there is no question Defendants’

position in providing security relocation assistance to endangered family members of three

witnesses is well-supported and cannot, by any stretch, be labeled a crime or fraud” was intended

to mislead the Court into believing that only three witnesses had received payments. Doc. 174-8

(El Tigre and Samario payments); Doc. 174-20. DISPUTED.

       403.    “Defendants’ Reply Memorandum on the Scope of the Crime-Fraud Exception to

Privileged Materials” also makes the following representation to this Court:

               Drummond’s complaint it received the documents after the depositions of
               the three witnesses whose families were relocated, and that this was part
               of Defendants’ concealment plan, id. at 5-9, is not only false, but is
               revealed to be the product of Drummond's failure to request such
               information sooner. If Drummond really thinks it needs to examine further
               the three witnesses whose family members were threatened, the remedy is
               to use this proceeding to take their depositions.

Doc. 174-14 at p. 12 of 27 (emphasis added). UNDISPUTED.




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       404.   At the time Defendants represented to this Court that there were “three witnesses”

“whose families were relocated [and] whose family members were threatened,” Defendants had

not disclosed the payments to Samario, El Tigre or Blanco. Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. UNDISPUTED that payments made to Blanco or payments made to the families of

El Tigre and Samario had not been disclosed. Instead, Mr. Collingsworth simply made a

mistake in parsing discovery requests too finely. Mr. Collingsworth had no intent to

deceive Drummond or the Court. And, when the Court issued its October 15, 2014 Order

clarifying and broadening the scope of discovery, Mr. Collingsworth and Conrad &

Scherer supplemented any and all discovery responses and privilege logs necessary to fix

the problem and come into compliance with the Court’s Order. Further DISPUTED

because Defendants made no payments directly “to” the witnesses identified here.

       405.   Defendants’ representation to this Court that that there were “three witnesses

whose families were relocated” and “whose family members were threatened,” is false. Doc.

174-8 (El Tigre and Samario payments); Doc. 174-20. DISPUTED to the extent it implies

defendants represented that only three witnesses received security assistance. Further

DISPUTED because these three witnesses, or their families, did receive security assistance,

which was disclosed to Drummond. See supra Resp. ¶ 404.

       406.   At the time Defendants represented to this Court that that there were “three

witnesses whose families were relocated” and “whose family members were threatened,” they

knew that representation was false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20.

DISPUTED because the representation was not false. See supra Resp. ¶ 404.




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        407.    On July 18, 2014, Mr. Collingsworth signed a declaration under penalty of

perjury which Defendants submitted in support of “Defendants’ Reply Memorandum on the

Scope of the Crime-Fraud Exception to Privileged Materials.” Ex. 20 (July 18, 2014

Collingsworth Decl.). UNDISPUTED.

        408.    In Paragraph 5 of Mr. Collingsworth’s July 18, 2014 sworn declaration, he

testified as follows:

                On January 11, 2013, after a series of meet and confers, the Balcero
                plaintiffs produced the documentation of funds provided to relocate the
                family members of three witnesses, Libardo Duarte (“Duarte”), Jose
                Gelvez Albarracin (“Gelvez”), and Jairo Jesus Charris Castro (“Charris”),
                because they received serious death threats.

Ex. 20 (July 18, 2014 Collingsworth Decl.) ¶ 5 (emphasis in original). UNDISPUTED.

        409.    At the time Mr. Collingsworth testified that “the Balcero plaintiffs produced the

documents of funds provided to relocate the family members of three witnesses, Libardo Duarte

(“Duarte”), Jose Gelvez Albarracin (“Gelvez’), and Jairo Jesus Charris Castro (‘Charris’),”

Defendants had been making monthly payments to El Tigre and Samario for more than three

years. Doc. 174-8 (El Tigre and Samario payments); Ex. 1 (May 21, 2015 Hrg. Tr.) at 56:23-

57:18. DISPUTED as defendants did not make payments directly to El Tigre and Samario.

Otherwise UNDISPUTED, however, to the extent Drummond’s statement, taken in

isolation and out of context, implies that defendants represented only three witnesses

received payments. Witness assistance payments had been made to the families of El Tigre

and Samario for more than three years.

        410.    At the time Mr. Collingsworth testified that “the Balcero plaintiffs produced the

documents of funds provided to relocate the family members of three witnesses, Libardo Duarte

(“Duarte”), Jose Gelvez Albarracin (“Gelvez’), and Jairo Jesus Charris Castro (‘Charris’),”




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Defendants had offered, facilitated and confirmed at least three payments to Jaime Blanco,

totaling in excess of $95,000. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. DISPUTED to the extent it conflicts with Mr. Collingsworth’s

explanation of his involvement with Blanco. See Doc. 174-2, at 4-6.

       411.   Mr. Collingsworth’s sworn testimony that “the Balcero plaintiffs produced the

documents of funds provided to relocate the family members of three witnesses, Libardo Duarte

(“Duarte”), Jose Gelvez Albarracin (“Gelvez’), and Jairo Jesus Charris Castro (‘Charris’),” was

intended to mislead the Court into believing that only three witnesses had received payments.

Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20. DISPUTED. In fact, defendants

have provided information to the Court, and Drummond, clarifying that the families of

more than three witnesses received security assistance. Mr. Collingsworth did not intend to

mislead the Court.

       412.   On July 23, 2014, Special Master Mike Brown held a hearing and the parties

presented oral argument on the crime-fraud exception.      Ex. 21 (July 23, 2014 Hrg. Tr.).

UNDISPUTED.

       413.   Mr. Collingsworth was present at this July 23, 2014 hearing. Ex. 21 (July 23,

2014 Hrg. Tr.). UNDISPUTED.

       414.   Neither Mr. Collingsworth nor Defendants’ counsel attempted to correct Mr.

Collingsworth’s representations that he made in open court on April 14, 2014 that “exactly

three” witnesses in Balcero had been paid. See Ex. 21 (July 23, 2014 Hrg. Tr.). DISPUTED to

the extent it implies that Mr. Collingsworth’s prior statement was raised or even material

to the topics discussed at the July 23 hearing, such that the opportunity to correct that




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statement presented itself. Further DISPUTED because the representation has been

corrected by Mr. Collingsworth.

       415.    Defendants and their counsel continued to represent to this Court that they had

disclosed all of their witness payments to only “three witnesses.” See Ex. 21 (July 23, 2014 Hrg.

Tr.) at 33 (“They are making the argument that they weren’t disclosed. But when you look at

their argument more closely, it’s an argument of timeliness. [. . .] Now each one of these three

witnesses were on record giving declarations about Drummond’s relationship with the AUC

prior to any security payment.”). DISPUTED because it implies that defendants repeated that

“only” three witnesses had received security payments. Further DISPUTED because this

statement was made in the context of responding to Drummond’s crime-fraud arguments,

for which the number of witnesses was not material.

       416.    Defendants’ briefing on the crime-fraud exception, as well as the arguments made

by Defendants’ counsel at the July 23, 2014 hearing, led the Court to believe that Defendants

were representing that they had disclosed all of their witness payments:

               SPECIAL MASTER: When I first showed up in this case and we had
               this hearing in July of last year, it was even told to me, I mean, the briefs
               were very clear to me that only three witnesses had been paid and you
               know, there were several statements. And that day I will say, I mean, Brad
               was not here solo. Mr. Collingsworth was here. You know, there was not
               any -- there was [a] consistent theme of we’ve given you everything.

Ex. 22 (March 24, 2015 Hrg. Tr.) at 137:25-138:10. DISPUTED as the transcript speaks for

itself and this is an improper attempt to characterize opinion testimony as a “fact.”

       417.    On August 14, 2014, Drummond wrote Defendants a letter regarding Defendants’

document productions dated May 22 and 27, 2014, containing many documents which, had they

not been redacted, would have revealed the $2,700 monthly payments to Ivan Otero for the

benefit of El Tigre and Samario. Doc. 174-15 (Aug. 14, 2014 Wells Ltr.). DISPUTED that any



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documents referenced in Drummond’s August 14 letter, or any documents in the

production set to which this letter was responding, revealed that payments to Otero were

“for the benefit” of El Tigre and Samario.

       418.   Drummond’s August 14, 2014 letter asked Defendants to “explain what has been

redacted, including whether any of portions of the redacted emails, bank statements, and other

documents produced on May 22nd and May 27th relate to payments to Colombian paramilitaries

or other witnesses, as well as whether they relate to any money spent or received in connection

with Defendants’ pursuit of litigation against Drummond.” Doc. 174-15 (Aug. 14, 2014 Wells

Ltr.) at p. 3. UNDISPUTED.

       419.   Under many of the redactions in Defendants’ May 22 and 27, 2014 document

production was evidence of Defendants’ payments to El Tigre and Samario. Doc. 174-8 (El

Tigre and Samario payments); Docs. 174-10, 174-11, 174-18 & 174-19. DISPUTED because

defendants did not make payments to El Tigre and Samario. Further DISPUTED because

the redactions covered payments to Otero, with no indication other than “security” as to

what the payments were for.

       420.   Defendants never responded to Drummond’s August 14, 2014 letter. DISPUTED

because the issues raised by Drummond were subsequently addressed in later

correspondence and before the Special Master.

       421.   On September 2, 2014, Drummond and Parker Waichman, LLP entered into a

stipulation whereby Parker Waichman, LLP agreed to produce documents it was withholding on

a claim of privilege in response to Drummond’s subpoena to Special Master Mike Brown for in

camera review.    Doc. 174-16 (Sept. 2, 2014 Stipulation Withdrawing Motion to Compel).

UNDISPUTED.




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       422.   On September 12, 2014, Defendants’ counsel sent a letter to Drummond’s counsel

regarding Drummond’s written discovery requests. Ex. 23 (Sept. 12, 2014 B. Smith Ltr.).

UNDISPUTED.

       423.   Defendants also sent this letter to Special Master Mike Brown. Ex. 23 (Sept. 12,

2014 B. Smith Ltr.). DISPUTED that this letter was “sent . . . to” the Special Master, who

was merely one of six other people copied on the email correspondence transmitting this

letter (which was addressed solely to Mr. Wells).

       424.   In their September 12, 2014 letter, Defendants made the following representation:

              Defendants are not in possession of documents referencing payments to
              witnesses involving Llanos Oil or its principals that are requested in
              Drummond’s 1st RFP No. 62 and 63.

Ex. 23 (Sept. 12, 2014 B. Smith Ltr.) at 4. UNDISPUTED.

       425.   At the time Defendants represented that “Defendants are not in possession of

documents referencing payments to witnesses involving Llanos Oil or its principals,” Defendants

were in possession of multiple documents which reflect that Mr. Collingsworth offered,

facilitated and confirmed at least three payments to Jaime Blanco from Albert van Bilderbeek – a

principal of Llanos Oil. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp.

4-8; Doc. 174-20. DISPUTED as there is no evidence in that Otero delivered all or part of

any payment from Albert van Bilderbeek to Blanco. Further DISPUTED to the extent it

implies any payments were actually confirmed as being made to Blanco.

       426.   Defendants’ representation on September 12, 2014 that they “are not in

possession of documents referencing payments to witnesses involving Llanos Oil or its

principals” is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. DISPUTED because it omits important limiting language in the request




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itself, to which defendants’ counsel was specifically responding. Drummond’s RFP 1-62,

referenced by defendants’ counsel, states IN FULL: “From January 1, 2000 to present, all

documents evidencing any type of payment from Llanos Oil or any of its principals,

representatives, agents or employees to Defendants.” (emphasis added). Therefore,

documents evidencing payments by Llanos Oil, or its principals, to Otero are not within the

scope of this request, since Otero was not a “Defendant.” Drummond’s RFP 1-63, also

referenced by defendants’ counsel, was identical to 1-62, except it sought payments “from

Defendants . . . to Llanos Oil or any of its principles.”

       427.    At the time Defendants made the representation that they “are not in possession of

documents referencing payments to witnesses involving Llanos Oil or its principals,” they knew

that representation was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2)

at pp. 4-8; Doc. 174-20. DISPUTED because the representation was not false.

       428.    In their September 12, 2014 letter, Defendants made the following representation:

               Defendants will supplement its [sic] interrogatory response to
               Drummond’s 3rd Interrogatory No. 2 which relate [sic] to discussion of
               Jaime Blanco’s legal fees. As you are aware, there were discussions
               related to assistance with criminal defense attorneys’ [sic] because of
               additional legal fees directly related to Blanco’s testimony in the human
               rights cases. There are no further discussions related to the payment of
               legal fees associated with any litigation involving Drummond.

Ex. 23 (Sept. 12, 2014 B. Smith Ltr.) at 5. UNDISPUTED.

       429.    At the time Defendants represented that “[t]here are no further discussions related

to the payment of legal fees associated with any litigation involving Drummond,” Defendants

were in possession of multiple documents which reflect that Mr. Collingsworth offered,

facilitated and confirmed at least three payments to Jaime Blanco from Albert van Bilderbeek.

Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20.




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DISPUTED as there is no evidence in that Otero delivered all or part of any payment from

Albert van Bilderbeek to Blanco. Further DISPUTED to the extent it implies any payments

were actually confirmed as being made to Blanco.

       430.    Defendants’ representation on September 12, 2014 that they “[t]here are no

further discussions related to the payment of legal fees associated with any litigation involving

Drummond” is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. DISPUTED as the statement is ambiguous as to whether it is referring to

Blanco’s legal fees, or legal fees for others.

       431.    At the time Defendants made the representation that they “[t]here are no further

discussions related to the payment of legal fees associated with any litigation involving

Drummond,” they knew that representation was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to

Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc. 174-20. DISPUTED because the statement is

ambiguous, not false.

       432.    In their September 12, 2014 letter, Defendants made the following representation:

               Defendants have done its [sic] best to produce or log all responsive
               documents which evidence or refer to security payments to witnesses
               associated with the human rights cases against Drummond.

Ex. 23 (Sept. 12, 2014 B. Smith Ltr.) at 5. UNDISPUTED.

       433.    At the time Defendants represented that they “have done its [sic] best to produce

or log all responsive documents which evidence or refer to security payments to witnesses

associated with the human rights cases against Drummond,” Defendants were in possession

numerous documents which reflected payments to Samario, El Tigre and Blanco that had neither

been produced nor logged.       Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20.




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DISPUTED because payments were not made by defendants “to” Samario, El Tigre, or

Blanco.

       434.   For example, Defendants had neither produced nor logged the May 22, 2011

email from Mr. Collingsworth to Bill Scherer (Conrad & Scherer, LLP’s managing partner),

Richard Drath (Conrad & Scherer, LLP’s CFO), and lawyers at Parker Waichman, LLP, in

which Mr. Collingsworth states that they will need to pay Samario and El Tigre $2,700 per

month “at least until we get the deps in the can.” Doc. 174-8 (El Tigre and Samario payments).

DISPUTED because it mischaracterizes Mr. Collingsworth’s statement, which was “Gave

Ivan $5,400 for security costs for him, ET, and Samario. Need to pay $2,700 per month to

maintain until we get deps in the can, and depending on what happens, may need to do

more for the families.” Doc. 174-6, at 2-3. Further DISPUTED because this email was not

sent “to” Bill Scherer and Richard Drath, who were only “cc” recipients of it.

       435.   At the time Defendants represented that they “have done its [sic] best to produce

or log all responsive documents which evidence or refer to security payments to witnesses

associated with the human rights cases against Drummond,” Defendants had also previously

produced documents that had been redacted to hide their payments to Samario and El Tigre.

Docs. 174-10, 174-11, 174-18 & 174-19. DISPUTED because the redactions did not reflect

payments “to” Samario or El Tigre. Further DISPUTED because there is no evidence the

redactions were made “to hide” the information redacted.

       436.   Defendants’ representation that they “have done its [sic] best to produce or log all

responsive documents which evidence or refer to security payments to witnesses associated with

the human rights cases against Drummond” is false.         Doc. 174-8 (El Tigre and Samario

payments); Doc. 174-20; Docs. 174-10, 174-11, 174-18 & 174-19. DISPUTED.




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       437.   At the time Defendants represented that they “have done its [sic] best to produce

or log all responsive documents which evidence or refer to security payments to witnesses

associated with the human rights cases against Drummond,” they knew this representation was

false. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20; Docs. 174-10, 174-11, 174-18

& 174-19. DISPUTED. As explained in the declaration of Bill Scherer, managing partner of

Conrad & Scherer, brought in a new legal team to ensure that the firm was in compliance

with all discovery orders. Doc. 187-4, ¶ 14.

       438.   On September 23, 2014, Conrad & Scherer, LLP filed a brief and exhibits in a

Florida state court proceeding styled Conrad & Scherer, LLP v. William J. Wichmann, et al.,

Case No. 09-011600(5) (In the Circuit Court of the 17th Judicial Circuit In and For Broward

County, Florida). Ex. 24 (Sept. 23, 2014 Conrad & Scherer filing). UNDISPUTED.

       439.   Included that filing were the sworn affidavits of Bill Scherer and Mr.

Collingsworth, which Conrad & Scherer, LLP represented would “demonstrate privilege and

provide additional explanation.” Ex. 24 (Sept. 23, 2014 Conrad & Scherer filing) at p. 1 of 325.

UNDISPUTED.

       440.   Mr. Collingsworth’s affidavit is dated August 12, 2014, and is signed under

penalty of perjury. Ex. 24 (Sept. 23, 2014 Conrad & Scherer filing) at pp. 151-163 of 325.

UNDISPUTED.

       441.   In Paragraph 19 of his August 12, 2014 declaration, Mr. Collingsworth testified as

follows:

              [T]he sole promise I made to any witness in Balcero case that if they
              testified and they or a family member received a credible death threat, we
              would do whatever we could to provide security or to provide a safe haven
              until such time as the danger subsided.

Ex. 24 (Sept. 23, 2014 Conrad & Scherer filing) at p. 155 of 325. UNDISPUTED.



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       442.   At the time Mr. Collingsworth signed this declaration, he had already offered,

facilitated and confirmed at least three payments to Jaime Blanco from Albert van Bilderbeek

that had nothing to do with security. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. UNDISPUTED that Mr. Collingsworth confirmed these

payments, in unspecified amounts, were made by Albert van Bilderbeek to Otero.

DISPUTED because Mr. Collingsworth did not “offer” or “facilitate” these payments, nor

did he know whether, and how much, of these payments were delivered to Blanco. Further

DISPUTED because the phrase “security” is ambiguous.

       443.   Mr. Collingsworth’s testimony regarding the “sole promise” he made to “any

witness in the Balcero case” is false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs,

No. 2) at pp. 4-8; Doc. 174-20. DISPUTED. Mr. Collingsworth did not make any “promise”

to Blanco regarding assistance for his criminal legal fees. Instead, “Mr. Collingsworth

raised the possibility that Mr. Albert Van Bilderbeek of the Netherlands might be

interested in assisting Mr. Blanco with his attorney’s fees. . . . In that conversation, Mr.

Blanco also asked Mr. Collingsworth if Conrad & Scherer would assist Mr. Blanco in

paying attorney's fees related to his criminal defense. At that time, Mr. Blanco was facing

criminal charges related to the murder of the Drummond mine union leaders near La

Loma, in Cesar Province, Colombia. Mr. Collingsworth communicated to Mr. Blanco that

Mr. Collingsworth thought that Albert Van Bilderbeek would assist Mr. Blanco with funds

towards his attorney’s fees if Mr. Blanco was able to investigate the facts regarding

Drummond’s illegal acquisition of the Llanos Oil Company’s oil concession in Colombia

and provide that information to Mr. Van Bilderbeek.” Document 174-2, at 4-5.




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       444.   At the time he signed his August 12, 2014 declaration, Mr. Collingsworth knew

that his testimony regarding the “sole promise” he made to “any witness in the Balcero case”

was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8; Doc.

174-20. DISPUTED as the testimony is not false. See supra Resp. ¶ 443.

       445.   At the time Conrad & Scherer, LLP offered Mr. Collingsworth testimony

regarding the “sole promise” he made to “any witness in the Balcero case,” it knew this

testimony was false. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-

8; Doc. 174-20. DISPUTED as the testimony is not false. See supra Resp. ¶ 443. Further

DISPUTED as there is no evidence Conrad & Scherer knew it was false.

       446.   In Paragraphs 20 through 26 of his August 12, 2014 declaration, Mr.

Collingsworth testified regarding Defendants’ payments to Charris, Duarte, Gelvez, Halcon and

Claudia Balcero. Ex. 24 (Sept. 23, 2014 Conrad & Scherer filing) at pp. 155-158 of 325.

UNDISPUTED.

       447.   In Paragraph 26 of his August 12, 2014 declaration, Mr. Collingsworth testified

that Claudia Balcero was the “final individual who received security measures.” Ex. 24 (Sept.

23, 2014 Conrad & Scherer filing) at p. 158 of 325. UNDISPUTED.

       448.   At the time Mr. Collingsworth signed his August 12, 2014 declaration and

testified that Charris, Duarte, Gelvez, Halcon and Claudia Balcero were the only people who

were paid, Defendants had been making monthly payments to Samario and El Tigre for more

than three years, and had offered, facilitated and confirmed at least three payments to Jaime

Blanco from Albert van Bilderbeek. Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20.

DISPUTED because it mischaracterizes the testimony, as Mr. Collingsworth did not say the

five people identified here “were the only people” who received any security assistance.




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Further DISPUTED because “Defendants” had not made any payments “to” Samario or El

Tigre. Further DISPUTED because there is no evidence in that Otero delivered all or part

of any payment from Albert van Bilderbeek to Blanco, or that “Defendants” confirmed any

such payments. Further DISPUTED to the extent it implies that Conrad & Scherer was

aware of these payments. See Doc. 231-11, at 44 of 80 (Conrad & Scherer response); Doc.

174-2, at 6-7 (Conrad & Scherer response).

       449.    Mr. Collingsworth’s August 12, 2014 declaration testimony that Charris, Duarte,

Gelvez, Halcon and Claudia Balcero were the only people who were paid was false. Doc. 174-8

(El Tigre and Samario payments); Doc. 174-20. DISPUTED because it mischaracterizes the

testimony, as Mr. Collingsworth did not say the five people identified here “were the only

people” who received any security assistance.

       450.    At the time Mr. Collingsworth signed his August 12, 2014 declaration, he knew

this testimony was false.     Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20.

DISPUTED as the testimony was not false.

       451.    At the time Conrad & Scherer, LLP submitted Mr. Collingsworth’s August 12,

2014 declaration to the Florida state court, it knew that Mr. Collingsworth’s testimony was false.

Doc. 174-8 (El Tigre and Samario payments); Doc. 174-20. DISPUTED as the testimony was

not false.

       452.    On or about October 9, 2014, Parker Waichman, LLP produced the documents

listed on its privilege logs to Special Master Mike Brown. UNDISPUTED.

       453.    Included in those documents was the May 22, 2011 email from Mr. Collingsworth

to Bill Scherer (Conrad & Scherer, LLP’s managing partner), Richard Drath (Conrad & Scherer,

LLP’s CFO), and lawyers at Parker Waichman, LLP, in which Mr. Collingsworth states that they




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will need to pay Samario and El Tigre $2,700 per month “at least until we get the deps in the

can.” Doc. 174-8 (El Tigre and Samario payments); Doc. 174-17 (Parker Waichman, LLP

Privilege Log) at 5. UNDISPUTED that this document was in Parker Waichman’s

document production set to the Special Master. DISPUTED because it mischaracterizes

Mr. Collingsworth’s statement, which was “Gave Ivan $5,400 for security costs for him,

ET, and Samario. Need to pay $2,700 per month to maintain until we get deps in the can,

and depending on what happens, may need to do more for the families.” Doc. 174-6, at 2-3.

Further DISPUTED because this email was not sent “to” Bill Scherer and Richard Drath,

who were only “cc” recipients of it.

       454.   On November 17, 2014, Defendants produced documents, including the above

May 22, 2011 email, which revealed their payments to El Tigre and Samario. Doc. 174-8 (El

Tigre and Samario payments). UNDISPUTED. But, DISPUTED it mischaracterizes Mr.

Collingsworth’s statement in the May 22, 2011 email, which is not included in Doc. 174-8.

Mr. Collingsworth’s statement was, “Gave Ivan $5,400 for security costs for him, ET, and

Samario. Need to pay $2,700 per month to maintain until we get deps in the can, and

depending on what happens, may need to do more for the families.”

       455.   They also re-produced documents that had been previously produced in May

2014, but this time with the redactions of the $2,700 monthly payments removed. Docs. 174-10,

174-11, 174-18 & 174-19. UNDISPUTED.

       456.   On November 24, 2014, Defendants served amended interrogatory answers

concerning their payments to witnesses. While they disclosed that El Tigre and Samario had

been paid, they swore that Jaime Blanco had merely requested a payment but that he had not

been paid. Doc. 174-7 (Defs’ Am. Resp. to Drummond’s 3rd Interrogatories, No. 2) at 11-12.




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DISPUTED that defendants swore that Blanco “had not been paid.” This interrogatory

response explains that Blanco made a request for payment from the defendants. It is silent

on the issue of whether Blanco ever received payments from a third party.

       457.   At the time they signed these sworn interrogatory answers, Defendants knew that

the answer concerning Jaime Blanco was false. Doc. 174-20. DISPUTED.

       458.   On January 9, 2015, Defendants produced documents and served their Second

Amended Response to Drummond’s Third Interrogatories No. 2, which revealed the payments to

Jaime Blanco. Doc. 174-2 (Defs’ 2nd Am. Resp. to Drummond’s 3rd Irogs, No. 2) at pp. 4-8;

Doc. 174-20. DISPUTED to the extent it implies this interrogatory response identified

actual payments; it does not. Instead, it recites Mr. Collingsworth’s understanding that one

payment was made.

    Global Findings of Fact Regarding Defendants’ Witness Payment Misrepresentations

       459.   This Court warned Defendants on multiple occasions of the seriousness of the

situation and its concern regarding Defendants’ witness payments. See Doc. 63 (Oct. 10, 2013

Hrg. Tr.) at 45:23-46:12, 84:4-85:16; Doc. 105 (Apr. 3, 2014 Text Order); Doc. 123 (Apr. 21,

2014 Hrg. Tr.) at 19:6-16, 37:3-4. UNDISPUTED.

       460.   Defendants repeatedly and intentionally misrepresented the scope and extent of

their payments to witnesses in pleadings, interrogatory responses, sworn declarations,

correspondence with the opposing party, and in open court. DISPUTED.

       461.   Defendants misrepresented the scope and extent of payments to witnesses by their

litigation team more than 50 times. DISPUTED.




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       462.    Mr. Collingsworth submitted multiple sworn declarations signed under penalty of

perjury to this and other Courts that contain knowingly false testimony, misrepresenting the

scope and extent of their payments to witnesses. DISPUTED.

       463.    At the time Defendants made their misrepresentations regarding the scope and

extent of their payments to witnesses, they knew those representations were false. DISPUTED.

       464.    On October 10, 2013, this Court made verbal discovery orders in open court

pertaining to the production of documents that reflected Defendants’ witness payments.

DISPUTED.

       465.    On October 15, 2013, this Court entered a written discovery order that required

Defendants to disclose documents and information reflecting the fact of payments to witnesses.

Doc. 64 (Oct. 15, 2013 Order) at 2-3. DISPUTED.

       466.    Defendants repeatedly and willfully violated this Court’s October 10th and

October 15th discovery orders by refusing to produce responsive documents in their possession,

custody and control, and then misrepresenting the existence of those documents for more than a

year. DISPUTED.

       467.    Defendants’ repeated misrepresentations regarding their witness payments were

made with the intent to obstruct and delay the enforcement of this Court’s orders. DISPUTED.

       468.    Defendants’ misrepresentations regarding their witness payments were made in

bad faith and with the intent to disrupt this litigation. DISPUTED.

       469.    Defendants’ misrepresentations regarding their witness payments constitute a

fraud on the Court. DISPUTED.

       470.    Defendants intentionally and improperly altered evidence by redacting portions of

documents that reflected their witness payments. DISPUTED.




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       471.   Defendants’ alteration of evidence was done in bad faith and with the intent to

obstruct and delay the enforcement of this Court’s orders. DISPUTED.

       472.   Defendants’ alteration of evidence was done in bad faith and with the intent to

disrupt this litigation. DISPUTED.

       473.   Defendants’ alteration of evidence constitutes a fraud on the Court. DISPUTED.

       474.   The Court finds Defendants’ explanations for their conduct not to be credible.

DISPUTED.

       475.   The Court also specifically finds that Mr. Collingsworth’s proffered excuses

(Doc. 187-21) for his misrepresentations on April 14, 2014, in open court to be lacking in

credibility. DISPUTED.

       476.   The Court further specifically finds that Mr. Collingsworth’s proffered excuses

for his misrepresentations on April 14, 2014, are contradicted by Defendants’ actions in the

months following the April 14, 2014 hearing, during which time Defendants continued to falsely

represent to this Court, to Drummond, and to other courts that they had disclosed all of their

witness payments and improperly altered evidence that would have revealed additional witness

payments. DISPUTED.

       477.   Defendants’ misconduct and misrepresentations caused unnecessary delay and

greatly increased the burden on this Court. DISPUTED.

       478.   Defendants’ misconduct and misrepresentations caused Plaintiff to incur

excessive and unnecessary attorneys’ fees and costs. DISPUTED.




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               DEFENDANTS PROPOSED FINDINGS OF UNDISPUTED FACTS

   A. Substantial evidence exists that witness assistance payments are not only acceptable
      but needed to get to the truth in the Colombia situation involved in this Litigation.

       1.       Defendants have presented testimony from Javier F. Peña concerning the

heightened threats and risks to personal safety for witnesses in Columbia. See Declaration of

Javier F. Peña. Doc. 187-5.

       2.       Javier F. Peña is a retired, Special Agent in Charge of the Houston Field Division

of the U.S. Drug Enforcement Administration (“DEA”). Doc. 187-5, Peña Decl., ¶ 1.

       3.       Mr. Peña was the primary investigator into the Medellin Cartel and its leader,

Pablo Escobar. Doc. 187-5, Peña Decl., ¶ 3.

       4.       As a result of the investigation, Mr. Escobar was captured and subsequently

killed, and the Medellin Cartel was dismantled. Doc. 187-5, Peña Decl., ¶ 3.

       5.       For his efforts in the investigation, Mr. Peña received the DEA Award of

Excellence and the Colombian Medal of Honor, the highest award given to non-citizens. Doc.

187-5, Peña Decl., ¶ 3.

       6.       Throughout his tenure at the DEA, Mr. Peña was assigned to South American,

Caribbean, and United States posts. Doc. 187-5, Peña Decl., ¶¶ 3-9.

       7.       Mr. Peña’s final position with the DEA was Special Agent in Charge of the

Houston Division. Doc. 187-5, Peña Decl., ¶ 9.

       8.       In that position, he led a team of nearly 600 individuals spread across southwest

Texas. Doc. 187-5, Peña Decl., ¶ 9.

       9.       Mr. Peña is an expert on the Medellin Cartel and Pablo Escobar. Doc. 187-5, Peña

Decl., ¶ 10.




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         10.   The Medellin Cartel employed a “money or bullets” tactic. Doc. 187-5, Peña

Decl., ¶ 22.

         11.   The AUC and the Medellin Cartel worked together beginning in the mid-1980s.

Doc. 187-5, Peña Decl., ¶ 13-15.

         12.   The AUC has been designated as a foreign terrorist organization by the U.S. State

Department. Doc. 187-5, Peña Decl., ¶ 16.

         13.   Witnesses in Colombia will not tell the truth if they do not feel safe. Doc. 187-5,

Peña Decl., ¶ 11.

         14.   Criminal elements in Colombia utilize bribes, threats, and killing to prevent active

and potential witnesses from speaking out against them. Doc. 187-5, Peña Decl., ¶ 12.

         15.   Witnesses, such as confidential informants, who testify against high powered

interests in Colombia face heightened threats and risk their personal safety. Doc. 187-5, Peña

Decl., ¶¶ 18-20; 23.

         16.   Confidential informants and their family receive financial support to provide for

their safety. Doc. 187-5, Peña Decl., ¶ 24.

         17.   This support includes immediate costs of moving and living expenses in a new

city. Doc. 187-5, Peña Decl., ¶ 24.

         18.   The DEA takes great care to preserve confidentiality as a leak could lead to the

murder of criminal informants and innocent individuals. Doc. 187-5, Peña Decl., ¶ 21.

         19.   Confidential informants are more likely to provide truthful information that could

expose them to criminal liability if they have legal representation. Doc. 187-5, Peña Decl., ¶¶ 25,

29-30.




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       20.     Traditional methods of providing financial support to witnesses in the United

States are not safe methods in Colombia. Doc. 187-5, Peña Decl., ¶ 26.

       21.     Providing even a check to a confidential informant’s bank account may not be

safe due to security reasons. Doc. 187-5, Peña Decl., ¶ 26.

       22.     It is sometimes necessary to continue to provide support to confidential

informants even after they provide information. Doc. 187-5, Peña Decl., ¶ 27.

       23.     The United States Embassy in Colombia recognizes that witness intimidation is a

serious issue in the Colombian criminal justice system. Doc. 199-7.

       24.     The United States Embassy in Colombia recognizes that violence and the threat of

violence against witnesses and their families are common tools in Colombia that affect criminal

cases. Doc. 199-7.

       25.     Ivan Otero also presented evidence on his knowledge of threats and the need for

witness assistance in Colombia. See Affidavit of Ivan Otero, (“Otero Aff. “), Doc. 189-2.

       26.     Ivan Otero is a criminal defense lawyer in Colombia. Doc. 189-2, Otero Aff. ¶¶ 1.

       27.     Ivan Otero has been a law professor at a public university in Colombia for 14

years-teaching both criminal law and evidence. Doc. 189-2, Otero Aff. ¶ 1.

       28.     It is Mr. Otero’s experience that there are still serious threats in Colombia to

witnesses to silence them or keep them from telling the truth. Doc. 189-2 Aff. ¶ 15.

       29.     This appears to come from a culture of violence and intimidation related to both

strife between various political groups, and the Medellin cartel, which developed chilling and

effective techniques for silencing witnesses. Doc. 189-2, Otero Aff. ¶ 16.

       30.     Ivan Otero has dealt with the Medellin-style threats of the AUC terrorists on a

first-hand basis. Doc. 189-2, Otero Aff. ¶¶ 15-16.




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       31.     Ivan Otero previously represented various AUC terrorists. Doc. 189-2, Otero Aff.

¶¶ 18-19.

       32.     Ivan Otero discontinued his representation of AUC terrorists after the Colombian

government offered them reduced sentences for fully disclosing the truth. Doc. 189-2, Otero Aff.

¶¶ 20-21.

       33.     The Colombian government instituted the Justice and Peace Program to

demobilize the AUC. Under this program, in return for providing AUC members with reduced

prison sentences, the AUC members would disarm, turn themselves in, and tell the truth about

the crimes they had committed. Doc. 189-2, Otero Aff. ¶ 19.

       34.     In the Justice and Peace program, the demobilized AUC member appears before a

prosecutor and confesses the truth. The AUC member tells everything he knows about crimes

committed related to his membership in AUC. Once the prosecutor corroborates that the

demobilized AUC member has stated the truth, the prosecutor goes before a court and asks the

court to impose the alternative sentence provided for in the Justice and Peace law, which is 5 to 8

years in jail. There is no trial in this program. Doc. 189-2, Otero Aff. ¶ 20.

       35.     Under the Justice and Peace law, if it is determined that a former AUC member

did not tell the truth about his activities, the reduced sentences could be revoked and the member

would be subject to the maximum sentence of forty (40) years under Colombian law. Doc. 189-2,

Otero Aff. ¶ 24.

       36.     While visiting clients, Otero often visited former clients in prison. Doc. 189-2,

Otero Aff. ¶ 26.




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       37.        Various AUC members told Ivan Otero that Drummond was involved in AUC

funding but were hesitant to reveal the truth about Drummond’s involvement with the AUC in

light of threats from Drummond-friendly parties. Doc. 189-2, Otero Aff. ¶¶ 27-31, 32.

       38.        The problem these former AUC members faced was that if Drummond’s activities

in financing the AUC came out, they would be implicated. And if they had not told the truth

about the connection as part of the Justice and Peace program, they could lose their reduced

sentences and would be subject to a maximum sentence of forty (40) years for the crimes they

committed. Doc. 189-2, Otero Aff. ¶ 31.

       39.        Various AUC members indicated that because they faced real threats, they feared

for their families, and before they would testify truthfully under the Peace and Justice Program,

they needed some assurance of protection for their families through relocation. Doc. 189-2,

Otero Aff. ¶¶ 34, 36-37, 38, 43.

       40.        As a result, Ivan Otero personally arranged security and relocation assistance for

these AUC member’s families. Doc. 189-2, Otero Aff. ¶¶ 37, 40, 42.

       41.        Ivan Otero also personally received threats for pursing the underlying cases

against Drummond. Doc. 189-2, Otero Aff. ¶¶ 74-77.

       42.        These threats include death threats and assassination attempts that continue until

this day. Doc. 189-2, Otero Aff. ¶ 76.

       43.        Witnesses often raised concerns about the safety and security of the witnesses’

family if they testified against Drummond. Doc. 174-7 (Defs’ 1st Am. Resp. to Drummond’s 3rd

Irrogs, No. 2).

       44.        It was Defendant Collingsworth’s practice that if a witness raised concerns about

the safety or security of the witness or the witness’ family that Collingsworth would request that




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the witness report any serious threats to Collingsworth or people working with him. Doc. 174-7,

at 4.

         45.   Collingsworth typically had such a conversation with potential witnesses and, at

times, with potential plaintiffs. At times, witnesses, plaintiffs, and potential witnesses or

plaintiffs, reported threats to themselves or their families Doc. 174-7, at 4-5.

         46.   Collingsworth and his team would evaluate and address those reported threats. In

cases where it was decided that there was a serious threat, Defendant Collingsworth would

arrange to provide protection or security necessary to address such threats or Collingsworth

would provide the witness or the witness’ family assistance to find a safe haven. Doc. 174-7, at

5.

         47.   At times, Defendant Collingsworth would reevaluate with the person or family

receiving the protection assistance to determine whether such assistance was still necessary. Doc.

174-7 at 5.

         48.   In many instances, Defendant Collingsworth or his team would travel to meet

witnesses, plaintiffs, and potential witnesses or plaintiffs at their location. At times, witness

plaintiffs, and potential witnesses or plaintiffs incurred costs, such as transportation, lodging, and

food to attend these meetings or other court related proceedings. Doc. 174-7 at 5.

         49.   Defendants typically arranged for that travel and paid for it directly. On those

occasions where a fact witness or potential plaintiff had to travel to meet with Defendants,

Defendants had a general practice to offer to pay for the witness’ travel and related costs because

they typically could not afford such costs themselves. Doc. 174-7 at 5.

         50.   Defendants have also presented testimony from Charles W. Wolfram concerning

the ethics of witness assistance payments made to witnesses or their families to provide for their




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safety and assistance with witness attorney’s fees. See Declaration of Charles W. Wolfram

(“Wolfram Decl.”) attached as Exhibit L.

       51.     Mr. Wolfram addressed whether the Defendants violated Alabama’s ethical rule

3.4(b) limiting the extent to which a lawyer may make payments to witnesses. Wolfram Aff. ¶ 2.

       52.     Mr. Wolfram’s opinion, which he is qualified to make, is that the Defendants have

not violated ethical rule 3.4(b), based merely on witness-assistance payments for relocation or

assistance with attorney fees. To the contrary, it is his opinion that the Defendants acted as would

reasonable and ethical lawyers in the same or similarly extreme circumstances, to the extent they

merely made witness-assistance payments for relocation or assistance with attorney fees.

Wolfram Aff. ¶ 3

       53.     Charles W. Wolfram is the Charles Frank Reavis Sr. Professor Emeritus at the

Cornell Law School where he taught from 1981 until he retired in 1999. Wolfram Aff. ¶ 5.

       54.     Mr. Wolfram continues academic writing as well as consulting with law firms

about issues of legal and judicial ethics. Wolfram Aff ¶ 5.

       55.     Most of Mr. Wolfram’s professional time has been devoted to the subject of legal

and judicial ethics. Wolfram Aff. ¶ 6.

       56.     Mr. Wolfram is the author of the West Publishing treatise Modern Legal Ethics

(1986). Wolfram Aff. ¶ 6.

       57.     He was also the chief reporter for the two-volume Restatement of the Law

Governing Lawyers (2000) (“Restatement”) prepared under the auspices of the American Law

Institute. Wolfram Aff. ¶ 6.




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       58.     Mr. Wolfram’s Modern Legal Ethics treatise and the Lawyers Restatement have

discussed witness-payment issues. Mr. Wolfram’s treatise, the Restatement and other works have

been cited and relied upon by state and federal courts in many states. Wolfram Aff. ¶ 6.

       59.     Mr. Wolfram’s scholarly work has given him a national reputation in legal and

judicial ethics. For example, his Modern Legal Ethics treatise was listed as one of the “Most

Cited Treatises and Texts” published in the prior twenty years in Fred R. Shapiro, The Most-

Cited Legal Books, 29 J. Leg. Studs. 397, 404 (2000), and is the only text on legal ethics cited.

He has submitted expert opinions on a wide range of issues involving legal and judicial ethics in

many state and federal courts, in courts in Australia, Canada, England, and Japan, and in

administrative and arbitration tribunals both in the United States and abroad. Wolfram Aff. ¶ 7.

       60.     Mr. Wolfram extensively considered the issue of witness payments in his

scholarly work preparing the Lawyers’ Restatement. He personally drafted Chapter 7 of the

Lawyers’ Restatement (Representing Clients in Litigation”), including Topic 4 (“Advocates and

Evidence”) which in turn includes section 117 (“Compensating a Witness”) which is directly on

point. In the course of that multi-year process, he extensively discussed and considered issues of

witness payments in professional meetings of the American Law Institute held in connection

with formulating it. That process resulted in the present text of § 117 (Exhibit 4) specifically

dealing with lawyers’ compensating witnesses. Wolfram Aff. ¶ 8 and footnote 2.

       61.     As a choice-of-law matter, potentially either Alabama or Florida’s lawyer code

rules might arguably apply. Both lawyer codes limit the extent to which a lawyer may

permissibly make payments to a fact witness, although they are differently worded. Rule 3.4(b)

of the Alabama Rules of Professional Conduct provides that: “A lawyer must not: . . . (b) Falsify

evidence, counsel or assist a witness to testify falsely, or offer an inducement to a witness that is




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prohibited by law . . . .” (The Alabama wording of the rule is the same as that of the

corresponding ABA Model Rules of Professional Conduct, rule 3.4(b).) Florida Rule 4-3.4(b) is

differently worded, stating that: “A lawyer must not: . . .(b) . . . offer an inducement to a witness,

except that a lawyer may pay a witness reasonable expenses incurred by the witness in attending

or testifying at proceedings . . . and reasonable compensation to a witness for the time spent

preparing for, attending or testifying at proceedings.” Wolfram Aff. ¶ 12.

       62.     Mr. Wolfram assumed that the Alabama Rules would apply in a disciplinary

proceeding in either Alabama or Florida. A reasonable, neutral, and informed Florida-admitted

lawyer or Alabama-admitted lawyer practicing before this Court would reach a similar

conclusion on the question of the ethical propriety of witness payments here, regardless of

whether the Alabama Rules, the Florida Rules, or the ABA Model Rules were held to apply.

Wolfram Aff. ¶ 13.

       63.     Section 117 of the Lawyers’ Restatement provides that “[a] lawyer may not offer

or pay to a witness any consideration: (1) in excess of the reasonable expenses of the witness

incurred and the reasonable value of the witness’s time spent in providing evidence [excepting

for payment of a non-contingent expert-witness fee]; . . .” The section’s Comment b states that

“reasonable expenses incurred by the witness in providing evidence . . . include the witness’s

reasonable expenses of travel to the place of a deposition or hearing or to the place of

consultation with the lawyer and for reasonable out-of-pocket expenses, such as for hotels,

meals, or child care. . . . [A] lawyer may also compensate a witness for the reasonable value of

the witness’s time or for expenses actually incurred in preparation for and giving testimony, such

as lost wages caused by the witness’s absence from employment.” Wolfram Aff. ¶ 16.




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       64.     Drawing the line between permissible and impermissible witness payments

requires accommodating two important considerations that can pull in opposing directions. On

the one hand, a just society with a well-functioning system of adjudication should not leave

lawyers routinely free to make limitless payments to fact witnesses. To put it plainly, a just legal

system must prohibit bribing witnesses. Ours, of course, does. Reining in possible lawyer bribes

to witnesses is obviously the objective of all of the ethical rules limiting witness payments.

Wolfram Aff. ¶ 17.

       65.     On the other hand, a just system must also not pursue an anti-bribery policy with

such single-minded vigor that litigants with just claims cannot prove up their cases because

potential witnesses would face burdensome financial costs or, as here, such serious risk of other

hateful consequences that they would refuse to testify or to spend the time necessary to be

prepared to testify fully and truthfully. Wolfram Aff. ¶ 17.

       66.     The key elements of situations in which lawyers may permissibly make payments

to witnesses are that 1) any payment to a witness should be reasonably related to the witness’s

role of giving testimony, and should not be measured by, for example, the value of the testimony

to the client or lawyer bearing the payments; 2) the size of the payment to the witness should

reflect actual costs borne by the witness; and 3) the costs should not be unreasonably large.

Wolfram Aff. ¶ 19.

       67.     Given the situations of the potential witnesses here, the threats to their and their

families’ welfare were directly related to their possible role as fact witnesses opposing

Drummond and the position of the AUC. Wolfram Aff. ¶ 19, n. 8.

       68.      The cost of serving as witness could require outlays for extra security, relocating

to a distant place of residence, moving expenses, increased cost of communicating with family,




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and the like, and at the same time the witness would be cut off from many customary sources of

employment and income or those could be disrupted. Wolfram Aff. ¶ 19, n. 9.

       69.     In Columbia as well as in the United States, no governmental organization exists

to provide witness protection to potential witnesses to litigation involving civil claims, such as

here. Further, non-governmental organizations (comparable to battered-spouse organizations) do

not exist, either in Columbia or in the United States, to provide protection to threatened

witnesses in civil litigation. Wolfram Aff. ¶ 21.

       70.     Given the situation in Columbia, many reasonable lawyers would, if reluctantly,

agree with the apparent assessment of the Defendant Lawyers that, unless they were prepared to

pay witnesses to protect them and their families against credible threats of violence, there was no

realistic prospect that they would be available to testify—at least to testify truthfully. Wolfram

Aff. ¶ 22.

       71.     Reasonable lawyers would also agree that, if such payments were made, failing to

protect the identities and location of the potential witnesses would risk great harm to those

persons and their families. Wolfram Aff. ¶ 22.

       72.     The Defendant Lawyers therefore confronted a problem that would be highly

unusual for any American lawyer. They had to do so without the benefit of hindsight and in the

heat of active litigation. They had to make the difficult decision whether to abandon their clients

for lack of witnesses willing to testify or to set out on uncharted witness-payment waters.

Wolfram Aff. ¶ 23.

       73.     There was no judicial precedent of definitive assistance at the time the Defendant

Lawyers acted and certainly none dealing with a life-and-death situation such they faced with

their threatened witnesses. Wolfram Aff. ¶ 23.




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       74.     Under Alabama Rule 3.4(b), the prohibition against witness payments does not

bar all such payments, but only those “prohibited by law.” The third paragraph of the

accompanying comment adds the following additional explanation that “[w]ith regard to

paragraph (b), it is not improper to pay a witness’ expenses . . . .” Wolfram Aff. ¶ 24.

       75.     The payments to the potential witnesses covered costs of protecting the witnesses

and their families against threats that were targeted specifically because of those persons’

potential roles as witnesses. Wolfram Aff. ¶ 24.

       76.     Given the close and immediate connection between the Columbian witnesses’

need for protection and the witnesses’ future role as witnesses, there is no basis for

differentiating between those needs and the need, for example, for a hotel room for those same

witnesses should they need to travel to a distant city and remain overnight to testify, which all

authorities accept as legitimate lawyer expenditures, or for costs of child care for a witness’s

child, which the Restatement Comment accepts as similarly legitimate. Wolfram Aff. ¶ 24.

       77.     A very important concern is that defining permissible lawyer expenditures for

witness protection in civil cases not encourage lawyers so disposed to enter routinely into

arrangements to make supposed witness-protection payments to potential witnesses who report a

threat of physical violence should they testify. Such arrangements would pose an unreasonable

risk that the payments were nothing more than covert bribes. Wolfram Aff. ¶ 25.

       78.     This case is distinguished from the typical civil case because here the challenged

payments were made in a highly unusual setting. The alleged threats arose in a context of

rampant lawlessness in Columbia that is both well documented and quite unlike any setting that

one could point to in the United States. The general Columbian setting of out-of-control violence




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also lends independent plausibility to the claim that such threats were made and to the claim that,

without protecting the witnesses, those threats would silence them. Wolfram Aff. ¶ 25.

       79.     Recognizing the validity of the witness payments involved here under Alabama

Rule 3.4(b) would not unleash a flood of abusive payments. Wolfram Aff. ¶ 25.

       80.     While attempted intimidation of witnesses is rather common in criminal cases in

the United States, such attempted intimidation is comparatively quite rare in civil litigation. And,

where such threats are made in civil cases, we can generally assume with confidence that local,

state, or national law-enforcement authorities would actively seek to protect the physical

wellbeing of a witness within the United States. In those typical situations, there would be no

plausible need for civil-suit witness protection. Wolfram Aff. ¶ 25.

       81.     Nongovernmental protection for U.S.-based witnesses in civil cases involving

witnesses living in secure environments seems significantly less necessary than protecting

witnesses living abroad in lawless environments such as that existing in Columbia. It is much

less plausible to claim a similarly compelling need for nongovernmental witness protection in

typical U.S. civil litigation. Wolfram Aff. ¶ 25.

       82.     The facts here are hotly disputed—including on many questions of credibility. It

is not appropriate for an expert to usurp this Court’s role in arriving at conclusions on credibility

issues. Issues of credibility should be left to the jury or other appropriate fact-finder. Wolfram

Aff. ¶ 27.

       83.     The Defendants did not act wrongfully in violation of a lawyer code rule in

making payments to Colombian persons who were potential witnesses in matters that the

Defendant Lawyers were handling and who and whose families faced the threat of violent




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retaliation should they cooperate, merely by making witness-assistance payments for relocation

costs or for assistance in paying attorney’s fees. Wolfram Aff. ¶ 28.

       84.     The Defendant Lawyers also had to act in an unprecedented situation in which

there was nothing like a black-letter rule or certain judicial opinion on point. Wolfram Aff. ¶ 28.

       85.     Defendants also presented testimony from Stephen J. T'Kach, Associate Director

(Ret.) of the Office of Enforcement Operations of the Criminal Division, U.S. Department of

Justice (“DOJ”), Washington, D.C. See Declaration of Stephen J. T’Katch (T’Katch Decl.”)

attached hereto as Exh. M.

       86.     Prior to his retirement in August 2011, Mr. T’Katch worked for DOJ for twenty-

two (22) years. He began as an attorney-advisor in the Electronic Surveillance Unit (“ESU”) in

1990, reviewing requests from federal prosecutors for electronic surveillance orders and

providing legal guidance to Assistant United States Attorneys and law enforcement agents to

assist them in obtaining DOJ approval to seek judicial authorization to conduct federal wiretaps

in major criminal investigations nationwide. T’Katch Decl. ¶ 3.

       87.     In 1992, he was promoted to Deputy Chief of the ESU, where he supervised

attorneys and staff and served as the primary DOJ electronic surveillance instructor for federal

prosecutors and agents. Over the course of this assignment, he was involved in hundreds of

electronic surveillance requests for crimes involving narcotics, gangs, weapons, organized crime,

and public corruption, among others, as well as narco-trafficking activities of various Columbian

cartels. T’Katch Decl. ¶ 3.

       88.      In 1995, Mr. T’Katch was named as an Associate Director of the Office of

Enforcement Operations (“OEO”) and was concurrently appointed by the Department to serve as




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the Director of the Witness Security Program, replacing the creator of the Program who had run

it since the Program’s inception in 1970. T’Katch Decl. ¶ 4.

       89.     In addition to Mr. T’Katch’s Program responsibilities, as an OEO Associate

Director, he was responsible at times for other areas of supervision, including the International

Prisoner Transfer Unit and the Immunities Unit, and served on a number of ad hoc committees

as assigned by the Department. During the absence of OEO leadership, he served as the OEO

director. T’Katch Decl. ¶ 5.

       90.     As director of the Witness Security Program: Mr. T’Katch was responsible for the

daily management, oversight, and coordination of the Program and its $25+ million budget;

formulated and implemented policies and guidelines regarding the use of the Program;

supervised staff and Program activities with the Criminal Division, U.S. Marshals Service, and

Federal Bureau of Prisons; traveled foreign and domestic to review security measures and to

train and meet with international, federal, state, and local officials and program partners; served

as primary domestic and foreign DOJ instructor on Program operations, including before an

international class of foreign officials at INTERPOL headquarters; and testified regarding

Program operations before the U.S. Senate Committee on the Judiciary and the House of

Representatives, Subcommittee on Crime, Committee on the Judiciary. T’Katch Decl. ¶ 6.

       91.     Just prior to his retirement in 2011, Mr. T’Katch also served as Deputy General

Counsel for INTERPOL-Washington. Since then, he has worked as a public-safety consultant

and volunteer deputy sheriff in Wisconsin, where he also serves as interim director of a county

emergency services operation. T’Katch Decl. ¶ 7.

       92.     Mr. T’Katch’s opinion, which he is qualified to make, is that the only way to

ensure witness’s appearance and to obtain truthful testimony in major cases involving violence




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or violence-prone criminal enterprises is to assure the witness that they will be safe before,

during, and after the completion of their testimony. T’Katch Decl. ¶ 8.

       93.     An important part of the Federal Witness Security Program was paying monthly

subsistence payments to witnesses and their families. Neither Mr. T’Katch nor the Department

of Justice viewed any of these subsistence payments or other payments or accommodations made

as a “benefit” to the witness or their family. Those payments did not make the witness or their

family members “whole” given what they had lost. T’Katch Decl. ¶ 9.

       94.     The Federal Witness Security Program is operated on a strict “Need to Know”

basis, with each of the three main agency components sharing only that information necessary

for the other to complete their tasks. T’Katch Decl. ¶ 10.

       95.     The level of violence perpetrated on witnesses and their family members in

Columbia was significantly worse than the situation confronted by witnesses in the United

States. T’Katch Decl. ¶ 11.

       96.     The Federal Witness Security Program was created because of a general failure of

the Department’s Organized Crime Section to bring successful prosecutions against members of

the Mafia; witnesses were reluctant to testify, refused to testify, changed their testimony once up

on the witness stand, or disappeared prior to their testimony. T’Katch Decl. ¶ 13.

       97.     In major cases involving violence or violence-prone criminal enterprises, the only

way to ensure witness’s appearance and to obtain truthful testimony is to assure the witness that

they will be safe before, during, and after the completion of their testimony. T’Katch Decl. ¶ 13.

       98.     The main purpose of the Program is to provide safety and security to witnesses,

which may include protection while in custody and/or relocation with a new identity to a new

community. T’Katch Decl. ¶ 13.




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       99.     Since the Program’s inception in 1970, nearly 10,000 witnesses and another

10,000 family members have been admitted into the Program; no one following the rules of the

Program has ever been injured or killed. T’Katch Decl. ¶ 14.

       100.    The successful operation of this Program is widely recognized as providing a

unique and valuable tool in the government’s battle against major criminal conspirators and

organized crime.      The enviable record of the Program provides important support for law

enforcement and prosecutors by eliminating an obstacle to obtaining testimony and getting to the

truth; something more likely to occur when witnesses feel safe about testifying and reassured for

their security, and their family’s security, post-trial. T’Katch Decl. ¶ 14.

       101.    The mere existence of the Program can itself foster truth telling; witnesses know

in the back of their minds that a mechanism is available to protect them in the event that they are

threatened. This serves as a powerful means to obtain truthful testimony and reassures society

that its government can protect those that have valuable, incriminating information about these

criminal organizations and are willing to come forward and truthfully testify to that effect.

T’Katch Decl. ¶ 14.

       102.    Because of the extreme danger to witnesses and family members, U.S. Marshall

Service (“USMS”) protection requires witnesses to move out of their home and community.

T’Katch Decl. ¶ 18.

       103.    Witnesses and/or family members relocated to a new community are provided

plane tickets or other transportation subsidies allowing them to reach their new community.

USMS will provide initial lodging arrangements until suitable housing can be obtained. Food

and clothing will also be provided by USMS during this transition period. USMS will also

provide certain household furnishings, often times as replacement for items that witnesses were




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forced to leave behind. T’Katch Decl. ¶ 19.

       104.    Because witnesses and their family members generally arrive in the new

relocation community with no employment, income, or assets, and with no support system,

USMS will provide subsistence payments to them. Those subsistence payments were expected

to last for a period of approximately six to eighteen months; however, typically, witnesses were

funded for longer periods. T’Katch Decl. ¶ 20.

       105.    Because each and every Witness Security case is unique, with facts and

circumstances never the same, it is common for witnesses to remain on “funding” longer than

eighteen months. The duration and amount of subsistence payments could vary even among

those witnesses that appear to be similarly situated. T’Katch Decl. ¶ 21.

       106.    Common reasons subsistence payments are extended would be failure to get a job,

under employment-failure to get a job that paid sufficiently, or the need for the witness to get a

further education. T’Katch Decl. ¶ 22.

       107.    It is particularly common for families to be provided extended subsistence

payments in situations where the witness/father was incarcerated.           This is due in part to

difficulties in obtaining suitable employment for the mother, as well as the high cost or

availability of day care. T’Katch Decl. ¶ 23.

       108.    The more difficulties encountered in assimilating a witness into a new

community, the longer the need for subsistence. In some cases, witnesses have remained on

funding for periods exceeding eight years. T’Katch Decl. ¶ 24.

       109.    Some witnesses continue to receive subsistence payments even after getting a job

in their new community. This is done to make sure that witnesses are not discouraged from

getting jobs and to assist them in acclimating to their new community. This also ensures that




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witnesses receive enough money to live. T’Katch Decl. ¶ 25.

       110.    Neither Mr. T’Katch nor the Department of Justice viewed any of these

subsistence payments or other payments or accommodations made as a “benefit” to the witness

or their family. Those payments did not make the witness or their family members “whole”

given what they had lost. T’Katch Decl. ¶ 32.

       111.    The Internal Revenue Service (“IRS”) has issued an opinion that these subsistence

payments and other payments made to the witness by Program officials are neither income nor

benefits and, thus, they are not taxed. T’Katch Decl. ¶ 33.

       112.    The Witness Security Program is operated on a strict “Need to Know” basis, with

each of the three main agency components sharing only that information necessary for the other

to complete their tasks. T’Katch Decl. ¶ 35.

       113.    Despite serving as Director of the Program, with the full power and authority of

the Attorney General to run the Program, Mr. T’Katch was never informed of a relocated

witness’s new location nor did he ask. For Mr. T’Katch, or his immediate staff, to learn of a

relocated witness’s new identity or location resulted in a security breach and the witness would

have to be relocated and provided with a new identity. T’Katch Decl. ¶ 35.

       114.    Likewise, if a federal prosecutor or agent inadvertently learned of a witness’s new

identity or location, such action would constitute a security breach and would require that the

witness again be relocated. T’Katch Decl. ¶ 35.

       115.    Elaborate systems were put into place to ensure that subsistence payments made

to witnesses were kept secret. Knowledge of how payments were made could compromise

witness security. T’Katch Decl. ¶ 36.

       116.    The Program took great care in making disclosures to defense attorneys of




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information about, among other things, subsistence payments and other financial assistance to

the witness to make sure their security was protected. T’Katch Decl. ¶ 36.

       117.    In certain cases, where the information was considered particularly sensitive and

the defendants were considered unusually dangerous, some disclosures were made under seal to

defense attorneys with an order of the court directing that defendant’s counsel not share the

information with the defendant. T’Katch Decl. ¶ 36.

       118.    During the course of running the Witness Security Program for approximately 16

years, Mr. T’Katch reviewed every single application for Program services, which included

dozens of individuals from Colombia or individuals involved with Colombian drug cartels. As

part of the application process, he was informed by law enforcement of the threats to these

individuals in the United States and in their home country. T’Katch Decl. ¶ 38.

       119.    The level of violence perpetrated on witnesses and their family members in

Colombia is significantly worse than the situation confronted by witnesses in the United States.

T’Katch Decl. ¶ 39.

       120.    It was not unusual for Mr. T’Katch to receive calls from sponsoring federal

prosecutors or law enforcement agents informing him of the serious, violent consequences

witnesses would face if denied Program services and forced to return to Colombia. T’Katch

Decl. ¶ 39.

       121.    Also, during personal interviews with a number of these Colombian national

witnesses, Mr. T’Katch was also informed of the high level of violence in Colombia perpetrated

against witnesses or against family members of witnesses once the witness’s cooperation with

authorities was discovered, including spouses and children killed and stuffed in 55-gallon




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barrels, tortured and dismembered family members, and family members who were missing and

presumed killed. T’Katch Decl. ¶ 39.

         122.   Witnesses in Colombia have been forced out of their homes or off farms that were

taken over by cartel members or members of a paramilitary group operating in Columbia.

Resistance was generally met with death. T’Katch Decl. ¶ 39.

         123.   Colombian prosecutors and other high-ranking government have had difficulties

operating a functional, viable, and secure witness security program in Columbia. T’Katch Decl.

¶ 40.

         124.   Columbia faced a situation similar to the United States with the Mafia in the

1960’s; they were confronted with witnesses who were reluctant to testify, refused to testify,

changed their testimony once up on the witness stand, or disappeared prior to their testimony.

T’Katch Decl. ¶ 40.

         125.   As a result of the high level of violence committed by the cartels and others,

combined with incredible levels of cash flowing through the country related to narco-trafficking,

corruption was a serious issue in maintaining the necessary secrecy of such a program. T’Katch

Decl. ¶ 40.

         126.   In addition, many different agencies in Colombia are involved in protection

efforts, and it is not uncommon to have to report the whereabouts of witnesses to government

officials who absolutely had no “need to know.” T’Katch Decl. ¶ 40.

         127.   Colombia, unlike the United States, is not nearly as diverse, and the relocation of

witnesses between cities or regions often raises suspicion or causes some to suspect the

newcomer did not belong there. Columbian officials are often frustrated with their attempts to

successfully relocate witnesses within their country. T’Katch Decl. ¶ 40.




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   B. Not all witnesses testifying against Drummond required witness assistance payments
      and most of those receiving such witness assistance payments have long been
      disclosed

       128.    Defendants have previously disclosed witness assistance payments. Doc. 69,

¶¶ 34-35.

       129.    Drummond first served discovery requests seeking documents about witness

payments related to witness protection in February 11, 2014. Doc. 187-17 (Pl.’s 3rd Reqs. for

Produc.); Doc. 187-18 (Pl.’s 3rd Interrogs.) (together, “3rd requests”).

       130.    Before Drummond served its 3rd Requests, Drummond possessed documents

reflecting payments to Libardo Duarte, Jairo Jesus Charris Castro, Jose Gelvez Albarracin, and

Jose Joaquin Pinzon Diaquiz (“Halcon”). Doc. 69, ¶¶ 34-35.

       131.    These documents were all acquired by Drummond during Balcero. Doc. 69,

¶¶ 34-35.

       132.    Even before Drummond served its 3rd Requests, defendants discussed the fact

that some witnesses had received security payments. Doc. 69, ¶ 34.

       133.    Defendants have continued to disclose witness payments. See Docs, 174-7, 174-

20, 231-11,

       134.    On November 24, 2014, Defendants filed their Amended and Supplemental

Responses and Objections to Plaintiff’s Third Set of Interrogatories Numbers 2 and 8. See Doc.

174-7 (Defs., Am. & Supp. Resp. Drummond’s 3rd ROGS Nos. 2 and 8).

       135.    Defendants’ responses included information regarding witness protection for the

families of Libardo Duarte, Jairo Jesus Charris Castro, Jose Gelvez Albarracin, and Jose Joaquin

Pinzon Diaquiz (“Halcon”) which had previously been disclosed. See Doc. 69, ¶ 34, Doc 174-7.




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       136.    Defendants’ responses also included information regarding payments to Ivan

Otero, the use of funds received by Ivan Otero for witness protection for the families of El Tigre

and Samario, and the proffer of testimony by Jaime Blanco Mayo and his requests for assistance

with his legal fees in his criminal defense. See Doc 174-7.

       137.    In addition Defendants’ responses included information regarding witness

protection to Claudia Jadith Balcero Giraldo, Isnardo Ropero, and Rafael Garcia, among other

information disclosed in the responses. See Doc 174-7.

       138.    On January 9, 2015, Defendants filed their Second Amended and Supplemental

Objections and Response to Plaintiff Drummond Company Inc’s Third set of Interrogatories

Number 2. See Doc. 174-20.

       139.    Defendants’ responses       included additional    information    regarding Terry

Collingsworth’s discussions with Jaime Blanco Maya, including those discussing Albert van

Bilderbeek. The Defendants’ responses also included additional information regarding Rafael

Garcia See Doc. 174-20.

       140.    On March 5. 2015, Defendants filed their Third Amended and Supplemental

Objections and Response to Plaintiff Drummond Company Inc’s Third Set of Interrogatories

Number 2. See Doc. 231-11.

       141.    Defendants’     responses     included     additional     information       regarding

Mr. Collingsworth’s discussions with El Tigre and Samario and monies sent to Ivan Otero, and

additional information regarding a prior request for payment of legal fees by Jaime Blanco

Maya. See Doc. 231-11 at 4-6, 10.

       142.    Defendants’ responses also included additional information regarding Libardo

Duarte’s request for witness protection assistance for his family. See Doc. 231-11 at 8.




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       143.    In addition, Defendants’ responses include information about requests for witness

protection assistance by Jimmy Rubio Suarez for himself and his family. See Doc. 231-11 at 9.

       144.    On March 19, 2015, Defendants filed their Fourth Amended and Supplemental

Objections and Response to Plaintiff Drummond Company Inc’s Third set of Interrogatories

No. 2, attached as Exhibit N.

       145.    Defendants’ responses provided information regarding witness assistance

provided to the Romero plaintiffs by Collingsworth’s co-counsel at the time at the United Steel

Workers of America. See Fourth Amended Responses, Exhibit N.

       146.    On April 28, 2015, Defendants filed their Fifth Amended and Supplemental

Objections and Responses to Plaintiff Drummond Company Inc.’s Third Set of Interrogatories

Number 2, Attached as Exhibit O.

       147.    Defendants’ responses provided additional information regarding witness

assistance provided to Edwin Guzman. See Fifth Amended Responses, Exhibit O.

       148.    Defendants’ responses also provided information regarding witness assistance

provided to “Tukan.” See Fifth Amended Responses, Exhibit O.

       149.    On April 28, 2015 Defendants filed their Amended and Supplemental Objections

and Responses to Plaintiff Drummond Company Inc.’s Fourth Set of Interrogatories No. 2,

attached as Exhibit P .

       150.    Defendants” responses provided additional information regarding Edwin Guzman.

See Amended Response to Fourth Set of Interrogs, Exhibit P.

       151.    On May 6, 2015, Defendants filed their Sixth Amended Supplemental Objections

and Responses to Plaintiff Drummond Company Inc.’s Third Set of Interrogatories Number 2,

attached as Exhibit Q.




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       152.      Defendants’ responses provided additional information regarding witness

assistance provided to Edwin Guzman and his family and witness protection and travel costs for

the Romero plaintiffs. See Sixth Amended Responses, Exhibit Q.

       153.      There are also a number of witnesses who gave testimony adverse to Drummond

that, as far as Mr. Collingsworth is aware, did not receive direct or indirect witness protection

payments from Conrad & Scherer. Exh. B, Collingsworth Supp. Decl. ¶ 20.

   C. There were legitimate reasons for the initially undisclosed witness payments to El
      Tigre, Samario, and Blanco

       154.      Payments made to Jhon Jairo Esquivel Cuadrado (Alias El Tigre) and Alcides

Manuel Mattos Tabares (alias Samario) were made for legitimate purposes. See Doc. 189-2,

Otero Aff. and Doc. 174-20.

       155.      Otero previously represented El Tigre and Samario but did not represent them as

of 2009. See Doc. 189-2, ¶¶ 21-22, 27.

       156.      El Tigre and Samario were former clients that Otero visited in prison. Doc. 189-2,

Otero Aff. 27.

       157.      The reference to Otero in Doc. 69-29, at p. 11 as being “his [El Tigre’s] counsel”

and “his [Samarios’] counsel” was simply a mistake and was made based on Ms. Levesque’s

confusion as to Otero’s role at that time. See Declaration of Christian Levesque attached as

Exhibit A.

       158.      When Otero visited El Tigre and Samario, they complained that they were

receiving threats from one or more people inside the prison who had close ties to Drummond that

they were not to disclose anything about Drummond’s financing of the AUC, or their lives and

the lives of their families would be at risk. Doc. 189-2, Otero Aff. ¶ 28.




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       159.    El Tigre and Samario told Otero that if they did disclose what they knew about

Drummond’s activities, they faced very real threats and feared for their families if they did tell

the truth in order to win reduced sentences under the Justice and Peace Program. Doc. 189-2,

Otero Aff. ¶¶ 32, 34.

       160.    El Tigre and Samario were very afraid of what Drummond would do and needed

to know their families were safe before they were willing to make public the statements they

made about Drummond. Doc. 189-2, Otero Aff. ¶¶ 35, 43.

       161.    Ivan Otero believed the threats were real and severe and made security

arrangements for the families of El Tigre and Samario. Doc. 189-2, Otero Aff. ¶¶ 38, 40, 42.

       162.    Mr. Otero, an attorney and law professor, understood from his experience that his

actions were legal under the laws of Colombia and absolutely necessary under the circumstances

to protect their families. Doc. 189-2, Otero Aff. ¶¶ 41, 42.

       163.    Ivan Otero became co-counsel with Conrad & Scherer in December 2008. Doc.

189-2, Otero Aff. ¶ 11.

       164.    In or around April 2009, Defendants provided Ivan Otero with an $80,000

payment. Doc. 174-7 (Defs’ 1st Am. Resp. to Drummond’s 3rd Irogs, No. 2) at 9-10.

       165.    The payment was a retainer fee.             See Supp. Declaration of Terrence

Collingsworth attached as Exhibit B.

       166.    Collingsworth also met with El Tigre and Samario. Doc. 231-11 (Def’s 3rd Am.

Resp. to Drummond’s 3rd Irogs, No. 2.) at 4.

       167.    In late January 2011, Mr. Collingsworth met with El Tigre in the Barranquilla jail,

at which time El Tigre claimed repeatedly that he was being threatened and told to stop talking




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about Drummond. El Tigre indicated he would not give his final deposition in the Balcero case

until his family was moved, temporarily, to a safe location. Doc. 231-11, at 4.

       168.    Mr. Collingsworth also met with Samario in late January 2011 at a prison in

Valledepar. Samario reported that 45 days previously he had been both threatened and offered

money by the cousin of Alfredo Araujo to stop talking about Drummond. Samario also said that

he was willing to be deposed in the Balcero case but that Mr. Collingsworth first needed to move

his family to a safe place. Doc. 231-11 at 4-5.

       169.    At about the same time, Mr. Collingsworth was told that Ivan Otero, his

co-counsel in the Balcero litigation, was receiving threats and wanted security for the period in

which depositions would be conducted of former AUC witnesses. Doc. 231-11 at 5.

       170.    On or about February 2011, Mr. Collingsworth arranged for $5000 to be sent to

Mr. Otero’s bank account as money for security for Mr. Otero, Samario and El Tigre.

Doc. 231-11 at 5.

       171.    Mr. Otero later explained to Mr. Collingsworth that the money was used to

provide $800 for both Samario and El Tigre for the relocation of their immediate family and

$1000 each for support of their family during one month. Doc. 231-11 at 5.

       172.    The remaining $1400 was used to pay individuals providing protection for Otero.

Doc. 231-11 at 5.

       173.    In or about March 2011, Samario and El Tigre prepared separate written

statements detailing the death threats made against them and their families after they began to

provide information, including information about Drummond’s relationship with the AUC.

Doc. 231-11 at 5.




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       174.    In April 2011, there was discussion about additional payments to Samario, El

Tigre and Otero with additional economic support tied to the level of threats received.

Doc. 231-11 at 5.

       175.    Mr. Collingsworth did not object to a proposal that the families of Samario and El

Tigre would each get $1000 each month for living expenses, as they had after their relocation,

until the depositions were done. Doc. 231-11 at 5. Mr. Collingsworth believed at that time that

the threat to the witnesses who were testifying against Drummond was substantial, but that it

would be reduced after they had given their deposition. Doc. 231-11 at 5.

       176.    Mr. Collingsworth also did not object that Mr. Otero should receive $700 each

month for his own security during that period. On or about April 22, 2011, Conrad & Scherer

sent a $2700 wire to a bank account for Otero. Doc. 231-11 at 5-6.

       177.    In late May 2011, Mr. Collingsworth arranged to pay $5400 to Mr. Otero for two

missing security payments for Mr. Otero, Samario, and El Tigre. Mr. Collingsworth indicated

that the $2700 monthly payments would continue until the depositions were done, and depending

on what happened, more might have to be done for the families as El Tigre and Samario were

rattled by the Drummond attorney’s threats on their families. Doc. 231-11 at 6.

       178.    Beginning in our about June 2011, Conrad & Scherer typically made a wire

transfer of $2700 each month to Mr. Otero’s bank account. At times Mr. Otero was reimbursed

for case expenses as well. Doc. 231-11 at 6.

       179.    Conrad & Scherer did not send monies directly to the families of Samario or El

Tigre. Doc. 231-11. at 6.

       180.    Mr. Collingsworth typically approved the monthly wire to Mr. Otero, which was

sent for his approval along with other regular case expenditures. Doc. 231-11 at 6.




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       181.   The monthly wire approvals requested money only for Mr. Otero-they typically

did not reference Samario or El Tigre. Doc. 231-11 at 6.

       182.   Mr. Collingsworth was not directly aware at the time he approved payments to

Otero of what he did with the money he received for Samario or El Tigre. Mr. Collingsworth

followed a “need to know” approach to security payment assistance to witnesses and their

families. Doc. 231-11. Doc. at 6. Mr. Otero began talking with Jaime Blanco Maya in prison in

February 2011. Doc. 189-2, Otero Aff. ¶ 51.

       183.   Blanco is a former subcontractor for Drummond. Doc. 189-2, Otero Aff. ¶ 53.

       184.   Blanco grew up with Alfredo Araujo Castro, who is an executive with

Drummond. See excerpt of Alfredo Arjaujo deposition, pp. 132:2-12 attached hereto as Exhibit

R.

       185.   Blanco was an important figure in the investigation of Drummond’s activities

with the AUC, because Blanco faced criminal charges that he was involved in the killing of the

Drummond labor union leaders in 2001. Doc. 189-2, Otero Aff. ¶ 54.

       186.   Blanco has since been convicted of participating in the killing of Drummond labor

union organizers. Doc. 189-2, Otero Aff. ¶¶ 62-63, 71.

       187.   Blanco required legal counsel to advise him on the consequences of admitting his

involvement in the murder of the union leaders. Doc. 189-2, Otero Aff. ¶ 69.

       188.   Ivan Otero did not represent Blanco as an attorney in relation to the charges that

he had a role in the murder of the Drummond union leaders. Doc. 189-2, ¶¶ 52, 73.

       189.   Blanco’s company had a contract with Drummond to provide food and other

services to workers at its mine in La Loma. Doc. 189-2, Otero Aff. ¶ 53.




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       190.    Blanco carried out an investigation for the Bilderbeeks related to the claim of

their company, Llanos Oil, against Drummond. Blanco told Otero the van Bilderbeeks owed him

money for his investigative work and asked for help from Otero and Collingsworth to intervene

with the brothers in the hope they would pay what they owed him. Doc. 189-2, Otero Aff. ¶ 64.

       191.    Otero and Collingsworth agreed to contact the van Bilderbeeks to convince them

to pay Blanco what he was owed. Doc. 189-2, Otero Aff. ¶¶ 64-65.

       192.    Otero did not understand Blanco to be conditioning his testimony on receipt of

this money. Doc. 189-2, Otero Aff. ¶ 65.

       193.    Blanco provided truthful testimony about Drummond before he received any

money from the van Bilderbeeks. Doc. 189-2, Otero Aff. ¶ 67.

       194.    The Colombian court that convicted Blanco stated in the record of his judgment

that Drummond, Garry Drummond, Alfredo Araujo Castro, and others should be investigated by

the government of Colombia based on the evidence presented in that case. Doc. 189-2, Otero

Aff. ¶ 71; Doc. 187-6 (Colombian Court Judgment).

       195.    Conrad & Scherer did not make payments to Blanco. Doc. 114-2, ¶ 8.

       196.    Conrad & Scherer did not make payments to Blanco’s criminal defense lawyer.

Doc. 114-2, ¶ 8.

       197.    Parker Waichman did not make payments to Blanco. Doc. 114-2, ¶ 8.

       198.    Parker Waichman did not make payments to Blanco’s criminal defense lawyer.

Doc. 114-2, ¶ 8.

       199.    In regard to Collingsworth’s dealings with Blanco, Mr. Blanco asked Mr.

Collingsworth if Conrad & Scherer would assist Mr. Blanco in paying attorney's fees related to

his criminal defense. Doc. 174-20 at 6.




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          200.   Mr. Blanco sought $150,000 in legal fees at one point prior to May 2011. 231-11

at 10.

          201.   In about July 2011, Mr. Collingsworth met with Mr. Blanco and Ivan Otero in a

prison in Colombia. Doc. 174-20 at 4.

          202.   By that time, Mr. Blanco told Mr. Collingsworth that Mr. Blanco had been talking

to U.S. government officials with the FBI about Drummond’s assistance to the AUC, that Mr.

Blanco had invoices of payments by Drummond to the AUC, that he was providing the computer

records of those invoices to Mr. Collingsworth, and that he wanted Mr. Collingsworth to give his

phone number to Mr. Jim Adkins, the former security chief at Drummond in Colombia, so that

Mr. Blanco could tell Mr. Adkins that Mr. Blanco was going to tell the truth about what

Drummond did to assist the AUC. Doc. 174-20 at 5.

          203.   In that conversation, Mr. Blanco also asked Mr. Collingsworth if Conrad &

Scherer would assist Mr. Blanco in paying attorney’s fees related to his criminal defense. At that

time, Mr. Blanco was facing criminal charges related to the murder of the Drummond mine

union leaders near La Loma, in Cesar Province, Colombia. Mr. Collingsworth advised Mr.

Blanco again how difficult it was for Mr. Collingsworth or his firm to make any such payments

because, of, among other things, ethical reasons. But Mr. Collingsworth communicated to Mr.

Blanco that Mr. Collingsworth thought that Albert van Bilderbeek would assist Mr. Blanco with

funds toward his attorney’s fees if Mr. Blanco was able to investigate the facts regarding

Drummond’s illegal acquisition of the Llanos Oil Company’s oil concession in Columbia and

provide that information to Mr. Van Bilderbeek. Doc. 174-20 at 5.




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       204.    While the idea of payments by Mr. Van Bilderbeek arose in the context of

discussing legal fees, Mr. Collingsworth did not know the details of the final agreement between

Mr. Blanco and Mr. Van Bilderbeek. 174-20 at 5-6.

       205.    Mr. Collingsworth understood that Mr. Van Bilderbeek planned to send a wire to

Mr. Otero of approximately $60,000 in about September 2011 as part of Mr. Van Bilderbeek's

arrangement with Mr. Blanco. Mr. Collingsworth does not recall knowing how much of that wire

was paid to Mr. Blanco, if it was sent at that time, but did understand that Mr. Blanco received a

first payment pursuant to his agreement with Mr. Van Bilderbeek. Doc. 174-20, at 6.

       206.    Mr. Collingsworth also understood that Mr. Van Bilderbeek was going to make a

second payment to Mr. Blanco as part of their agreement, and that Mr. Van Bilderbeek sent a

wire to Mr. Otero in about December 2011. Mr. Collingsworth is not aware of how much of that

wire Mr. Blanco received, if any. Doc. 174-20 at 6.

       207.    Mr. Collingsworth is also aware that Mr. Van Bilderbeek made a payment of

$35,000 to Mr. Otero in about July 2012. Doc. 174-20 at 6.

       208.    These payments were not made by Mr. Collingsworth or Conrad & Scherer.

Doc. 174-20 at 4-8.

   D. Terry Collingsworth’s disclosure misstatements were a mistake of judgment, not in
      bad faith, and any failure to disclose was fixed.

       209.    Terry Collingsworth is a partner in the Washington D.C. office of Conrad &

Scherer. See Exh. B, Supp. Collingsworth Decl. ¶ 1.

       210.    Terry Collingsworth has been an attorney for 32 years. Virtually all of his work

has been in the area of human rights. Doc. 187-21, Collingsworth Aff., ¶ 2.

       211.    Collingsworth works to help people who have been severely injured by violations

of international human rights norms. Doc. 187-21, Collingsworth Aff., ¶ 2.



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       212.    Mr. Collingsworth grew up in Willoughby, Ohio. He graduated from Lakeland

Community College in Lake County, Ohio with an Associate of Arts in 1972, then received a

Bachelor of Arts from Cleveland State University in 1974, graduating summa cum laude.. He

was the first person in his family to attend college and he supported himself throughout college

working full-time as an overhead crane operator in Cleveland, Ohio.. See Exh. B, Collingsworth

Supp. Decl. ¶ 2.

       213.    In 1982, Mr. Collingsworth received his law degree from Duke University. He

was a member of the law review and the Order of the Coif, graduating with highest honors. See

Exh. B, Collingsworth Supp. Decl. ¶ 3.

       214.    Mr. Collingsworth taught Constitutional and Employment law at several law

schools including Loyola Marymount, University of Utah, and Cleveland State University. See

Exh. B, Collingsworth Supp. Decl. ¶ 4

       215.    Before joining Conrad & Scherer in 2008, Collingsworth was General Counsel

and Executive Director of the International Labor Rights Forum (ILRF), where he directed the

ILRF’s legal and advocacy work and also developed legislative proposals. He is also the founder

and Executive Director of the International Rights Advocates. See Exh. B, Collingsworth Supp.

Decl. ¶ 5-6.

       216.    Mr. Collingsworth opened the Conrad & Scherer office in Washington D.C. in

approximately May 2008. See Exh. B, Collingsworth Supp. Decl. ¶ 7.

       217.    The Conrad & Scherer office headed up by Mr. Collingsworth is small. It

primarily operates separately from the main Fort Lauderdale office of Conrad & Scherer and is

almost exclusively focused on litigating human rights cases. See Exh. B, Collingsworth Supp.

Decl. ¶ 8.




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       218.    The Washington D.C. staff working on cases does not spend a lot of their time on

cases originating out of the Fort Lauderdale office. Likewise, cases handled in Fort Lauderdale

are generally handled by personnel there with only marginal input from staff in the Washington

D.C. office. . See Exh. B, Collingsworth Decl. ¶ 8.

       219.    Virtually all of the cases in the D.C. office are human rights cases in which

Collingsworth represents foreign nationals who have been injured by U.S. multinationals in their

offshore operations. In all of these cases, the large defendant companies retain one or more large

law firms to defend them, and Collingsworth and the D.C. office litigate in the challenging

environment in which their opponents have virtually unlimited resources and they represent

mostly indigent clients with a small team of dedicated and overworked human rights lawyers.

See Exh. B, Collingsworth Decl. ¶ 9.

       220.    Collingsworth often relies on interns and volunteers from the human rights

organizations he works with to help with his cases. See Exh. B, Collingsworth Supp. Decl. ¶ 10.

       221.    Currently, Collingsworth is lead counsel for the plaintiffs in         Balcero v.

Drummond Co., Inc., No. 2:09-cv-1041-RDP (N.D. Ala. filed May 27, 2009); Baloco v.

Drummond Co., Inc., No. 7:09-cv-0557-RDP, (N.D. Ala.); and Melo v. Drummond Co., Inc., No.

2:13-cv-0393-RDP (N.D. Ala. filed Feb. 26, 2012). See Exh. B, Collingsworth Supp. Decl. ¶ 11.

       222.    He also currently represents clients in major cases against Exxon Mobil, Chiquita

Brands International, Dole Food Company, Occidental Petroleum, Nestle USA, Inc., Archer

Daniels Midland Company, Cargill Incorporated, Doe Run and DynCorp. See Exh. B,

Collingsworth Decl. ¶ 11.




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       223.    The Drummond cases are complex cases dealing with allegations that Drummond,

collaborated with paramilitary terrorists in Colombia to murder and torture trade union leaders

and other advocates for working people. See Exh. B, Collingsworth Supp. Decl. ¶ 12.

       224.    These cases are particularly complicated because they are deal with the laws of a

foreign country and witnesses subject to threats from paramilitary terrorists. See Exh. B,

Collingsworth Supp. Decl. ¶ 13.

       225.    Although these cases concern matters in Colombia, Mr. Collingsworth does not

speak Spanish. Mr. Collingsworth works through employees that speak Spanish or third party

translators when he deals with witnesses and attorneys in Spanish speaking countries. See

Exh. B, Collingsworth Decl. ¶ 14-15.

       226.    Mr. Collingsworth is before the court on Drummond Inc.’s Renewed Motion for

Sanctions and Request for Evidentiary Hearing filed on February 2, 2015. See Doc. 180.

       227.    This Court warned Defendants on multiple occasions of the seriousness of the

situation and its concern regarding Defendants’ witness payments. See Doc. 63 (Oct. 10, 2013

Hrg. Tr.) at 45:23-46:12, 84:4-85:16; Doc. 105 (Apr. 3, 2014 Text Order); Doc. 123 (Apr. 21,

2014 Hrg. Tr.) at 19:6-16, 37:3-4.

       228.    Mr. Collingsworth made statements to the Court on April 21, 2014 regarding

security payments that were inaccurate and wrong. Doc. 189-21, Collingsworth Aff., ¶ 10.

       229.    Specifically, Mr. Collingsworth’s response, “That’s correct,” to the Court’s

question whether the three witnesses he identified were the only ones who had received security

payments, was not accurate. Doc. 189-21, Collingsworth Aff., ¶ 12.

       230.    Mr. Collingsworth has apologized and promised to be very careful not to let it

happen again. Doc. 189-21, Collingsworth Aff., ¶ 7.




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       231.    Mr. Collingsworth represented that he was not expecting to make any statements

at the hearing and responded with the names of Libardo Duarte, Jose Gelvez Albarracin, and

Jairo Jesus Charris Castro as families who received security payments because he was familiar

with the facts of security for these witnesses given he had personally been involved in setting it

up. Doc. 189-21, Collingsworth Aff., ¶¶ 9, 11.

       232.    Mr. Collingsworth acknowledges that when he stood up and volunteered the

answers in response to a question to his counsel, Bradley Smith, Collingsworth had not reviewed

the factual record of the case, including all discovery requests and objections and did not recall

the security issues for Otero, El Tigre, and Samario. Doc. 189-21, Collingsworth Aff., ¶¶ 9, 13.

       233.    Mr. Collingsworth’s inaccurate statements have had serious repercussions for

himself, his cases, his firm, and his family. See Exh. B, Collingsworth Decl. ¶ 22.

       234.    As a human rights defender for most of his career, Mr. Collingsworth has always

worked for relatively little income. He currently receives a small salary that allows him to

maintain his family. His wife is an artist who brings home little income. He has two kids in

college and cannot withstand a significant financial penalty. See Exh. B, Collingsworth Supp.

Decl. ¶ 23.

       235.    Mr. Collingsworth’s incorrect statements have also caused problems in other

human rights cases he is involved in, particularly the Dole and Chiquita cases where the

defendants and their counsel are closely coordinating their tactics with Drummond. See Exh. B,

Collingsworth Decl. ¶ 24.

       236.    Human rights plaintiffs in multiple cases could be prejudiced if Mr. Collingsworth

is sanctioned before trial on the merits in this case. Sanctions would have an impact on Mr.




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Collingsworth’s ability to effectively and vigorously prosecute these other cases. See Exh. B,

Collingsworth Decl. ¶ 25.

       237.    Mr. Collingsworth accepted many of the human rights cases that he currently has

because most other lawyers would not take on these large, risky cases and the victims needed

effective representation. If he is not able to represent them effectively, he does not think the

victims could find other counsel to step in. See Exh. B, Collingsworth Decl. ¶ 25.

       238.    This is not the first time an opponent has sought sanctions against Mr.

Collingsworth, but to date, no sanctions against him have been upheld on appeal. See Exh. B,

Collingsworth Decl. ¶ 26.

       239.    Mr. Collingsworth did not intentionally seek to misrepresent the scope and extent

of witness assistance payments to witnesses in his pleadings, interrogatory responses, sworn

declarations, correspondence with the opposing party, and in open court.

       240.    There was no litigation benefit in failing to disclose witness assistance payments

because it was obvious the Court would eventually require disclosure.

       241.    Mr. Collingsworth’s inaccurate representations caused minimal delay and have

not significantly increased the burden on this Court and Drummond, except for litigation related

to Drummond’s sanctions motion.

   E. The Court’s extremely broad and clear October 15, 2014 was the order that set out
      what was required to be produced or put on a privilege log

       242.    The Court’s second chance October 15, 2014 order was the first time

Drummond’s definitions of “payments to witnesses” and “Columbian witnesses” became the

operative definitions in this case. See Doc. 151, ¶ 9, n.2.

       243.    The definition of “payments to witnesses” thus became:




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       “Payments to witnesses” is meant to encompass – in the broadest sense possible –
       any documents or communications that relate to witness payments or any form of
       assistance to witnesses. This includes all documents relating to requests for
       payment, offers of payment, refusals to pay, actual payments, contemplated
       payments, suggestions of payment, proposals of payment, the logistics of
       effectuating payments, problems (legal, logistical, or otherwise) with payments,
       amounts of payments and rejections of offers of payments. “Payments to
       witnesses” is not in any way limited to “security” payments; rather it encompasses
       any payment or benefit (monetary or non-monetary) whatsoever to any witness,
       whether contemplated or completed, regardless of what any party contends was
       the purpose of the payment. Additionally, “payments to witnesses” is not limited
       to direct payments to witnesses, but also includes any benefit or things of value
       offered or provided to, or requested by, witnesses’ lawyers, family members,
       “contacts”, intermediaries, friends, girlfriends, paramours, associates or agents, or
       payments actually made to a security firm or some other person or entity
       providing security.

See Doc. 151, ¶ 9, n.2.

       244.    The definition of “Colombian witnesses” became “any person claiming to have

knowledge of Drummond’s alleged collaboration with paramilitaries and includes people of any

nationality. ‘Columbian witnesses are not meant and should not be limited to witnesses who are

citizens or residents of Columbia.” Doc. 151, ¶ 9, n.1.

       245.    No previous orders set forth these extremely definitions. Doc. 64 at 3-4.

       246.    Drummond first served discovery requests seeking documents about witness

payments related to witness protection in February 11, 2014. Doc. 187-17 (Pl.’s 3rd Reqs. for

Produc.); Doc. 187-18 (Pl.’s 3rd Interrogs.) (together, “3rd Requests”).

       247.    Prior to the 3rd Requests in February 2014, there were no specific requests directly

and clearly seeking all documents relating to witness assistance payments, Doc. 187-16 (Pl’s

1st & 2nd Reqs. for Produc. & Interrogs.).

       248.    Nevertheless, on July 1, 2013, Drummond filed a motion to compel discovery

responses. Doc. 43.




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       249.    Drummond’s motion to compel sought to compel discovery “relevant to payments

to . . . witnesses.” Doc. 43 at 14; Doc. 187-16 (Pl’s 1st & 2nd Reqs. for Produc. & Interrogs.).

       250.    None of the requests sought information regarding “payments to witnesses.”

Doc. 187-16 (Pl’s 1st & 2nd Reqs. for Produc. & Interrogs.).

       251.    In its reply brief on the sanctions motion, Drummond argued that four requests

listed in the Motion to Compel sought information about witness payments: 1-43, 1-64, 1-71, and

2-8. Doc. 193, at 5-7.

       252.    Three of the requests, Requests 1-43, 1-64, and 2-8, do not seek information about

witness payments, and two of those, Requests Nos, 1-43 and 1-64, were not identified in

Drummond’s Motion to Compel as seeking witness payments. Doc 43 at 14, 20, Doc. 43-10 at

23, 29, Doc 43-12 at 4.

       253.    Request No. 1-71 makes no mention of witness payments. Doc. 43-10 at 11.

       254.    Defendants opposed the motion to compel and expressly argued that Drummond

had not served a discovery request seeking witness payments. Doc. 46 at 20; Doc. 114 at 4.

       255.    The parties’ joint report filed with the Court following the August 2013

teleconference with the Court did not reflect an agreement by the defendants to change Request

No. 1-71 in the manner proposed by Drummond. Doc. 60 at 3.

       256.    Defendants noted that several statements in the proposed report were not accurate

and failed to account for defendants’ objections and limitations. Doc. 210-26.

       257.    Counsel for Defendants requested that Drummond “remove all references to me

being agreeable to limitations or voicing no objections” to Drummond’s proposed limitations.

Doc. 210-27.




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       258.    Drummond revised its proposed joint report to state that “Drummond agreed” to

limit Request No. 71. Doc. 210-28.

       259.    Counsel for Defendants memorialized his understanding that Request No. 1-71

seeks “all communications regarding the allegation that Drummond collaborated with the AUC

or the accusation that Drummond is guilty of human rights violations” and that Drummond has

agreed to “limit this request with respect to co-counsel.” Doc. 62-4 at 4.

       260.    The Court’s October 15, 2013 Order states “[i]nterrogatories and requests for

production on payments to witnesses are not overbroad and are properly within the scope of

discovery.” Doc. 64 at 3-4.

       261.    The Court’s October 15, 2013 Order states, “For any documents (payments to

witnesses or research regarding payments to witnesses) withheld on grounds of attorney client

privilege or work product, the Magistrate Judge will examine the privilege log and related

documents and will make independent findings for each issue remaining in dispute.” Doc. 64 at

4.

       262.    Drummond’s 3rd Requests were the first discovery requests to include a

definition of “payments” that was ultimately included in the Court’s October 15, 2014 Order.

Doc. 187-17, ¶ 18; Doc. 187-18, ¶ 14.

       263.    Defendants objected to Drummond’s definition of “payments.” Doc. 187-19,

¶ 2 & pg. 3 (Defs.’ Resps. & Objections to Pl’s 3rd Reqs. for Produc.); Doc. 187-20, ¶ 2 & pg. 2

(Defs.’ Resps. & Objections to Pl’s 3rd Interrog.).

       264.    Drummond did not file a motion to compel responses to Drummond’s Third

Requests for production. Doc. 104.




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       265.    Drummond’s definitions of “payments to witnesses” and “Colombian witnesses”

did not become the operative definitions in this case until the Court issued its October 15, 2014

Order concerning privilege logs. Doc. 151, ¶ 9, n.2.

   F. Huge efforts have been undertaken after the Court’s October 15, 2014 order to
      disclose witness assistance payments and reasonable steps have been taken to
      protect the evidence.

       266.    The Court’s October 15, 2014 order provided broad new parameters for the

documents the parties were required to produce and/or log in the case. The October 15, 2014

Order followed months of negotiations between the parties about the scope of the requirements.

The October 15, 2014 Order required that the parties comply with its terms by December 12,

2014. Declaration of Christopher Neiwoehner attached hereto as Exhibit S at ¶ 3.

       267.    Conrad & Scherer hired a new legal team to ensure that Conrad & Scherer was in

compliance with any discovery order. Doc. 187-4, Scherer Aff., ¶ 14.

       268.    New counsel for Defendants entered the case shortly after the October 15, 2014

Order. Lead counsel Kenneth McNeil and other lawyers with Susman Godfrey filed their

appearances on November 13, 2014.         The first attorney for the Spotswood, Sansom, and

Sansbury, LLC firm, Robert Spotswood, did not file his appearance until November 13, 2014 as

well. The first lawyer from Steptoe & Johnson to file an appearance, Christopher Niewoehner,

did so on July 30, 2014. Niewoehner’ Decl., Exh. S, ¶ 4

       269.    To comply with the Court’s October 15, 2014 Order, counsel for Defendants

undertook a massive review of documents and data kept by Conrad & Scherer, LLP, Terrence

Collingsworth, and/or International Rights Advocates. Niewoehner’ Decl., Exh. S, ¶ 5

       270.    The review by the new team of lawyers had to be done in a matter of a few weeks

and required a series of highly costly steps. Niewoehner’ Decl., Exh. S, ¶ 6




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        271.   Conrad & Scherer devoted substantial resources and efforts to make sure all

discovery responses were complete. Doc. 187-3, Frevola Aff. ¶ 13.

        272.   In order to conduct an expansive search in response to the Court’s October 15,

2014 Order, Conrad & Scherer’s data had to be transferred into separate searchable data base

system. Doc. 187-3, Frevola Aff., ¶ 6.

        273.   Conrad & Scherer’s computer system is designed to handle needs of a traditional

law practice, including separate programs and systems for firm file case management, emails,

back office administration and discovery document management. Doc. 187-3, Frevola Aff., ¶ 5.

        274.   Conrad & Scherer cannot “push a button” and quickly respond to vast document

requests involving multiple cases over a number of years. Doc. 187-3, Frevola Aff., ¶ 4.

        275.   Conrad & Scherer’s computer system is not designed to do massive and complex

searches across the varied programs and servers that make up the system. Doc. 187-3, Frevola

Aff., ¶ 3.

        276.   Defendants first searched for and identified sources of documents and files used

by personnel at Conrad & Scherer L.L.P. and International Rights Advocates who worked on

matters related to Drummond. Exh. S, Niewoehner Decl. ¶ 7.

        277.   Searches were conducted by counsel for paper documents and files at Conrad &

Scherer office in the Fort Lauderdale, Florida and Washington D.C., as well as pertinent files in

the Quito, Ecuador office. Exh. S, Niewoehner Decl. ¶ 7(a).

        278.   Searches were made of computer servers and computers, as well as backup copies

stored on different media and systems, located in the Conrad & Scherer offices in Fort

Lauderdale and Washington D.C. Exh. S, Niewoehner Decl. ¶ 7(b).




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         279.   The search for documents and electronic sources of data was difficult because of a

cascading series of issues. Exh. S, Niewoehner Decl. ¶ 8.

         280.   Conrad & Scherer has a central computer system but the system was built for a

small law firm—it is not the type of system that major companies have with sophisticated search

capabilities. Exh. S, Niewoehner Decl. ¶ 8(a)i.

         281.   Conrad & Scherer’s computer system did not permit many types of “smart”

searches. For example, the system did not permit searches seeking one search worked with five

words of another. The limitations of the capabilities of the computer system meant that the

searches conducted on it had to be over-inclusive. Exh. S, Niewoehner Decl. ¶ 8(a)ii.

         282.   To resolve this problem, the data on Conrad & Scherer’s computers had to be

electronically processed and moved onto a different database system, called Relativity, which

required significant work by outside vendors and Steptoe and Johnson personnel. Exh. S,

Niewoehner Decl. ¶ 8(a)iii.

         283.   The breadth of the Court’s October 15, 2014 order required a search over the

entire set of cases of Conrad & Scherer and all of its many personnel—not just emails of those

directly working on the Collingsworth human right cases. Ultimately, Defendants searched the

emails of over 100 different people at Conrad & Scherer L.L.P. and International Rights

Advocates. Exh. S, Niewoehner Decl. ¶ 8(b).

         284.   Defendants’ also had to search other databases because Mr. Collingsworth did not

join Conrad & Scherer until 2008 and kept emails and electronic files related to work done by

International Rights Advocates at times on other servers or systems. Exh. S, Niewoehner Decl. ¶

8(c).




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         285.    As some lawyers who worked with Mr. Collingsworth at Conrad & Scherer or

International Rights Advocates used their own personal email accounts at times, Defendants also

had to arrange to search those email accounts. Exh. S, Niewoehner Decl. ¶ 8(d).

         286.    As many of the documents were in Spanish, Spanish-speaking lawyers were

necessary to review those documents. Exh. S, Niewoehner Decl. ¶ 8(e).

         287.    Adding further to the complication, a special confidentiality order in yet another

unrelated case required a pre-screening to make sure certain confidential information from an

unrelated third party in the other case was not mixed in with the documents reviewed in the

search. Exh. S, Niewoehner Decl. ¶ 8(f).

         288.    To solve those issues, Defendants devised a multi-step process for the review that

involved processing the data into the Relativity database, running very complex search terms

through that Relativity database, using teams of lawyers in Houston, Washington D.C.,

Birmingham, and Rockville, Maryland to do a first review of the documents for relevance,

responsiveness and privilege. We also used an additional core group of reviewers to conduct a

second review of the documents after the first screen to ensure consistency Exh. S, Niewoehner

Decl. ¶ 9 a-d.

         289.    Defendants also repeated the process by running different search terms to respond

to all the different requirements of the Court’s October 15, 2014 Order. This meant that

Defendants conducted over nine different overlapping searches. Exh. S, Niewoehner Decl. ¶

9(e).

         290.    The complexity of the database searches and the number of separate category

search terms used created a huge redundancy. But the overlapping searches gave a very high




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assurance that all responsive documents were either logged or produced. Exh. S, Niewoehner

Decl. ¶ 10.

       291.   The search was one of the most complex that Defendants’ lawyers had ever seen.

The sheer quantity of the documents, combined with the wide breadth of the different search

terms, meant that just one of the searches generated thousands of documents to review. Over

250,000 documents were entered into the Relativity database, and over 50,000 documents were

reviewed individually by the review teams. Exh. S, Niewoehner Decl. ¶ 11.

       292.   As a result of this process, Defendants produced a detailed privilege log of over

1800 pages with over 12,800 entries. The privilege log and the supporting documents were

organized to allow the Special Master and/or the Court review to both search the log itself and

the documents. Exh. S, Niewoehner Decl. ¶ 12.

       293.   Defendants also produced about 1,200 documents to Drummond through the

course of these searches in addition to the documents that were produced before new counsel

entered an appearance. To date, Defendants have produced more than 2,000 documents since

new counsel appeared in this case. Exh. S, Niewoehner Decl. ¶ 13.

       294.   This process was exceptionally expensive. Defendants estimate that they incurred

more than $2 million in fees and costs by the time this was done. Exh. S, Niewoehner Decl. ¶ 14.

       295.   Defendants continued to make additional efforts to locate and review documents

in 2015. Exh. S, Niewoehner Decl. ¶ 15.

       296.   Defendants hired a top computer expert, Dennis Williams, to review the search

procedure and to look for any emails or other electronic data that Conrad & Scherer’s IT

personnel had been unable to find. Exh. S, Niewoehner Decl. ¶ 15 (a).




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       297.    Dennis Williams is a retired Federal Bureau of Investigation (FBI) agent with

more than 32 years of law enforcement experience. See April 14, 2015 Declaration of Dennis

Williams attached hereto as Exh. T, (“Williams’ April Decl.”), at ¶ 2.

       298.    Mr. Williams was an FBI certified computer forensics examiner responsible for

conducting computer forensic exams, searches, and peer reviews of computer forensic

examinations. Exh. T, Williams’ April Decl., ¶ 2.

       299.    One of Mr. Williams’ tasks as computer forensics examiner for the FBI was

responsibility for the collection of electronic information in the Enron investigation. Exh. T,

Williams’ April Decl., ¶ 5.

       300.    In 2005, Mr. Williams became the Director of the Greater Houston Regional

Forensics Laboratory (RCGL), which is a multi-agency task force and full-service forensics

laboratory and training center focused on examining digital evidence in criminal investigations

and various types of fraud. Exh. T, Williams’ April Decl., ¶ 6.

       301.    Mr. Williams is currently a Partner at Pathway Forensics, LLC (“Pathway”). As a

Partner at Pathway, Mr. Williams has extensive experience in e-discovery, digital forensics

acquisition and analysis. Exh. T, Williams’ April Decl., ¶ 8.

       302.    Mr. Williams is currently an EnCase certified examiner (EnCE), which is an

international recognized forensics certification. Exh. T, Williams’ Decl., ¶ 9.

       303.    Pathway attempted to locate certain electronic data that Conrad & Scherer was

unable to find in connection with its recent document search in the above referenced litigation.

Exh. T, Williams’ April Decl., ¶ 12.

       304.    Pathway reviewed the sufficiency and thoroughness of Defendants’ initial

e-discovery efforts. Exh. T, Williams’ April Decl., ¶ 12.




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       305.    Pathway investigated whether or not any of the information still not located

appears to have been intentionally deleted. Exh. T, Williams’ April Decl., ¶ 12.

       306.    Mr. Williams also reviewed Mr. Collingsworth’s computer history, including the

retention and replacement of his computers and hard drives and the efforts undertaken to save

and transfer electronic information from old computers and hard drives to replacement machines

to determine whether discarding or replacing computers has any correlation to the remaining

email gaps in Collingsworth’s Conrad & Scherer and International Rights Advocates

(“IRAADvocates”) email accounts. Exh. T, Williams’ April Decl., ¶ 13.

       307.    Mr. Williams also assessed how the email gaps in Collingsworth’s Conrad &

Scherer and IRAAdvocates email accounts occurred. Exh. T, Williams’ April Decl., ¶ 14.

       308.    Mr. Williams interviewed Collingsworth, interviewed current and former

employees at Conrad & Scherer, IRAAdvocates, including IT professionals, attorneys,

paralegals, and secretaries; Exh. T, Williams’ April Decl., ¶ 16.

       309.    Pathway was given un-restricted access to system files and infrastructure set up.

See March 11, 2015 Declaration of Dennis Williams (Williams’ March Decl.) attached Exhibit.

U, at ¶ 20.

       310.    The Conrad & Scherer computer system had various components where

information was stored, including an email server and back-ups. Conrad & Scherer also utilized a

third-party-owned cloud based ShareFile server and maintained email containers on specific

individual computers in other offices. Exh. U, Williams’ March Decl., ¶ 22.

       311.    The searches that were done across the computer system were redundant. Exh. U,

Williams’ March Decl., ¶ 23.




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        312.    The redundant searches insured the likelihood of not missing any responsive

information. Exh. U, Williams’ March Decl., ¶ 23.

        313.    Williams interviewed various IT personnel at Conrad & Scherer to get an

understanding of how earlier searches had been conducted. Exh. U, Williams’ March Decl., ¶ 26.

        314.    A thorough and reasonable search was done in light of the normal standards for

electronic discovery. Exh. U, William’s March Decl., ¶ 27.

        315.    The additional information found by Pathway could easily have been missed

despite a thorough search. The additional information was in backups and hard drives that could

have easily been overlooked. Exh. U, Williams’ March Decl., ¶ 29.

        316.    Mr. Williams did not find any indications that emails or computers were

intentionally disposed of or deleted to destroy evidence. Exh. T, Williams’ April Decl., ¶ 124.

        317.    There is substantial evidence reflecting the transition and transfer of electronic

information from Collingsworth’s old devices to new devices. Exh. T, Williams’ April Decl., ¶

125.

        318.    Collingsworth’s efforts to save and/or transfer his electronic information,

including emails, from old computers to replacement computers were reasonable. Exh. T,

Williams’ April Decl., ¶ 126.

        319.    Third-party IT support personnel failed to properly transfer some of

Collingsworth’s emails from one computer to a replacement computer. Exh. T, Williams’ April

Decl., ¶ 127.

        320.    Collingsworth was having problems with maintaining his email accounts and

archiving his email during the time period of missing emails. Exh. T, Williams’ April Decl., ¶

128.




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       321.    Despite Collingsworth’s efforts to preserve his email between March 2011 and

March 2013, copies of his email were not retained on the Conrad & Scherer servers. Exh. T,

Williams’ April Decl., ¶ 128.

       322.    Third party personnel did not properly preserve or convert the archived emails on

Collingsworth’s Mac laptop, which is the likely cause for the gaps in Collingsworth’s Conrad &

Scherer and IRAadvocates emails between March 2011 and March 2013. Exh. T, Williams’

April Decl., ¶ 129.

       323.    There is no indication that emails or computers were intentionally disposed of or

deleted to destroy evidence. Exh. T, Williams’ April Decl., ¶ 21.

       324.    There is overwhelming evidence reflecting Collingsworth’s email problems and

the reasonable efforts that were taken by Collingsworth and his assistants to save or back-up his

electronic information, including emails, from old computers to the Conrad & Scherer system or

to save and transfer the electronic information from the old computer to a replacement computer

before he replaced the old computer. Exh. T, Williams’ April Decl., ¶ 22.

       325.    In nearly all instances, the emails from the old computer were saved on the

Conrad & Scherer system, or properly transferred to a new or replacement computer. Exh. T,

Williams’ April Decl., ¶ 23.

       326.    There were some anomalies that likely explain why gaps still exist. Exh. T,

Williams’ April Decl., ¶ 23.

       327.    In May 2010, a third-party IT support-company failed to properly transfer

Collingsworth’s archived email files from an old computer to a replacement computer, which

likely caused the gap in his IRA Advocates email account from June 2008 to February 26, 2010.

Exh. T, Williams’ April Decl., ¶ 27, 127.




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       328.   It also appears that third party IT support personnel failed to configure his email

properly on his MacBook. Exh. T, Williams’ April Decl., ¶ 28.

       329.   Several attempts were made by a third party IT support company to archive his

email in April, May, October, and November of 2011, Other attempts also were made to archive

his email on his MacBook, including in 2013, when Collingsworth took the MacBook to the

Apple Genius Bar to fix his Outlook email. Exh. T, Williams’ April Decl., ¶ 29.

       330.   The remaining gaps in Collingsworth’s email accounts between March 2011 and

March 2013 were likely caused by third-party IT support personnel setting a rule to archive his

emails on the MacBook and not selecting the option to retain a copy of his emails on the Conrad

& Scherer servers. Exh. T, Williams’ April Decl., ¶ 35, 129.

       331.   Collingsworth was not aware that emails were stored on his MacBook and they

were no longer on the Conrad & Scherer servers. Exh. T, Williams’ April Decl., ¶ 33.

       332.   Defendants located, as a result of the work by Mr. Williams, some backup files

containing emails for Mr. Collingsworth, which closed some of the strange missing gaps in Mr.

Collingsworth’s email records. Exh. S, Niewoehner Decl. ¶ 15(b).

       333.   Defendants reviewed the newly-located emails from Mr. Collingsworth using the

same multi-step process as before, although this process was even more complicated because it

turned out that many of the newly-located emails had been searched before. For example, if Mr.

Collingsworth received an email that was also sent to other Conrad & Scherer employees, the

prior searches would have found the email in the email accounts of the other employees. As a

result, it took extensive efforts to determine which of the newly-located emails had not already

been searched. Exh. S, Niewoehner Decl. ¶ 15(c).




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       334.   The review process of these newly-located emails confirmed that the earlier

redundant search efforts had been successful. Exh. S, Niewoehner Decl. ¶ 15(d).

       335.   One search of about 11,079 newly-located Collingsworth emails and attachments

resulted in the production of about 22 new documents and the logging of approximately 41

privileged documents. Exh. S, Niewoehner Decl. ¶ 15(d)i.

       336.   A second search of about 55,971 newly-located Collingsworth emails and

attachments resulted in the production of about 132 new documents and the logging of about 63

privileged documents. Exh. S, Niewoehner Decl. ¶ 15(d)ii.

       337.   A third search of about 14,329 newly-located Collingsworth emails and

attachments resulted in the production of about 129 new documents and the logging of about 66

privileged documents. Exh. S, Niewoehner Decl. ¶ 15(d)iii.

       338.   Defendants have also continued to search for any other sources of documents.

For example, there was a former employee of International Rights Advocates, Lorraine Leete,

who left the organization in late 2014. Ms. Leete used her own personal computer and personal

email at times for her work with International Rights Advocates. Ms. Leete had searched her

computer and personal email for responsive documents before she left, but Defendants got her

agreement to give Defendants access to her personal computer and personal email again so they

could double check her earlier efforts. That process is ongoing and Defendants will produce or

log whatever new documents are identified in that review. Exh. S, Niewoehner Decl. ¶ 16.

       339.   Conrad & Scherer personnel have also spent thousands of hours attempting to

comply with the Court’s October 2014 Order. Doc. 187-3, Frevola Aff., ¶ 13.

       340.   Defendants have supplemented their interrogatories and produced additional

documents. Doc. 187-3, Frevola Aff., ¶ 16.




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       341.    Conrad & Scherer’s goal is to fully comply with its discovery obligations and

make full disclosure to the Court. Doc. 187-3, Frevola Aff., ¶ 15.

   G. Conrad & Scherer acted in good faith in its dealings with the Court and undertook
      significant cost and effort to comply with the Court’s orders

       342.    Conrad & Scherer is based in Ft. Lauderdale, Florida with a satellite office in

Washington DC. During relevant time periods, it had 22 lawyers and 34 staff members.

Doc. 187-4, Scherer Aff., ¶¶ 3-4.

       343.    Conrad & Scherer has been AV Preeminent Peer Rated by Martindale-Hubble

since 1987. Doc. 187-4, Scherer Aff., ¶ 3.

       344.    As a law firm Conrad & Scherer, L.L.P. has never been sanctioned. Doc. 187-4,

Scherer Aff., ¶¶ 6, 13.

       345.    William R. Scherer, Jr. is a senior partner of Conrad & Scherer, L.L.P.

Doc. 187-4, Scherer Aff., ¶ 2.

       346.    Mr. Scherer is well known in Florida and was local counsel for President George

W. Bush in the case known as Bush v. Gore. Doc. 187-4, Scherer Aff., ¶ 7.

       347.    Mr. Scherer is an experienced attorney. From 1988 to 2005, Mr. Scherer was the

General Counsel to the North Broward Hospital District, one of the largest public health care

providers in the nation. Doc. 187-4, Scherer Aff., ¶ 8.

       348.    In 2012, Mr. Scherer was lead counsel for victims of the multi-billion dollar Ponzi

scheme orchestrated by Scott Rothstein in South Florida. Doc. 187-4, Scherer Aff., ¶ 9.

       349.    In 2014, Mr. Scherer was retained to represent the State of Florida in bringing a

major fraud case on its behalf against executives of Digital Domain Media, a movie special

effects company founded by director James Cameron. Doc. 187-4, Scherer Aff., ¶ 10.




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       350.    Conrad & Scherer has been involved in mass tort cases in South America since

2006 against companies such as Coca Cola, Dyncorp International, and Chiquita Brands, among

others. Doc. 187-4, Scherer Aff., ¶ 12.

       351.    Mr. Scherer has never been sanctioned. Doc. 187-4, Scherer Aff., ¶ 6.

       352.    Conrad & Scherer recently hired a new legal team to ensure that Conrad &

Scherer was in compliance with any discovery orders. Doc. 187-4, Scherer Aff., ¶ 14.

       353.    Since hiring the new legal team Conrad & Scherer has spent $2 million in

ensuring compliance with discovery orders. Doc. 187-4, Scherer Aff., ¶ 15.

       354.    Conrad & Scherer’s goal is to fully comply with its discovery obligations and

make full disclosure to the Court. Doc. 187-3, Frevola Aff., ¶ 15.

       355.    Since hiring the new legal team, Conrad & Scherer has spent $2 million in

ensuring compliance with discovery orders. Doc. 187-4, Scherer Aff., ¶ 15.

       356.    Conrad & Scherer personnel have also spent thousands of hours attempting to

comply with the Court’s October 2014 Order. Doc. 187-3, Frevola Aff., ¶ 13.

       357.    Defendants have supplemented their interrogatories and produced additional

documents. Doc. 187-3, Frevola Aff., ¶ 16.

       358.    Mr. Scherer, managing partner of Conrad & Scherer, was not directly involved in

the actual day to day litigation of the Drummond matters. Doc. 231-11, at 6.

       359.    Mr. Scherer receives an estimated thousands of emails every month. He did

receive one email report in May 2011 indicating that payments would be made to Mr. Otero for

security that included a brief reference to security payments for families of El Tigre and Samario

Doc. 231-11, at 6.




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       360.    Mr. Scherer was not aware of exactly what Mr. Otero was doing with money he

was sent. Doc. 231-11, at 6.

       361.    Certain lower-level employees of Conrad & Scherer, including employees in the

accounting department, were aware of the monthly payments to Mr. Otero for security, but those

individuals were not aware of exactly what Mr. Otero did with the money. Doc. 231-11, at 6.

       362.    Conrad & Scherer did not make payments to Blanco. Doc. 114-2, ¶ 8.

       363.    Conrad & Scherer did not make payments to Blanco’s criminal defense lawyer.

Doc. 114-2, ¶ 8.

       364.    Mr. Scherer did not know about the payments to Blanco by the van Bilderbeeks.

Doc. 189-22 at 6-7 (Defs.’ 2nd Am. & Supplemental Objections & Resps. To Pl.’s 3rd Set of

Interrog. No. 2).

       365.    Mr. Scherer also did not about Mr. Blanco’s attempt to delay finalizing his

declaration in the Drummond case pending Mr. Van Bilderbeek’s fulfillment of his arrangement

with Mr. Blanco. Doc. 174-20, at 7.

       366.    Mr. Scherer has only just learned about it in the course of Defendants’ response to

discovery requests in this case. No Conrad & Scherer money was used to make those payments.

Doc. 174-20, at 7

       367.    Conrad & Scherer did not intentionally misrepresent the scope and extent of

payments to witnesses in pleadings, interrogatory responses, sworn declarations, correspondence

with the opposing party, and in open court.

       368.    Conrad & Scherer has gone to extreme lengths to comply with this Court’s

October 15, 2014 discovery order.




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          369.   Conrad & Scherer was not aware the representations made by Terry

Collingsworth to this Court were not accurate at the time they were made.

          370.   Conrad & Scherer was at all times represented in this litigation by counsel,

Bradley Smith, of Clark Hair & Smith, P.C., and not by its partner Terry Collingsworth, who is a

separate defendant.

          371.   At all times Conrad & Scherer relied upon its counsel to provide appropriate and

ethical representation to protect the interests of Conrad & Scherer.

          372.   Drummond does not accuse counsel for Conrad & Scherer of any ethical

misconduct or improper actions, and does not seek sanctions against its counsel.

          373.   Conrad & Scherer has acted diligently, responsively, and in good faith at all times

with this court.

          374.   Conrad & Scherer has corrected any representations made to this Court that were

not accurate and have made a good faith and diligent effort to comply with this Court’s discovery

orders.

          375.   Defendants redactions to portions of documents that reflected their witness

payments were made in good faith and do not constitute “alteration of evidence.”

          376.   Defendants’ redactions to documents were made with no intent to misrepresent or

to obstruct and delay the enforcement of this Court’s orders or to disrupt this litigation.

          377.   The Court finds Defendants’ explanations for their conduct credible.

          378.   There is no benefit in failing to disclose witness assistance payments where

assistance was necessary to bring out the truth.

          379.   There is no benefit in failing to disclose witness assistance payments where the

assistance was legal.




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       380.    There is no benefit in failing to disclose witness assistance payments where part

of the assistance has already been disclosed.

       381.    There is no benefit in failing to disclose witness assistance payments where it was

obvious the Court would eventually require disclosure.

       382.    The Court further specifically finds that Mr. Collingsworth’s proffered reasons for

his representations on April 14, 2014, (Doc. 187-21) are credible and supported by Defendants’

actions to search for responsive documents and come forward and voluntarily disclose

information in the months following the April 14, 2014 hearing.

       383.    Mr. Collingsworth’s inaccurate representations caused minimal delay and have

not significantly increased the burden on this Court and Drummond, except for litigation related

to Drummond’s Sanctions motion.

       384.    Drummond’s decision to file an emergency motion for sanctions in April 2014,

rather than meeting and conferring over particular documents first, and its decision to file this

motion for sanctions, after nearly all information had been produced, has caused unnecessary

delay and greatly increased the burden on this Court.

       385.    Mr. Collingsworth’s in-accurate representations caused Plaintiff no harm and

minimal expense and minimal attorneys’ fees and costs.

       386.    Drummond’s decision to file an emergency motion for sanctions in April 2014,

rather than meeting and conferring over particular documents first, and its decision to file this

motion for sanctions, until after all information had been produced, has resulted in excessive and

unnecessary attorneys’ fees and costs.

       387.    Defendants did not intentionally destroy or fail to preserve email or computer

devices subject to discovery in this case.




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          388.   Defendants made reasonable efforts to preserve email and computer devices

subject to discovery in this case.

          389.   Alternate evidence is available from other email and computer devices maintained

by Collingsworth and/or Conrad & Scherer.

          390.   Drummond has not been prejudiced by any destruction or failure to preserve

email or computer devices subject to discovery in this case.

          391.   Conrad & Scherer has incurred substantial expense as a result of

Mr. Collingsworth’s inaccurate statements.

          392.   Mr. Collingsworth’s inaccurate statements have harmed other Conrad & Scherer

cases.

          393.   Conrad & Scherer will be prejudiced in other cases if sanctions are issued before a

trial on the merits.

    H. The disclosure issue is separate from the merits of the truth of Drummond’s
       assistance to the AUC; the evidence is available for trial, and only Defendants’
       credibility has been hurt.

          394.   This is a libel case brought by Drummond against Defendants. See Plaintiff’s

Original Complaint, Doc. 1.

          395.   The primary issues to be decided are either the truth of the statements regarding

Drummond’s assistance to the AUC or the reasonableness of Defendants’ belief as to the truth of

those statements.

          396.   Substantive depositions have not begun in this case and there is no current trial

setting in this matter.

          397.   The disclosures made concerning payments by Defendants to witnesses or the

families of witnesses go to the credibility of the Defendants and their witnesses.




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       398.   The Court’s October 15, 2014 order unequivocally required Drummond to

produce all documents related to fact of witness payments. Doc. 64 at 3-4.

       399.   The Court’s October 15, 2014 order defines Columbian witnesses very broadly

and defines “payments to witnesses” broadly. Doc. 64 at 3-4.

       400.   Drummond has not produced any documents showing payments to AUC

witnesses, yet there is a long list of evidence that Drummond financed and openly interacted with

the AUC.

       401.    Declaration of Jose Gelvez Albarracin, former AUC member: “At this meeting

[with Rafael Peña Ríos, Luis Carlos Rodriguez, and Jim Adkins, among others] we discussed

and we all agreed that we would support the AUC with money for arms and supplies. We also

agreed that we would give the AUC a monthly payment to cover the salaries, food, and costs of

the AUC troops. We also agreed to buy the AUC some vehicles and supply them with fuel.

There was no objection to any of these agreements from anyone present. . . . Besides receiving

funding and other support from Drummond and Prodeco, the AUC also entered the Drummond

mine freely.” Doc. 187-10, ¶¶ 16, 19 (Gelvez Decl.).

       402.   Declaration of Libardo Duarte, former AUC member: “The AUC, Drummond

managers, and the Colombian military all interacted and cooperated. . . . Jaime Blanco’s place

was our hangout because he got the contract to run the Drummond casino precisely because he

was closely aligned with the AUC. Sometime in 1999, I learned from Omega that Drummond

had a major agreement with the AUC, and that Drummond paid the AUC about $500,000 (U.S.)

per month. This covered our operations – payments for the soldiers, equipment, transport,

supplies, food, and drinks. Whatever was left over went up the line to Jorge 40 and Carlos

Castaño. . . . The other major way that Drummond provided major funding to the AUC was to




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contract with other businesses, and as a requirement of getting Drummond’s business, these

contractors had to make payments to the AUC.” Doc. 187-11, ¶¶ 29-31 (Durante Decl.).

       403.    Declaration of Jaime Blanco Maya: “‘El Tigre,’ was the commander of the AUC

in the region and he asked me to be the intermediary between the AUC and Drummond. He was

hoping that Drummond would financially support the AUC. . . . After two or three trips [Adkins]

told me that he had raised the issue of funding El Tigre’s front of the AUC and that Garry

Drummond had agreed to the idea. Adkins thought it was impossible for Drummond to pay the

AUC directly. As a result, we had to devise a strategy to make payments to the AUC through my

company, ISA. . . . The first monthly payment by Drummond of roughly $30 million Colombian

pesos to the AUC was made, but during the first month Adkins told me that if in some months he

could not bring the required cash, I should charge any funds that were needed to Drummond

through ISA, by creating false charge or overcharging for services not provided.” Doc 187-12.

12, ¶¶ 16, 18, 21 (Blanco Decl.).

       404.    Nevertheless, Drummond witnesses denied even being in contact with the AUC,

despite the fact that the AUC operated all around the Drummond mine.

       405.    Garry Drummond, CEO, Drummond Company, Inc.: Q: “Do you know, as you

sit here, whether any Drummond employee, whether Drummond Company, Inc. or Drummond

Ltd. ever had even a conversation with a member of the AUC?” A: “I do not know of any

conversations that a Drummond Company employee had with the AUC.” Doc 187-7 at 7:11-17

(Garry Drummond Dep. Tr.).

       406.    Alfredo Araujo, Manager of Community Relations for Drummond in Colombia:

“Q: So as far as you know, no one at Drummond was ever tasked with officially communicating

with the AUC? A: “I believe that at Drummond, and I’m almost certain—in fact, I am certain




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no—nobody had official or inform- -- or informal contact with members of the AUC.” Q: “Not

even informal contact?” A: “I’m certain there was no contact, formal or informal.” Doc 187-8 at

121:2-11 (Alfredo Araujo Dep. Tr.).

       407.    James Michael Tracy, President of Mining for Drummond Inc.: Q: “And during

that same time period, to your knowledge, did any Drummond employee have communications

with the AUC?” A: “Not to my knowledge.” Q: “And have you personally ever had any

communications with a member of the AUC?” A: “No.” Doc 187-9 at 75:13-19 (James Michael

Tracy Dep. Tr.).

       408.    The evidence stands in stark contrast to Drummond’s story that its personnel had

never spoken or met with members of the AUC, much less participated in a scheme to finance

the AUC.

       409.    Alfred Araujo, a former executive with Drummond, has been arrested over the

alleged 2001 murders the subject of this litigation. See May 26, 2015 Emma Rosser Article

attached as Exh. V.

       410.    News reports state that Drummond is paying Araujo’s attorney fees. See Exh. V,

Emma Rosser Article

       411.    Drummond is paying Mr. Araujo’s attorney’s fees.

       412.    Drummond’s president Linares said that Drummond has vowed a “campaign” to

show how the plaintiff’s lawyers are a criminal venture. See April 7, 2015 El Tiempo article

attached as Exh. W.

       413.    Given the serious nature of the allegations and the disputed evidence, a trial is

necessary to determine the credibility of the witnesses.




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           414.   The interests of justice would not be served by granting Drummond the relief it

seeks.

                                      CONCLUSIONS OF LAW

I.         A DEFAULT JUDGMENT IS NOT WARRANTED UNDER EITHER THIS
           COURT’S INHERENT POWER OR RULE 37.

           The Court finds that a default judgment should not be entered under the Court’s inherent

authority or Rule 37 because both require a finding of bad faith or willfulness, and the Court

finds there is no evidence of either in this case. As explained more fully below, this Court is

subject to important constraints on entering a default judgment on liability, whether using the

Court’s inherent and discretionary powers or Rule 37: (a) the burden of proof of the requisite bad

faith is by “clear and convincing evidence”, and (b) the default remedy is an extreme punitive

sanction that should not be used if lesser sanctions are adequate to protect the administration of

justice.

           Furthermore, inherent powers should not be used when discovery issues are involved and

Rule 37 provides an available statutory remedial scheme.

           The Court finds that Drummond has failed to adequately show that a default judgment is

appropriate, especially in light of these constraints, under its inherent powers.

           Moreover, sanctions are not warranted under the standards set forth in Rule 37.

           Even under Rule 37, bad faith must be shown by clear and convincing evidence. It would

be error for this Court not to evaluate all less draconian sanctions before imposing default, yet

Drummond has refused to submit any evidence on less draconian monetary remedies.

           The Court finds that it must take into account the financial ability of the alleged offender

to pay a requested sanction, and Drummond has not provided evidence of the amount of any

monetary sanction, or established that Collingsworth has the means to pay any such monetary



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sanction. The Court also finds that imputation of any bad faith finding against an individual

offender cannot be imputed against his law firm, as explained more fully below.

        In addition, Rule 37 sanctions are not available because the Court finds that no discovery

order has been violated and that Drummond has not suffered substantial prejudice from the

defendants’ alleged misconduct.

        A.     Conditions required for a default judgment under the Court’s inherent
               authority.

        A court can exercise its inherent authority to issue sanctions only upon a finding of bad

faith. See Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F.3d 1298, 1306 (11th Cir.

2009) (“The key to unlocking a court’s inherent power is a finding of bad faith.”). Bad faith

occurs in extreme situations:

       When “fraud has been practiced on the court,” Chambers v. NASCO, Inc., 501 U.S. 32,
        46 (1991), or the “very temple of justice has been defiled,” Byrne v. Nezhat, 261 F.3d
        1075, 1106 (11th Cir. 2001), abrogated on other grounds Bridge v. Phoenix Bond &
        Indem. Co., 553 U.S. 639 (2008);
       “[W]here an attorney knowingly or recklessly raises a frivolous argument, or argues a
        meritorious claim for the purpose of harassing an opponent,” Barnes v. Dalton, 158 F.3d
        1212, 1214 (11th Cir. 1998);
       “[B]y delaying or disrupting the litigation or hampering enforcement of a court order,”
        id.; or
       When a party “commits perjury or . . . doctors evidence that relates to the pivotal or
        linchpin’ issue in the case.” In re Brican Am. LLC Equip. Lease Litig., 977 F. Supp. 2d
        1287, 1292 (S.D. Fla. 2013) (internal quotations omitted).
        False or incorrect statements alone do not compel a finding of bad faith. That is,

“[w]ithout a ‘smoking gun’ statement from the plaintiff, i.e., ‘I know my claim is frivolous and I

am pursuing this claim to harass the defendants,’ a district court makes a determination of bad

faith by drawing inferences from the conduct before it. Standing alone, a false or inconsistent

statement in a deposition does not compel the conclusion of bad faith.” Byrne, 261 F.3d at 1125.




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          Although courts can exercise their inherent powers to issue sanctions “even if procedural

rules exist which sanction the same conduct,” Chambers, 501 U.S. at 49, “when there is bad-faith

conduct in the course of litigation that could be adequately sanctioned under the Rules, the court

ordinarily should rely on the Rules rather than the inherent power,” id. at 50. Finally, courts must

“exercise caution in invoking [their] inherent power.” Thomas v. Tenneco Packaging Co., 293

F.3d 1306, 1320 (11th Cir. 2002) (quoting Chambers, 501 U.S. at 50).

          The party seeking sanctions carries the burden of proving bad faith. See Wandner v. Am.

Airlines, Inc., No. 14-cv-22011, 2015 WL 145019, at *10 (S.D. Fla. Jan. 12, 2015). For sanctions

such as default judgment, proof of bad faith must be shown by “clear and convincing evidence.”

Id. at *13; see also In re Brican Am. LLC Equip. Lease Litig., 977 F. Supp. 2d at 1293, n.6

(quoting Compton v. Alpha Kappa Alpha Sorority, Inc., 938 F. Supp. 2d 103, 104-05 (D.D.C.

2013)).

          “Because of their very potency, inherent powers must be exercised with restraint and

discretion.” Chambers v. NASCO, Inc., 501 U.S. at 44. “Restraint is particularly important where

. . . the case presents complex factual and legal issues.” In re Orthopedic Bone Screw Prods.

Liab. Litig., 193 F.3d 781, 796 (3d Cir. 1999).

          B.      Conditions for a default judgment under Rule 37.

          Four conditions must be present for a default judgment to be entered as a sanction under

Rule 37: (1) there must be a discovery order, (2) which the offending party violated willfully or

in bad faith, (3) resulting in prejudice to the other party, and (4) a finding by the court that less

drastic sanctions would not achieve Rule 37’s desired deterrent effect. See Scipione v. Advance

Stores Co., 294 F.R.D. 659, 664-65 (M.D. Fla. 2013) (citing Nat’l Hockey League v. Metro.

Hockey Club, Inc., 427 U.S. 639 (1976)); see also United States v. Certain Real Property




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Located at Route 1, Bryant, Ala., 126 F.3d 1314, 1318 (11th Cir. 1997) (holding that “circuit

precedent clearly dictates” that a default judgment under Rule 37 “must be preceded by an order

of the court compelling discovery, the violation of which might authorize such sanctions”); Aztec

Steel Co. v. Fla. Steel Corp., 691 F.2d 480, 482 (11th Cir. 1982) (Rule 37 sanctions designed “to

prevent unfair prejudice to the litigants”); United States v. Real Property Known As 200 Acres of

Land Near FM 2686 Rio Grande City, Tex., 773 F.3d 654, 660 (5th Cir. 2014) (in order for

default judgment to be entered, “the penalized party’s discovery violation must be willful,” and

the “drastic measure is only to be employed where a lesser sanction would not substantially

achieve the desired deterrent effect”); United States v. Varnado, 447 F. App’x 48, 51 (11th Cir.

2011) (holding “[t]he district court must also determine that lesser sanctions would not serve the

interests of justice” before it enters default judgment).

       A default judgment, the most severe sanction available under Rule 37, “is a drastic

sanction that should be used only in extreme situations because it is preferable for cases to be

heard on the merits. . . .” Varnado, 447 F. App’x at 51. Because a default judgment precludes a

trial on the merits, the Eleventh Circuit has “consistently . . . found Rule 37 sanctions such as

dismissal or entry of default judgment to be appropriate . . . only ‘where the party’s conduct

amounts to flagrant disregard and willful disobedience of discovery orders.’” Certain Real Prop.

Located at Route 1, Bryant, Ala., 126 F.3d at 1317 (quoting Buchanan v. Bowman, 820 F.2d 359,

361 (11th Cir. 1987)). Such a demanding standard is necessary because sanctions under Rule 37

must be “just,” which means the severity of the sanction must bear a close relation to the conduct

at issue. Bonds v. District of Columbia, 93 F.3d 801, 808 (D.C. Cir. 1996) (citing Ins. Corp. v.

Compagnie des Bauxites de Guinée, 456 U.S. 694, 707 (1982)).

       C. The Court finds that the conditions required for entering a default judgment
             under its inherent authority or Rule 37 are not present here.



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               1.     The Court finds that no order in this case has been violated.
       The Court finds that the defendants were never in violation of the October 15, 2013 Order

or any subsequent discovery order.

       The October 15, 2013 Order determined that “[i]nterrogatories and requests for

production on payments to witnesses are not overbroad and are properly within the scope of

discovery.” Doc. 64 at 3 (emphasis added). But, there were no outstanding discovery requests as

of the issuance of that order that directly sought information regarding witness payments.

       Nor were defendants in violation of that order after Drummond served its 3rd Requests in

February 2014, which were the first requests that expressly sought information about witness

payments. The 3rd Requests included an entirely new and, according to defendants, overly broad

definition of “payments to witnesses” to which defendants objected and which was not a part of

the October 15, 2013 Order.

       As a result, prior to this Court’s October 15, 2014 Order, wherein it adopted the

“payment to witnesses” definition contained in the 3rd Requests, defendants had a good faith

basis for objecting on this ground and construing “payments to witnesses” narrowly as only those

payments flowing directly from Conrad & Scherer to a witness or a witness’s family. In other

words, it was not until the Court issued its October 15, 2014 Order that it was clear that the

definition of witness payments in Drummond’s 3rd Requests would be operative in this case.

The Court finds that Defendants complied with its October 15, 2014 Order, and notes that

Drummond does not argue that they did not. Accordingly, the Court finds that the defendants

have not violated any of its orders and, therefore, no Rule 37 sanctions, including a default

judgment, are available. Certain Real Prop. Located at Route 1, Bryant, Ala., 126 F.3d at 1318.




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               2.     The Court finds that the incorrect statements made by Mr.
                      Collingsworth to the Court in April 2014 were not made in bad faith.
       A finding of bad faith is necessary to impose sanctions pursuant to the Court’s inherent

authority. Eagle Hosp. Physicians, 561 F.3d at 1306. Mr. Collingsworth has now admitted that

statements he made at the April 2014 hearing were inaccurate and should not have been made.

Ex. 21, ¶¶ 2-14 (Collingsworth Decl.). Such an admission does not constitute bad faith under

applicable case law. Further, the Court finds that Mr. Collingsworth has fixed the issue through

additional supplementation in compliance with the October 15, 2014 Order.

       A false or incorrect statement to the Court, standing alone, cannot constitute bad faith.

Byrne, 261 F.3d at 1125. Further, the party seeking sanctions has the burden of proving by clear

and convincing evidence that Mr. Collingsworth’s statements meet the bad faith standard.

Wandner, 2015 WL 145019, at *13. The Court finds that Drummond has not met its burden of

proof and that Mr. Collingsworth’s statements were not made willfully or in bad faith. As a

result, the Court declines to exercise its inherent authority power to sanction Mr. Collingsworth

for the statements.

               3.     The Court finds that Drummond has not been prejudiced because
                      defendants complied with the October 15, 2014 Order.

       The Court also finds that sanctions are unwarranted because Drummond has not been

prejudiced. The definitions of “witness” and “payments” was not included in any Court order

prior to October 15, 2014. After the Court issued its order, the Court finds that the defendants

promptly undertook massive and costly efforts to comply with it, as illustrated by the defendants’

revised privilege log which is 2,444 pages long, logs over 12,800 documents, and was completed

within weeks after this Court’s order was issued. The Court also finds that the defendants served

interrogatory responses on four separate occasions between November 2014 and March 2015.




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Accordingly, this Court finds that no sanctions are needed to force defendants to properly

participate in the discovery process or otherwise protect the administration of justice.

               4. The Court finds that a default judgment cannot be entered against
                  Conrad & Scherer because there is no evidence that Conrad & Scherer
                  acted in bad faith.

       Drummond argues that, in addition to Mr. Collingsworth, the law firm Conrad & Scherer

should be sanctioned under both Rule 37 and this Court’s inherent power. As this Court has

previously found, however, the firm has not violated any discovery order triggering Rule 37.

Therefore, default cannot be entered against the firm under Rule 37 for that reason alone.

       Moreover, in order to impose sanctions on Conrad & Scherer, the Court finds that there

must be independent evidence of bad faith on the part of the firm, not merely imputation of

alleged bad faith on the part of Mr. Collingsworth, a partner in the firm. See Wolters Kluwer

Fin. Serv. V. Scivantage, 564 F.3d 110, 114 (2d Cir. 2009) (“the district court imputed [the

firm’s partner’s] bad faith to [the firm] because [the firm] failed to prevent what she did. But we

have held that ‘[b]ad faith is personal’ and ‘may not automatically be visited’ on others. . . .

Accordingly, absent other specific evidence of [the firm’s] bad faith, a sanction under the court’s

inherent power is unjustified.“ (citation omitted)). And this same principle protects a client from

automatically bearing the cost of sanctions imposed on its lawyer. See Byrne v. Nezhat, 261 F.3d

1075, 1123 (11th Cir. 2001) (abrogation on other grounds recognized by Douglas Asphalt Co. v.

QORE, Inc., 657 F.3d 1146, 1151 (11th Cir. 2011)) (“To support its finding of bad faith and

otherwise sanctionable conduct [on the part of the client], the court impermissibly relied solely

on the actions of counsel . . . . Sanctionable conduct by a party’s counsel does not necessarily

parlay into sanctionable conduct by a party”) (citation omitted).




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       Contrary to Drummond’s contentions, “[o]ne person’s bad faith may not be attributed to

another by operation of legal fictions or doctrines such as respondeat superior or vicarious

liability.” G. P. Joseph, Sanctions: The Federal Law of Litigation Abuse § 27(A) at 522 (5th Ed.

2013). And that rule has particular force here where Conrad & Scherer, during the relevant time

frame, appeared in this Court solely through its counsel, Bradley Smith. Drummond does not

does not accuse Conrad & Scherer’s counsel – who was responsible for properly and ethically

representing the firm -- of any misconduct whatsoever. And Drummond presents no evidence

that Conrad & Scherer itself separately engaged in bad faith conduct in connection with the

alleged misstatements of Mr. Collingsworth or the other events in this litigation for which it

seeks sanctions.

       Drummond suggests that Conrad & Scherer engaged in bad faith by failing to disclose

payments to Blanco of which, Drummond alleges, the firm “was clearly aware.” See Pl.’s Mot. at

18, n.12. But the Court finds that Drummond has not offered substantial evidence to support that

assertion or evidence from which the Court could conclude that the firm was directly involved in

a misrepresentation to this Court. Bill Scherer, managing partner of the firm, has submitted

sworn testimony that he knew nothing about the payments to Blanco by the van Bilderbeeks. See

Ex. 22 at 6-7 (Defs.’ 2nd Am. & Supplemental Objections & Resps. To Pl.’s 3rd Set of Interrog.

No. 2). Based on the record, there is no evidence that Conrad & Scherer failed to comply with a

Court’s discovery order intentionally or in bad faith, and as noted, the alleged bad-faith actions

of others cannot lawfully be attributed to the firm. See Chudasama v. Mazda Motor Corp., 123

F.3d 1353, 1371 (11th Cir. 1997).

       Drummond has not argued that there is anything improper about the payments to Blanco,

and those payments have been disclosed long before a trial.




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        Accordingly, the Court declines to sanction Conrad & Scherer under its inherent

authority or Rule 37. See CPR Assocs., Inc. v. Se. Penn. Chapter of Am. Heart Ass’n, No. CIV.

A. 90-3758, 1992 WL 229296, at *11 (E.D. Pa. Sept. 9, 1992) (finding no reason to vicariously

sanction law firm when firm did not willfully engage in misconduct or significantly participate in

discovery process).

II.     ALTERNATIVE RULE 37 SANCTIONS SOUGHT BY DRUMMOND ARE NOT
        WARRANTED.

        While Drummond focuses its sanctions request on obtaining a default judgment against

the defendants, it also includes a generic request for lesser sanctions. Consistent with its denial

of Drummond’s requests for default judgment, the Court also declines to award Drummond any

of the lesser sanctions it requests.

        The Supreme Court has made it very clear that a sanction must be “specifically related to

the particular ‘claim’ which was at issue in the order to provide discovery.” Ins. Corp. of Ireland

v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 707 (1982).

        This means that “sanctions imposed for failing to comply with a discovery order must be

reasonable in light of the circumstances, and a sanction is reasonable only if its character and

magnitude are proportionate to the character and magnitude of the violation of the underlying

discovery order, and the harmful consequences of that violation.” Vaca v. Rio Props., Inc., No.

2:08-CV-00940-RLH, 2011 WL 830519, at *3 (D. Nev. Mar. 3, 2011); Markham v. Nat’l States

Ins. Co., No. CIV.02-1606-F, 2004 WL 3019308, at *13 (W.D. Okla. Jan. 8, 2004) (holding that,

even in cases where serious sanctions are warranted due to a finding of willfulness or bad faith,

“the sanction imposed should still ordinarily be tailored with an eye to remedying the harm

resulting from the offender’s conduct”).




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       The Court finds that the alternative sanctions Drummond requests do not specifically

relate to the alleged misconduct. Specifically, the Court finds that:

              Drummond’s request for an order waiving privilege over protected documents
               relating to witness payments and credibility determinations is not related to the
               failure to identify a handful of other witnesses who had received security
               payments.

              Drummond’s request for an award of fees relating to third-party subpoenas that
               had nothing to do with defendants’ alleged misconduct or the Special Master’s
               costs is not related to the alleged misconduct here.

       Drummond’s claim for monetary sanctions also fails because it does not take into account

the ability of the defendants to pay them. The Eleventh Circuit has held “that, when exercising its

discretion to sanction under its inherent power, a court must take into consideration the financial

circumstances of the party being sanctioned.” Martin v. Automobili Lamborghini Exclusive, Inc.,

307 F.3d 1332, 1337 (11th Cir. 2002). That is because “a sanction which a party clearly cannot

pay does not vindicate the Court’s authority because it neither punishes nor deters.” Id. And

“[w]hat cannot be done must not be ordered to be done.” (Id., citing Miccosukee Tribe v. South

Florida Water Management District, 280 F.3d 1364, 1370 (11th Cir.2002)).

       The Court concludes that Drummond’s request for monetary sanctions, which it has

failed to quantify, could not be imposed in any substantial amount against Collingsworth because

the record shows he does not have the financial resources to pay a substantial amount.

       Nor has Drummond established the amount of a monetary sanction that Conrad &

Scherer could reasonably expect to pay for any specific, independent misconduct by the firm,

which alleged misconduct, as noted, has not been established by Drummond.

       The impermissible disconnect between what Drummond actually seeks – a judgment in

favor of Drummond on the defamation case and a trial limited to damages – is similarly fatally




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flawed as the record shows Collingsworth could not pay any significant amount even if

Drummond convinced a jury it suffered actual damages.

       For these reasons, Drummond’s Renewed Motion for Sanctions is DENIED.



                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of July, 2015, a true and correct copy of the

foregoing document was served upon the following parties via email:

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